Case 1:24-cv-03973-AS   Document 233-1   Filed 08/19/24   Page 1 of 217
    Case 1:24-cv-03973-AS         Document 233-1   Filed 08/19/24   Page 2 of 217




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      Case 1:24-cv-03973-AS           Document 233-1   Filed 08/19/24   Page 3 of 217




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and

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                        Plaintiffs,
Case 1:24-cv-03973-AS   Document 233-1   Filed 08/19/24   Page 4 of 217
    Case 1:24-cv-03973-AS          Document 233-1   Filed 08/19/24   Page 5 of 217




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    Case 1:24-cv-03973-AS        Document 233-1   Filed 08/19/24   Page 6 of 217




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      Case 1:24-cv-03973-AS      Document 233-1   Filed 08/19/24   Page 7 of 217




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and

STATE OF WYOMING
      Case 1:24-cv-03973-AS            Document 233-1   Filed 08/19/24   Page 8 of 217




109 State Capitol
Cheyenne, WY 82002,

                         Plaintiffs,

                    v.

LIVE NATION ENTERTAINMENT, INC.
9348 Civic Center Drive
Beverly Hills, CA 90210

and

TICKETMASTER L.L.C.
9348 Civic Center Drive
Beverly Hills, CA 90210,

                         Defendants.
            Case 1:24-cv-03973-AS                           Document 233-1                   Filed 08/19/24               Page 9 of 217



                                                                 Table of Contents

 I.              Introduction .......................................................................................................................... 2
 II.             Defendants Live Nation and Ticketmaster ........................................................................... 8
 III.            Industry Background ............................................................................................................ 9
       A.           How Live Concerts Work ................................................................................................. 9
       B.           Money Flows Across the Live Entertainment Industry .................................................. 16
       C.           Live Nation’s “Flywheel” ............................................................................................... 23
       D.           History of Live Nation and Ticketmaster ....................................................................... 27
 IV. Live Nation Maintains Monopolies and Market Power Across the Live Concert
 Ecosystem Through an Anticompetitive and Exclusionary Course of Conduct ........................... 30
       A.           Oak View Group: Nascent competitor to a self-described “hammer” for Live Nation. 31
       B.           Live Nation threatens rivals to blunt expansion into U.S. concert promotions. ............. 34
       C.     Using “carrots” and “sticks,” Live Nation locks venues into exclusive, long term
       ticketing agreements with Ticketmaster that shut out competition. .......................................... 36
       D.     Ticketmaster’s long term exclusive agreements with venues are designed to lock up
       share and lock out competition, which forecloses a substantial share of primary ticketing
       markets. ..................................................................................................................................... 40
       E.     Live Nation restricts access to its venues unless Live Nation is paid
        to be the promoter. .................................................................................................................. 45
       F.     Live Nation strategically acquires promoters, venues, and festivals to eliminate
        rivals, expand its network, and grow its “moat.” .................................................................... 46
 V.              Anticompetitive Effects and Competitive Harm ................................................................ 53
 VI.             Relevant Markets and Monopoly Power. ........................................................................... 57
       A.           Primary Ticketing Services Markets .............................................................................. 59
            i.      Primary Ticketing Services to Major Concert Venues ................................................... 60
            ii. Primary Concert Ticketing Offerings to Fans at Major Concert Venues ....................... 64
       B.           Concert Promotions Services Markets ............................................................................ 69
            i.      Concert Booking and Promotion Services to Major Concert Venues ............................ 69
            ii. Promotion Services to Artists ......................................................................................... 72
       C.           Artist Use of Large Amphitheaters ................................................................................. 74
 VII.            Jurisdiction, Venue, and Commerce .................................................................................. 76
 VIII. Violations Alleged .............................................................................................................. 78
 IX. Request for Relief ............................................................................................................ 102
Demand for a Jury Trial ............................................................................................................ 104I.
     Introduction .......................................................................................................................... 4
II.         Defendants Live Nation and Ticketmaster ........................................................................ 11
                                                  1
           Case 1:24-cv-03973-AS                         Document 233-1                 Filed 08/19/24              Page 10 of 217



III.           Industry Background .......................................................................................................... 12
     A.           How Live Concerts Work .............................................................................................. 12
     B.           Money Flows Across the Live Entertainment Industry ................................................. 20
     C.           Live Nation’s “Flywheel” .............................................................................................. 28
     D.           History of Live Nation and Ticketmaster ....................................................................... 34
IV. Live Nation Maintains Monopolies and Market Power Across the Live Concert Ecosystem
Through an Anticompetitive and Exclusionary Course of Conduct ............................................. 37
     A.           Oak View Group: Nascent competitor to a self-described “hammer” for Live Nation. 40
     B.           Live Nation threatens rivals to blunt expansion into U.S. concert promotions. ............ 45
     C.    Using “carrots” and “sticks,” Live Nation locks venues into exclusive, long-term ticketing
     agreements with Ticketmaster that shut out competition. ........................................................ 48
     D.    Ticketmaster’s long-term exclusive agreements with venues are designed to lock up share
     and lock out competition, which forecloses a substantial share of primary ticketing markets. 53
     E.           Live Nation restricts access to its venues unless Live Nation is paid to be the promoter.62
     F.    Live Nation strategically acquires promoters, venues, and festivals to eliminate rivals,
     expand its network, and grow its “moat.” ................................................................................. 63
V.             Anticompetitive Effects and Competitive Harm................................................................ 74
VI.            Continuing Violations ........................................................................................................ 80
VII.           Relevant Markets and Monopoly Power............................................................................ 81
     A.           Primary Ticketing Services Markets .............................................................................. 83
          i.      Primary Ticketing Services to Major Concert Venues................................................... 84
          ii. Primary Concert Ticketing Offerings to Fans at Major Concert Venues ....................... 89
     B.           Concert Promotions Services Markets ........................................................................... 94
          i.      Concert Booking and Promotion Services to Major Concert Venues ............................ 94
          ii. Promotion Services to Artists......................................................................................... 97
     C.           Artist Use of Large Amphitheaters ................................................................................ 99
VII.           Jurisdiction, Venue, and Commerce ................................................................................ 102
VIII. Antitrust Injury................................................................................................................. 106
IX.            Violations Alleged ........................................................................................................... 107
X.             Request for Relief ............................................................................................................ 169
XI.            Demand for a Jury Trial ................................................................................................... 172
 X.




                                                                          2
Case 1:24-cv-03973-AS   Document 233-1   Filed 08/19/24   Page 11 of 217




                                 3
         Case 1:24-cv-03973-AS          Document 233-1        Filed 08/19/24      Page 12 of 217



    I.          Introduction

          1.       One monopolist serves as the gatekeeper for the delivery of nearly all live music in

America today: Live Nation, including its wholly owned subsidiary Ticketmaster. In Live Nation’s

words, it is the “largest live entertainment company in the world,” the “largest producer of live

music concerts in the world,” and “the world’s leading live entertainment ticketing sales and

marketing company.” Indeed, Live Nation is all these things, to the detriment of fans, artists,

venues, and competition.

          2.       Today, musical artists must rely on promoters, venues, and ticketers to organize the

business of playing live music. These service providers should work to serve the interests of artists

and fans. Genuine competition for and among these service providers would generate the best, most

cost-effective, and fan-friendly experience. But the world live music fans live in today is far from

that.

          3.       Live Nation directly manages more than 400 musical artists and, in total, controls

around 60% of concert promotions at major concert venues across the country. Live Nation also

owns or controls more than 265 concert venues in North America, including more than 60 of the

top 100 amphitheaters in the United States. For comparison, its closest rival owns no more than a

handful of top amphitheaters. And, of course, through Ticketmaster, Live Nation controls roughly

80% or more of major concert venues’ primary ticketing for concerts and a growing share of ticket

resales in the secondary market.

           1.       The live music industry, like other heavily concentrated industries, is largely

 controlled by a well-known group of insiders who lead multiple interconnected companies with

 numerous conflicts of interest. These insiders have spent decades amassing, fortifying, and

 exercising power, particularly against anyone who seeks to disrupt the now-standard industry

 business practices and conduct. These business practices can, and often do, work against the


                                                    4
      Case 1:24-cv-03973-AS          Document 233-1         Filed 08/19/24      Page 13 of 217



       4.       interests of those with relatively little power and influence, especially working

musicians and fans. These insiders often speak to each other, and work together, as allies and

partners rather than as vigorous competitors.

       5.      With this vast scope of power comes influence. Live Nation and its wholly owned

subsidiary, Ticketmaster, have used that power and influence to insert themselves at the center and

the edges of virtually every aspect of the live music ecosystem. This has given Live Nation and

Ticketmaster the opportunity to freeze innovation and bend the industry to their own benefit. While

this may be a boon to Live Nation’s bottom line, there is a real cost to Americans. As described in

detail below, today Live Nation possesses and routinely exercises control over which artists

perform on what dates at which venues. Through Ticketmaster, Live Nation also possesses and

exercises control over how fans are able to purchase tickets to see their favorite artists in concert

and what fees those fans will pay to do so. Artists and fans as well as the countless people and other

services that support them suffer from the loss of dynamism and growth that competition would

inevitably usher in.

       6.      As this Complaint describes in detail, through a self-reinforcing “flywheel” that Live

Nation-Ticketmaster created to connect their multiple interconnected businesses and interests, Live

Nation and Ticketmaster have engaged in numerous forms of anticompetitive conduct. That

anticompetitive conduct includes the following:

                 a.     Relationship with Oak View Group. Live Nation-Ticketmaster exploits

         its longtime relationship with Oak View Group, a potential competitor-turned-partner that

         has described itself as a “hammer” and “protect[or]” for Live Nation. In recent years, Oak

         View Group has avoided bidding against Live Nation for artist talent and influenced

         venues to sign exclusive agreements with Ticketmaster. For example, Live Nation has




                                                  5
Case 1:24-cv-03973-AS           Document 233-1       Filed 08/19/24       Page 14 of 217



        a.       scolded Oak View Group multiple times for trying to compete. In one

 instance, Live Nation asked, “who would be so stupid to . . . play into [an artist agent’s]

 arms,” and on another occasion, Live Nation stated, “let’s make sure we don’t let [the artist

 agency] now start playing us off.”

        b.       Retaliating Against Potential Entrants. Live Nation-Ticketmaster

 successfully threatened financial retaliation against a firm unless it stopped one of its

 subsidiaries from competing to gain a foothold in the U.S. concert promotions market.

        c.       Acquiring Competitors and Competitive Threats. Live Nation-

 Ticketmaster strategically acquired a number of smaller and regional promoters that it had

 internally identified as threats. This has undermined competition and impacted artist

 compensation.

         b.      Threatening and Retaliating Against Venues that Work with Rivals.
        d.       Live Nation-Ticketmaster’s power in concert promotions means that every

 live concert venue knows choosing another promoter or ticketer comes with a risk of

 drawing an adverse reaction from Live Nation-Ticketmaster that would result in losing

 concerts, revenue, and fans.

        e.       Locking Out Competition with Exclusionary Contracts. Live Nation-

 Ticketmaster locks concert venues into long-term exclusive contracts so that venues cannot

 consider or choose rival ticketers or switch to better, more, or cost-effective ticketing

 technology. These contracts allow Live Nation-Ticketmaster to reduce competitive pressure

 to improve its own ticketing technology and customer service.

          c.      Blocking Venues from Using Multiple Ticketers. Live Nation-

  Ticketmaster’s conduct and exclusive contracts prevent new and different promotions

  and



                                           6
      Case 1:24-cv-03973-AS          Document 233-1        Filed 08/19/24      Page 15 of 217



               f.        ticketing competitors and business models from emerging. They block

       venues from being able to use multiple ticketers, who would compete by offering the best

       mix of prices, fees, quality, and innovation to fans.

               g.      Restricting Artists’ Access to Venues. Live Nation-Ticketmaster has

       increasingly gained control of key venues, including amphitheaters, through acquisitions,

       partnerships, and agreements. Live Nation-Ticketmaster restricts artists' use of those venues

       unless those artists also agree to use their promotion services.

                d.       Acquiring Competitors and Competitive Threats. Live Nation

         Ticketmaster strategically acquired a number of smaller and regional promoters that it

         had internally identified as threats. This has undermined competition and impacted artist

         compensation.

       7.      Taken individually and considered together, Live Nation’s and Ticketmaster’s

conduct allows them to exploit their conflicts of interest—as a promoter, ticketer, venue owner, and

artist manager—across the live music industry and further entrench their dominant positions.

Because Live Nation and Ticketmaster control so much of the concert-going experience, would- be

rivals must compete at scale across different levels of the concert ecosystem, raising barriers to

competition even further and requiring multi-level entry by existing and would-be competitors.

         2.     The real world, practical costs of Live Nation’s strategy are well-known. Public

 frustration with concert ticket pricing and sales is a constant drumbeat. The fees that must be

 paid to attend a live concert in America far exceed fees in comparable parts of the world. Any

 fan who has logged onto Ticketmaster’s website to buy a concert ticket knows the feeling of




                                                 7
      Case 1:24-cv-03973-AS          Document 233-1        Filed 08/19/24        Page 16 of 217



       8.       shock and frustration as the base cost of the ticket increases dramatically with the

addition of fees to include:

               a.      “service” or “convenience” fees,


               b.      “Platinum” fees,


               c.      “VIP” fees,


               d.      “per order” or “handling” fees,


               e.      “payment processing” fees,


               f.      “facility” fees, and/or


               g.      any other fee or tax Ticketmaster collects from the fan, often with a cut of

                       that fee going back to Ticketmaster.

       9.      Whatever the name of the fee and however the fees are packaged and collected, they

are essentially a “Ticketmaster Tax” that ultimately raise the price fans pay.

       10.     Live Nation’s anticompetitive conduct has not only harmed fans in the form of more

and higher fees, but also undermines innovation. Competition increases the array and quality of

services available and makes it easier for fans to find and see artists they love. Unburdened by

competition on the merits, Ticketmaster does not need to invest as much to improve the fan

experience.

         3.     Live Nation and Ticketmaster understand the benefits a more open and

 competitive ticketing ecosystem would bring to fans and others. For example, in 2022,

 Ticketmaster evaluated and recognized that a more open, non-exclusive ticketing system—

 in essence, ending its preferred exclusive primary ticketing relationships—could lead to


                                                 8
    Case 1:24-cv-03973-AS          Document 233-1         Filed 08/19/24      Page 17 of 217



more competition and threats to its dominance. Instead, Ticketmaster has focused on adding

new restrictions to its ticketing systems to force fans to interact with Ticketmaster and

thereby




                                                9
      Case 1:24-cv-03973-AS           Document 233-1        Filed 08/19/24      Page 18 of 217



        11.     facilitate Ticketmaster’s ability to increase the amount of data it collects from fans.

This, of course, benefits not only Ticketmaster but also the vast array of related Live Nation

businesses and feeds the Live Nation-Ticketmaster flywheel. According to Live Nation’s CEO,

Ticketmaster “now not only know[s] the person that bought the ticket, but [also] those three people

that you are taking to the show, which we [Live Nation] have not known historically.” Its data

supremacy over rivals has only accelerated.

         4.      The impact of the diminished incentive to innovate can manifest in real ways.

        12.     Without competitive pressure to spur investment and innovation, customer service,

website and app design, and product quality and stability suffer. These harms are the natural and

predictable consequence of an industry suffocating under monopoly.

        13.     The United States and certain States previously tried to protect what should be a

dynamic, thriving industry through a Clayton Act Section 7 case and resulting consent decree in

2010, followed by an amended consent decree in 2020. Notwithstanding the prior case under

Section 7 of the Clayton Act, Live Nation and Ticketmaster have violated other antitrust laws,

namely the Sherman Act, through additional, different, and more expansive forms of

anticompetitive conduct and exclusionary practices.

        14.     Live Nation’s monopoly, and the anticompetitive conduct that protects and

maintains its monopoly, strikes a chord precisely because the industry at stake is one that has for

generations inspired, entertained, and challenged Americans. Conduct that subverts competition

here not only harms the structure of the live music industry and the countless people that work in

that industry, but also damages the foundation of creative expression and art that lies at the heart of

our personal, social, and political lives.




                                                  10
      Case 1:24-cv-03973-AS             Document 233-1         Filed 08/19/24      Page 19 of 217



         15.      It is often said that music requires little more than “three chords and the truth.” In

our modern economy, the live music industry requires that plus competition. Restoring competition

protects the ability of working artists and fans to meaningfully access, afford, and engage with

music and each other. Addressing and stopping anticompetitive conduct is also essential to ensure

the vibrancy of live music. The United States and the Attorneys General of Arizona, Arkansas,

California, Colorado, Connecticut, the District of Columbia, Florida, Illinois, Indiana, Iowa,

Kansas, Louisiana, Maryland, Massachusetts, Michigan, Minnesota, Mississippi, Nebraska,

Nevada, New Hampshire, New Jersey, New Mexico, New York, North Carolina, Ohio, Oklahoma,

Oregon, Pennsylvania, Rhode Island, South Carolina, South Dakota, Tennessee, Texas, Utah,

Vermont, Virginia, Washington, West Virginia, Wisconsin, and Wyoming hereby seek relief from

this Court, including structural relief, to stop the anticompetitive conduct arising from Live

Nation’s monopoly power.

   II.         Defendants Live Nation and Ticketmaster

         16.      According to its 2023 securities filings, Defendant Live Nation Entertainment, Inc.

is the “largest live entertainment company in the world,” the “largest producer of live music

concerts in the world,” and “the world’s leading live entertainment ticketing sales and marketing

company,” and it owns, operates, leases, has equity interest in, or has exclusive booking rights for

or significant influence over 373 venues globally and more than 265 in North America. This

includes more than 60 of the top 100 amphitheaters in the United States that Live Nation either

owns or controls through long-term leases or for which it has the exclusive right to determine who

performs at the venue. Control over a venue not only confers on Live Nation the ability to dictate

whether fans can see a particular artist they love, but in many cases also provides Live Nation

control over many aspects of the concert experience and a host of additional revenue streams

ranging from sponsorships to food and beverage sales.


                                                    11
      Case 1:24-cv-03973-AS             Document 233-1        Filed 08/19/24      Page 20 of 217



          17.      Live Nation’s business brings in over $22 billion dollars in revenue a year globally.

Live Nation divides its business into three segments: Concerts (e.g., promotions, venue

management, and music festival production), Ticketing (e.g., Ticketmaster business), and

Sponsorship and Advertising. In 2023, Live Nation generated $18.8 billion in Concerts revenue,

$2.9 billion for Ticketing, and $1.1 billion for Sponsorship & Advertising.

$2.9 billion for Ticketing, and $1.1 billion for Sponsorship & Advertising.

          18.      Defendant Ticketmaster L.L.C. is a wholly owned subsidiary of Live Nation

(collectively referred to as “Live Nation” herein). Ticketmaster provides primary and secondary

ticketing services, which are responsible, respectively, for selling tickets to fans in the first instance

for a show and allowing fans to resell those tickets at a later time. Ticketmaster is by far the largest

concert ticketing company in the United States for major concert venues, at least eight times the

size of its closest competitor.

   III.         Industry Background

                A. How Live Concerts Work

          19.      Today’s live music concerts are complex productions involving thousands of

choices to bring together artists and their fans on a particular date and time. Staging a single concert

at a major concert venue—let alone an entire tour—involves months of preparation and requires the

orchestrated support of many intermediaries in multiple roles. Among the decisions that will most

impact the overall experience of fans include what venue will host a particular live music

experience, who will promote the event, and who will ticket the event.




                                                    12
Case 1:24-cv-03973-AS   Document 233-1   Filed 08/19/24   Page 21 of 217
     Case 1:24-cv-03973-AS               Document 233-1            Filed 08/19/24         Page 22 of 217




specifically, with her fans. For artists, the decision to perform live and share music in this

medium is an important opportunity to publicly display their art, but also to generate and

continue to cultivate enduring relationships with their fans who appreciate and patronize that art.

The overall experience associated with what music to present and, critically, how to present it,

allows artists to express their artistic vision in a way that will resonate with fans. While artists

strive to ensure fans at a single show appreciate their art, they also work to cultivate that fan base

over the long run. This allows artists to maximize their ability to earn money over the arc of their

career as compensation for their creative labor, whether it is through more concerts, the sale of

more tickets at larger concerts, or the sale of merchandise and other related products and




1
  As used in this Complaint, “artist” refers to both musicians and comedians, who make similar choices in planning
their performances and face similar competitive conditions.




                                                       14
      Case 1:24-cv-03973-AS          Document 233-1        Filed 08/19/24      Page 23 of 217



       20.      services. As is often publicly reported, the income earned from concerts generally

represents a substantial part of artists’ compensation for their creative and performance labor.

       21.     Managers and/or agents typically assist artists to achieve these goals. Managers

and agents guide artists’ professional lives, including touring, and are often compensated based on

a share of the artist’s revenues or profit streams. Live Nation manages more than 400 artists in the

United States, and in that capacity works with artists, along with other industry intermediaries, to

shape their tours and price tickets. One of the founders of Oak View Group, a leading venue

development company that partners with Live Nation, also owns a company that is a major

manager of artists in the United States music industry.

       22.     In the modern era, once an artist decides to perform a concert or go on tour, the first

major decision they must make, alongside their manager or agent, is to contract with one or more

promoters. Promoters are primarily responsible for arranging the concert or tour and promoting the

event to the public. Promoters provide a variety of services, including working with artists and their

managers and/or agents to help choose the venue(s) to host the concert or tour and determine ticket

prices, promoting the concert to the public, and shouldering the financial risk and potential upside

if the show or tour underperforms/overperforms in terms of profitability. Promoters are also

generally responsible for facilitating payments to the artist, venue, and other vendors associated

with the concert or tour.

         17.    Artists historically used different promoters for each show in a new city or region

 of the country. Today, while local promoters may book one or a handful of shows in a local

 market, touring artists typically use national promoters—principally Live Nation and AEG

 Presents (a subsidiary of Anschutz Entertainment Group Inc. (“AEG”))—as they can offer a

 single packaged tour deal. These deals often include a larger, upfront guaranteed payment to the




                                                 15
      Case 1:24-cv-03973-AS           Document 233-1        Filed 08/19/24      Page 24 of 217



       23.       artist for a national tour with multiple shows across many markets as compared to

one-off shows in a single city or region. Through tour deals, national promoters reduce their own

risk of not generating enough revenue to cover the artist’s guarantee by, in effect, using the profits

of successful shows to mitigate the losses of unsuccessful shows within an artist’s tour.

       24.       Live Nation and its much smaller rival (less than half the size, although even that

overstates its competitive significance), AEG, are the two largest concert promoters in the United

States. Both Live Nation and AEG also separately provide and are compensated for providing

primary ticketing services to venues. No other promoter in the United States can rival their venue

networks, scale, reach, and connections to compete to promote national tours for major artists on a

regular basis.

       25.       The second major decision an artist—supported by their manager and/or agent—

must make is which concert venues to use at various stops on a national tour. Concert venues are

the physical spaces or facilities that host live music. Venues compete to attract artists to perform at

their facility, and artists may choose where to perform based on a variety of characteristics,

including the venue’s ambiance, capacity, location, and acoustics. Sometimes a venue owner

separately contracts with a promoter, like Live Nation, to provide that promoter with financial

incentives for booking and promotions services over an extended period of time, which predictably

can lead a promoter to steer artists it promotes to perform at the venue. Other times venues provide

these incentives on a show-by-show basis.

         18.      Venue owners can either operate the facility themselves or hire a management

 company to operate it. Venue operators provide and maintain the facilities where concerts are

 held and oversee the venue’s services, such as concessions, parking, security, and artist

 merchandising. Venue operators usually charge the artist and their promoter rent to use the




                                                  16
      Case 1:24-cv-03973-AS          Document 233-1         Filed 08/19/24      Page 25 of 217



       26.      facility to perform a concert, and the venue operator often works directly with the

artist in providing related ancillary services, such as the staging and lighting of a show.

       27.     Most artists start their careers performing at smaller venues like clubs or theaters,

which offer limited capacities, but at generally lower costs. These venues allow newer artists to

develop and grow a relationship with their fans in more intimate settings before moving on to larger

venues as their “draw” of fans increases. As artists grow their fan base, they graduate to larger

venues. Major concert venues include large amphitheaters and arenas that are particularly suited to

hosting live concerts for popular artists due to their capacity, infrastructure, and amenities. Concerts

are a vital source of revenue for these venues.

       28.     Live Nation owns, operates, or otherwise controls more than 265 venues across

North America. For many years, Live Nation has been the single largest—and growing—owner of

American clubs and theaters, which gives it the unique ability to capture artists early in their

careers. As artists grow their popularity, this early access enhances Live Nation’s ability to funnel

artists through the vast array of Live Nation products and services in the modern live music

ecosystem. Live Nation’s control over access to so many popular venues across the country gives it

outsized power and control in this industry.

         19.    Large amphitheaters, in particular, are attractive venues for certain popular

 artists. Amphitheaters are outdoor venues, which allow artists to take advantage of warm weather

 in the summer months when many artists prefer to tour. Many touring artists like amphitheaters

 because they generally offer a balance between more seating than clubs and theaters at a more

 lucrative compensation and more affordable prices for fans, and a more curated and intimate

 artistic experience than arenas or large festivals. Large amphitheaters are especially attractive to

 artists who have graduated from clubs and theaters, but are not yet able to fill higher-capacity




                                                  17
      Case 1:24-cv-03973-AS            Document 233-1         Filed 08/19/24       Page 26 of 217



        29.     arenas on a consistent basis. They also may be attractive to artists who once played

in arenas or stadiums but are no longer able to attract the same audience size.

         20.     Live Nation controls more than 60% of large amphitheaters in the United States.

        30.     Live Nation owns, operates, or exclusively books at least 40 of the top 50 and 60 of

the top 100 amphitheaters in the United States. No other company in the United States owns more

than a handful of amphitheaters, even those with an otherwise sizeable portfolio of arenas.

        31.     Today, almost all major concert venues contract with a primary ticketer to handle

the sale of tickets. Primary ticketers orchestrate the sale of tickets to fans. In the past, tickets for

major concert venues were sold through call centers, retail outlets, and box offices, all of which

could be operated or offered by different parties. Today, most tickets are sold through the internet

and mobile applications and the most common delivery method is electronic delivery to fans’

mobile phones. The vast majority of major concert venues have an exclusive arrangement with a

primary ticketer, most often Ticketmaster, who is entitled to manage and sell tickets on behalf of

the initial rights holder—for concerts, this is typically the artist—for all events at that venue. The

primary ticketer manages ticketing inventory and provides the technology for online ticketing,

accounting, payment processing, and other administrative capabilities.

         21.     Live Nation’s subsidiary, Ticketmaster, is the largest primary ticketer in the

 United States. AEG operates AXS, the second largest primary ticketer in the United States,

 although it is much smaller than—less than a fifth of the size of—Ticketmaster. Ticketmaster’s

 dominance is especially apparent among major concert venues. In 2022, Ticketmaster’s share of

 primary ticketing for NBA and NHL arenas exceeded 70%, with AXS and SeatGeek trailing. In

 the past ten years, AXS has not moved a single arena away from Ticketmaster. Live Nation’s




                                                    18
      Case 1:24-cv-03973-AS           Document 233-1         Filed 08/19/24      Page 27 of 217



       32.      conduct, including its financial and commercial relationship with venue manager

Oak View Group and the conditioning of access to artists on a venue’s selection of primary

ticketer, vitiates many venues’ ability to select a primary ticketer on the merits of its ticketing

service, significantly disadvantaging Live Nation’s rivals when they compete for primary ticketing

contracts.

       33.      In light of existing market dynamics and Live Nation’s conduct, it has been and

remains rare for venues in the United States to be “open,” which would mean that the dynamism of

competition would decide what primary ticketer wins the contract for a particular concert at a

particular venue. Instead, primary ticketers, notably Ticketmaster, typically contract to be the

exclusive ticketer for a major concert venue for a period of many years, offering venues up-front

payments in the form of signing bonuses and sponsorships. Indeed, Ticketmaster’s exclusive

contracts cover more than 60% of ticket sales to major concert venues and more than 75% of

concert ticket sales to major concert venues. These exclusive agreements contractually bar any

option of having more than one ticketing company offering differentiated services to fans at such

venues for a single show or even across shows, with very limited exceptions. This model that locks

in the certainty of exclusivity over the dynamism of open competition is an intentional business

strategy found in the Ticketmaster-dominated primary ticketing market in the United States, but

does not burden competition for such services in many other parts of the world not dominated by

Ticketmaster.

         22.     In other countries, many venues are “open.” For instance, in France, concert

 tickets are often held in a central inventory management system that is accessible by multiple

 ticketing companies. And in the United Kingdom, a promoter often allocates bundles of tickets to

 multiple ticketing providers. No matter the form it takes, an “open” system means that artists,




                                                  19
      Case 1:24-cv-03973-AS             Document 233-1        Filed 08/19/24     Page 28 of 217



          34.      whose incentives for a lower-cost, higher-quality concert experience are more

closely aligned with fans, are more likely to play a role in choosing the ticketing company of their

choice.

          35.      In addition to the primary ticketer, fans can buy tickets through a secondary

ticketing platform, where individual ticket holders, season ticket holders, or businesses can re- sell

tickets to other fans. Secondary ticketing platforms earn revenue through fees paid by the seller of

the ticket and, usually, fees paid by the buyer of the ticket as well.

          36.      Ticketmaster’s ticketing agreements with a venue sometimes entitle Ticketmaster to

control secondary ticketing services in addition to primary ticketing services. Ticketmaster’s

overall share of resale tickets in North America has grown rapidly since 2019, accounting for

nearly one third of ticket resales in 2022. Ticketmaster’s rapid increase in secondary market share

coincided with its launch of SafeTix technology in or about 2019. SafeTix technology requires that

all transfers occur within the Ticketmaster platform. This technology makes it harder for fans to use

rivals’ secondary ticketing platforms to resell tickets, pushing them instead to the Ticketmaster

resale platform.

                B. Money Flows Across the Live Entertainment Industry

          37.      Today, artists who perform at a live concert must navigate a complex web of

contracts, business relationships, and money flows across numerous intermediaries and

participants. These arrangements often result in fees and charges being split among various industry

participants in ways that are not always visible to artists, let alone to fans. Importantly, many of

these contracts are interdependent, such that increases to one incentivize or directly influence

increases in other areas. And at times, the convoluted web of agreements results in one entity

paying on behalf of another, only to then recoup portions of those funds for its own benefit.




                                                    20
      Case 1:24-cv-03973-AS          Document 233-1          Filed 08/19/24      Page 29 of 217



       38.     Today, fans pay more in fees associated with live music concert tickets in America

than other parts of the world.

       39.     An intermediary, like Live Nation, makes money through a series of interconnected

agreements it enters into with artists, venues, rival promoters, and fans by virtue of the many “hats”

it wears across the industry. Through these agreements, Live Nation has constructed a live

entertainment ecosystem in which Live Nation can not only extract revenues at every stage as an

intermediary, but on many occasions, also double-dip across multiple business lines—for example,

as both a ticketer and a promoter—creating a feedback loop that inflates its fees and revenue, all at

the expense of fans.

       40.     Promoters like Live Nation generate revenue primarily through a pre-agreed split of

the gross ticket sales of a show or tour with the artist as well as through payments made by venues

to incentivize the promoter to route its artists to perform at a particular venue.

         23.     When trying to secure the right to promote an artist’s tour, a promoter and artist

 often negotiate over the artist’s guaranteed payment and the profit split of certain additional

 concert revenues. For example, Live Nation typically pays an artist the higher of either (1) a

 percentage of the gross ticket sales less expenses or (2) the artist’s guaranteed payment.

 Guaranteed payments are typically based on the number of performances in the tour, length of

 the promotion contract, and projected ticket sales, while the percentage of the gross ticket sales

 less expenses is a set percentage. Live Nation will also enter into some multi-tour deals where

 the artist will earn even larger cash advances today in exchange for the right to promote the artist

 exclusively for a certain number of performances or a specific amount of time. While Live

 Nation sweetens the upfront incentives for certain artists by offering these larger cash advances,

 they extract recompense in other parts of the ecosystem by, for example, routing their promoted




                                                  21
      Case 1:24-cv-03973-AS           Document 233-1          Filed 08/19/24      Page 30 of 217



        41.     artists through Live Nation’s owned and controlled venues or venues exclusively

ticketed by Ticketmaster. For other artists, Live Nation typically conditions use of its owned or

controlled venues (especially large amphitheaters) on an artist signing with Live Nation as

promoter.

        42.     In addition to contracting with artists for promotion services, Live Nation, as a

promoter, also frequently and separately contracts with venues to provide booking and promotions

services, in exchange for a cut of the venue’s revenues associated with the shows it brings to the

venue and, occasionally, even a cut from shows that rival promoters bring to the venue. These

agreements can come in a variety of forms and are known as “rebate deals,” “co- promotion deals,”

or “drawbacks.” These revenues generally are not added to the pool of money Live Nation splits

with artists. In fact, some of these payments functionally remit money back to Live Nation that

Live Nation initially paid to venues on behalf of its artists (e.g., facility rental fee rebates). These

deals—through which Live Nation can essentially claw back a show's expenditures—reflect Live

Nation’s power over venues, derived from its influence over artists’ decisions about what venues to

play and when. Over the past few years, Live Nation has continued to increase its concert

promotions fees imposed on venues, which are passed through to fans.

        43.     Ticketmaster, as primary ticketer, collects both the face value of the ticket as well

as a host of fees tacked on top of the face value (“primary ticketing fees”). Ticketmaster, owned by

Live Nation, retains a portion of the fees. The remaining fees are remitted to other intermediaries

like the venue and promoter, which are often Live Nation-owned entities, amounting to paying

several of these fees (or portions thereof) to itself.

         24.     “Ticketing” Fees. Americans are well-acquainted with the numerous and

 different fees appended to the cost of a single ticket to attend a concert today. The numerous fees




                                                    22
      Case 1:24-cv-03973-AS          Document 233-1         Filed 08/19/24       Page 31 of 217



       44.      that are added on top of each other—often with little visibility offered to the fan

buying the ticket—contribute to Live Nation’s nearly 40% adjusted operating margin in 2023 for its

global ticketing business. In addition to charging those fees, Ticketmaster often offers consumers

the ability to purchase ticket insurance and “upsells” (such as the option to add parking) at

checkout, and it retains a “cut” of these revenues as well. The fees can include, for example:

         •   “Service” or “Convenience” Fees. Service fees, sometimes called convenience fees,

             are negotiated between the venue and the ticketer and can be set in a variety of ways.

             Sometimes the ticketer will receive an agreed-upon dollar amount and/or an agreed-

             upon percentage of the service fee. Alternatively, the venue and ticketer might agree

             in advance as to the actual fee that the fan will pay for any event and how to split that.

             Sometimes, the ticketer will receive a fee based on the face value of the ticket. Under

             any of those models, the ultimate fee that the consumer pays results from the

             negotiation between the ticketer and the venue. Generally, under these models, the

             higher the ticket price, the higher the ticketing fee. As a result, the fee has no

             meaningful relation to the actual cost of providing the ticketing service, which would

             not vary ticket by ticket or show by show.

         •   “Platinum” and “Pricemaster” Fees. Not all primary tickets, however, are subject to

             the typical “service” fees. Ticketmaster has two dynamic pricing tools, Platinum and

             Pricemaster. For tickets that are dynamically priced by Ticketmaster, consumers often

             pay higher ticketing fees. Ticketmaster additionally receives an “inside fee” from the

             promoter amounting to a double dip by Ticketmaster.




                                                  23
      Case 1:24-cv-03973-AS          Document 233-1        Filed 08/19/24      Page 32 of 217



         •   “Per Order” (or “Handling”) Fees, which are additional ticketing service fees

             charged on top of each order, separate and apart from the ticketing fees embedded in

             the service charge. These are often split between the ticketer and the venue.

         •   “Payment Processing” Fees, which are additional fees charged on certain transactions

             for processing the electronic payment inherently necessary to purchase any

             electronically delivered ticket.

         •   “Facility” Fees, which are fees charged by some venues and typically remitted in full

             to the venue.

Although venues retain some proportion of ticketing fees described above, a significant proportion

of the venue’s share is often passed onto promoters, like Live Nation, to incentivize them to steer

content to their venue.

       45.     The face values of tickets are typically set or approved by artists, although

promoters’ offers also influence face values. Artists, in consultation with their manager and the

promoter (either or both of which might be Live Nation employees), can also decide to enable

dynamic pricing through Ticketmaster’s two dynamic pricing tools, Pricemaster and Platinum,

which allow face values to increase based upon the level of demand for a given concert. Promoters

and venues use Ticketmaster’s Pricemaster tool for “bulk” dynamic pricing of groups of seats,

while Platinum tickets, on the other hand, are used to dynamically price at the seat level. For tickets

that are dynamically priced by Ticketmaster, whether as bulk or at the seat level, consumers often

pay much higher face values. Ticketmaster has a pricing team that makes pricing

recommendations—including recommendations as to average and minimum face value of tickets.

And typically, it is Ticketmaster’s own pricing team that adjusts the face value of tickets based on

demand for a particular show.




                                                 24
      Case 1:24-cv-03973-AS          Document 233-1         Filed 08/19/24      Page 33 of 217



       46.     Venues earn revenue by renting their facilities to the artist and promoter, selling

food, beverages, and merchandise to patrons, collecting ticketing and parking fees, and—

sometimes—by sharing in the profit from concerts through co-promotion agreements with

promoters such as Live Nation. When venues set aspects of ticket fees, they must not only account

for their own operating costs, but also ensure the fees are sufficient to cover all the payments the

venues must make to intermediaries like promoters and ticketers. For example, venues must ensure

the additional ticket fees cover the fee charged by the primary ticketing service (generally

Ticketmaster) and offset the various payments they must make to the promoter (often Live Nation).

Because of the interrelated nature of contracts in the industry, money often flows in multiple

directions to and from various intermediaries, sometimes in both directions for a single show.

       47.     Live Nation tells the public that the service fees are decided by the venue. While it is

nominally true that “[t]he venue decides on the service fees,” in reality, these decisions are

predicated upon the portion of those fees that Live Nation (via Ticketmaster) will retain in the first

instance—an amount Live Nation negotiates with each venue in advance of the venue setting the

amount of the fee. This arrangement is consistent with the many other fees extracted at various

stages; those fees may superficially be set by a market participant other than Live Nation or

Ticketmaster, but Live Nation and Ticketmaster nonetheless have a hand in setting nearly all these

fees and often benefit financially from a significant portion of these fees.

         25.    In other words, Live Nation’s various contracts operate together to drive up the

 overall number and size of fees paid by fans. For example, under many Ticketmaster contracts,

 when venues increase their own fees to offset Live Nation’s concert promotion charges,

 Ticketmaster is entitled to receive a “ticketing” fee. This double-dip by Live Nation (as




                                                  25
      Case 1:24-cv-03973-AS          Document 233-1         Filed 08/19/24      Page 34 of 217



       48.      promoter) and Ticketmaster (as ticketer) means venues have to raise fan-paid fees

just to offset Live Nation’s promotions charges. For example, a venue forced to pay Live Nation a

$5 promotions rebate and Ticketmaster a portion of any increased fees would need to raise fees on

fans by significantly more than $5 to break even.

       49.     Secondary ticketing providers earn revenue through fees paid by the seller of the

ticket and, usually, the buyer of the ticket as well. Ticketmaster provides secondary ticketing

services via “TM+” to venues when it provides primary ticketing services to the venue hosting the

event. Typically, Ticketmaster has sole discretion to set the “buyer” and “seller” fees on TM+

transactions. Ticketmaster also sells secondary tickets via its “3PE” tool when it does not provide

primary ticketing services to the venue hosting the event. For those events, Ticketmaster sets the

buyer and seller fees, and Ticketmaster rarely if ever shares fee revenue of those secondary sales

with a venue, promoter, or artist.

       50.     In addition to the fees Live Nation extracts under its ticketing and promotions

contracts, Live Nation also generates significant revenues from its sponsorship and advertising

business. Live Nation takes advantage of its vast network of venues and high volume of tickets to

secure substantial sponsorship and advertising revenue—further deepening its pool of profits. It

sells signage rights, online advertising, beverage pouring rights, venue-naming rights, and more.

Live Nation considers its sponsorship and advertising business to be one of its high- margin

businesses.

       51.     Live Nation is able to extract significant revenues through its sponsorship and

advertising business in part by controlling access to fans at performances where advertisers want to

reach them. By controlling the vast majority of large amphitheaters in the United States— pushing

concerts to venues it owns, operates, and/or exclusively tickets; locking in key artist talent; and




                                                  26
      Case 1:24-cv-03973-AS          Document 233-1         Filed 08/19/24   Page 35 of 217



growing the massive data trove it has accumulated as a ticketer—Live Nation is able to drive

substantial advertising revenue that feeds the rest of its business.




                                                  27
     Case 1:24-cv-03973-AS           Document 233-1         Filed 08/19/24      Page 36 of 217



             C. Live Nation’s “Flywheel”

       52.      Founded in 1996, Live Nation began as a live events promoter. Over the following

three decades, Live Nation expanded its reach across nearly the entire live entertainment industry—

live events promotions, primary ticketing, secondary ticketing, venue ownership and operations,

music festivals, artist management, sponsorships, and more. Live Nation controls wide swaths of

live music in the United States because of its multidimensional power.

       53.      Live Nation uses its concert promotion business—the core of its “flywheel”—to

feed its other high margin businesses, including Ticketmaster’s ticketing business, Live Nation’s

network of venues, as well as Live Nation’s sponsorship and advertising business.

       54.      As Live Nation’s CEO put it, concert promotion is the business that gives the

company control over content that feeds Live Nation’s three high margin businesses:

       At the core is our flywheel. It’s the concert business . . . It’s the lower margin part of
       our business. But in order to get into these three high margin businesses and be
       competitive, we have to have that scale [in concerts] . . . [Our] leadership position [in
       concerts] drives the three high margin businesses that are driving our true cash flow
       and EBITDA.

       55.      The modified graphic below, based upon Live Nation documents, demonstrates how

the flywheel entrenches Live Nation’s profits and power.




                                                 28
Case 1:24-cv-03973-AS   Document 233-1   Filed 08/19/24   Page 37 of 217
Case 1:24-cv-03973-AS   Document 233-1   Filed 08/19/24   Page 38 of 217
     Case 1:24-cv-03973-AS          Document 233-1        Filed 08/19/24     Page 39 of 217




       57.     Live Nation wields its power in concert promotions to fuel and drive its primary

ticketing business. This presents a Hobson’s choice for major concert venues that Live Nation does

not already own or otherwise control: either choose Ticketmaster as their exclusive provider of

primary ticketing services and benefit from access to Live Nation concerts, or choose a rival

ticketing company and risk losing access to Live Nation concerts. Losing access to even a portion

of Live Nation’s tours can seriously harm venues that rely on highly profitable concerts.

       58.     Live Nation does not have to threaten individual venues explicitly (although it does)

to discourage them from signing ticketing contracts with competitors. The risks are well- known in

the industry, and Live Nation’s topmost executives remain outspoken that Live Nation likely will

steer concerts away from independent venues that do not select Ticketmaster as their ticketer. Live

Nation’s CEO publicly acknowledged as much in not-so-subtle terms:

       We can’t say to a Ticketmaster venue that says they want to use a different ticketing
       platform, “If you do that, we won’t put shows in your building.” … [But] we have to
       put the show where we make the most economics, and maybe that venue [that
       wants to use a different ticketing platform] won’t be the best economic place
       anymore because we don’t hold the revenue.

        26.     The power and profits from Live Nation’s high-margin businesses (including

                                                31
    Case 1:24-cv-03973-AS          Document 233-1        Filed 08/19/24      Page 40 of 217



Ticketmaster and Sponsorship & Advertising) help keep the flywheel spinning by financially

fueling (what may appear on paper to be) Live Nation’s less profitable promotions business. Live

Nation can do this in a number of ways. For example, for top artists, Live Nation can use profits

from other business lines to fund break-even or even unprofitable exclusive promotion contracts

on a standalone basis to keep feeding the flywheel. Rival promoters often find themselves unable

to match Live Nation’s offers to artists because Live Nation can subsidize artist offers with

profits from ticketing and other higher margin businesses. (Of course, some of Live Nation’s

exclusionary conduct also is aimed at weakening or eliminating rivals, and reducing the amount

Live Nation needs to bid to win artists’ business). At the same time, artists who do not choose




                                               32
      Case 1:24-cv-03973-AS               Document 233-1         Filed 08/19/24      Page 41 of 217



       59.           Live Nation to promote their shows or tours can find themselves locked out of Live

Nation- owned and controlled venues, including Live Nation’s large stable of amphitheaters that

are more accessible for fans.

       60.           Live Nation also uses consumer data—acquired through primary and secondary

ticketing sales—to augment its ability to feed its flywheel. As Live Nation’s CEO put it: “No one

has 80 million customers segmented in a database as rich as ours . . . . . . that audience and that

platform is really the key, unique part of our business.”

       61.           As described below, Live Nation’s conduct and anticompetitive scheme further

createscreate and enhancesenhance barriers for rivals and nascent threats while cementing Live

Nation’s grip on nearly every corner of this ecosystem. Industry participants recognize that rivals

must participate at scale and at multiple points of the concert ecosystem to compete effectively with

Live Nation. For example:

             •       Live Nation’s self-reinforcing conduct and power in promotions, ticketing, and

                     venue access disadvantages rivals that do not have a similar portfolio of intertwined

                     assets, increasing barriers for those that do not enter and expand in multiple markets

                     simultaneously.

                 •    Ticketing rivals must invest in and develop ticketing systems robust enough to

                      handle high-demand on-sale events for popular artists, fraud/protection and credit

                      card access for fans, and back-office support. Rival ticketers must also

                      accumulate sufficient data to target, market, and advertise shows to fans, as well

                      as sufficient working capital to secure business, all at a time when there are

                      limited opportunities to even compete to dislodge Ticketmaster’s monopoly that is




                                                      33
      Case 1:24-cv-03973-AS             Document 233-1        Filed 08/19/24      Page 42 of 217



             •   maintained by long-term, exclusive ticketing contracts and the content threat and

                 thereby recoup this investment.

             •   Promotions rivals face similar obstacles. They need significant capital to fund tour

                 payments (often millions of dollars), enough scale to hedge against the risk of any

                 single tour failing, extensive relationships with artists, artist managers, agents, and

                 venue operators (and, on the flip side, willingness of those market participants to use

                 a competitor without the fear of retaliation by Live Nation or its surrogates), and

                 enough experience and data from previous tours to make effective routing and

                 pricing recommendations to artists.

             D. History of Live Nation and Ticketmaster

       62.       SFX Entertainment, which later became Live Nation, was founded in 1996 and

rapidly began rolling up smaller entertainment companies to consolidate power in concert

promotions. That strategy continues today. As Live Nation’s current CEO has explained, this

strategy of consolidation “from day one” is part of the company’s DNA: “we want to continually be

the largest promoter in the world, have as many boots on the ground in as many cities and countries

in the world as possible        ” . . . .”

       63.       Ticketmaster, Inc. was founded in 1976 as an independent ticketing company. It has

been the largest primary ticketer for major concert venues for decades. Like Live Nation,

Ticketmaster initially rose to power in part through a series of acquisitions that consolidated the

company’s dominant position in primary ticketing. Ticketmaster also expanded and cemented its

dominance by pushing through changes to the structure of ticketing contracts that reduced

competitive pressures to lower ticketing fees that are ultimately borne by fans.




                                                   34
          Case 1:24-cv-03973-AS            Document 233-1            Filed 08/19/24         Page 43 of 217



             27.       Ticketmaster restructured how ticketing companies get paid for their services.

            64.       Venues used to pay ticketing service companies to ticket events. But in the early

1980s, Ticketmaster started passing more ticketing costs onto consumers (who effectively have no

choice in selecting the ticketer) in the form of fees, and then sharing some of the additional revenue

with venues. Second, Ticketmaster began paying venues large upfront advances in exchange for the

exclusive, multi-year right to sell and distribute their tickets.

            65.       On February 10, 2009, Live Nation (then known as Live Nation, Inc.) and

Ticketmaster (then known as Ticketmaster Entertainment, Inc.), agreed to merge. At the time, Live

Nation was an emerging direct competitor to Ticketmaster in primary ticketing services: after

spending nearly two years evaluating, licensing, and developing its own ticketing platform, Live

Nation had rapidly become America’s second-largest primary ticketer at major concert venues.22

Alleging the merger would likely substantially lessen competition in the provision and sale of

primary ticketing services for major concert venues, the United States and nineteen states3states and

commonwealths3 filed a case challenging the merger under Section 7 of the Clayton Act, 15 U.S.C.

§ 18.44 The parties agreed to a consent decree, entered as a final judgment in the Section 7 case on

July 30, 2010, allowing the merger to proceed subject to certain conditions.55




2
 Amended Complaint at 5–6 ¶ 3, 13–14 ¶ 34, United States et al. v. Ticketmaster Ent., Inc., et al., No. 1:10-cv-00139,
(D.D.C. Jan. 29, 2010), ECF No. 5.
3
 Specifically, the States of Arizona, Arkansas, California, Florida, Illinois, Iowa, Louisiana, Nebraska, Nevada, New
Jersey, Ohio, Oregon, Rhode Island, Tennessee, Texas, Washington, and Wisconsin, and the Commonwealths of
Massachusetts and Pennsylvania. Id. at 1.
4
    Id. at 17 ¶ 46.
5
 Final Judgment, United States et al. v. Ticketmaster Ent., Inc., et al., No. 1:10-cv-00139 (D.D.C. July 30, 2010), ECF
No. 15.
                                                         35
        Case 1:24-cv-03973-AS             Document 233-1             Filed 08/19/24         Page 44 of 217



2
 Amended Complaint at 5 ¶ 3, 13 14 ¶¶ 34 37, United States et al. v. Ticketmaster Ent., Inc., et al., No. 1:10 cv
00139, Dkt. No. (D.D.C. Jan. 29, 2010), ECF No. 5.
3
 Specifically, the States of Arizona, Arkansas, California, Florida, Illinois, Iowa, Louisiana, Nebraska, Nevada,
Ohio, Oregon, Rhode Island, Tennessee, Texas, Wisconsin, New Jersey, and Washington and the Commonwealths
of Massachusetts and Pennsylvania. Id. at 1.
4
    Id. at 17 ¶ 46.
5
 Final Judgment, United States et al. v. Ticketmaster Ent., Inc., et al., No. 1:10 cv 00139 (D.D.C. July 30, 2010),
ECF No. 15.




                                                         36
         Case 1:24-cv-03973-AS                Document 233-1            Filed 08/19/24          Page 45 of 217



             28.      In January 2020, the United States filed a motion to modify the consent decree in

    the Section 7 case.66 Ticketmaster and Live Nation denied the allegations but ultimately agreed

    to the United States’ and some state co-plaintiffs’ proposed amendments to the consent decree.77

    The court entered the amended consent decree as an amended final judgment that, among other

           66.       things, partially extended the decree’s effective date through December 31, 2025.88

The court then closed the Section 7 case on February 29, 2020.99 Several of the plaintiff

statesPlaintiff States here were not parties to the 2010 or 2020 decrees.

           67.      In the years since, Live Nation and Ticketmaster have committed additional,

different, and more expansive violations of the antitrust laws compared to the narrower scope of the

Section 7 case. As detailed below, Live Nation and Ticketmaster have engaged in ongoing unlawful

monopolization of markets across the concert industry in violation of Section 2 of the Sherman Act

and state analogues. For example, since 2020, Live Nation and Ticketmaster have unlawfully

coopted actual and potential rivals to remove competitive threats and cement Live Nation’s and

Ticketmaster’s dominance of the concert industry. In addition, as also detailed below, Live Nation

and Ticketmaster have violated Section 1 of the Sherman Act and state analogues. For example,

since 2020, Ticketmaster has entered into long-term exclusive ticketing agreements with venues.

The Section 7 consent decree—which addressed a claim different from those at issue here—has

failed to restrain Live Nation and Ticketmaster from violating other antitrust laws in increasingly

serious ways.




6
 Motion to Modify Final Judgment and Enter Amended Final Judgment, United States et al. v. Ticketmaster Ent., Inc.,
et al., No. 1:10-cv-00139 (D.D.C. January 8, 2020), ECF No. 22.
7
 Memorandum in Support of Motion to Modify Final Judgment and Enter Amended Final Judgment at 2, United States
et al. v. Ticketmaster Ent., Inc., et al., No. 1:10-cv-00139 (D.D.C. January 8, 2020), ECF No. 22.
8
 Amended Final Judgment, United States et al. v. Ticketmaster Ent., Inc., et al., No. 1:10-cv-00139 (D.D.C. Jan. 28,
2020), ECF No. 29.
9
    Minute Order, United States et al. v. Ticketmaster Ent., Inc., et al., No. 1:10-cv-00139 (D.D.C. Feb. 19, 2020).
                                                             37
        Case 1:24-cv-03973-AS             Document 233-1            Filed 08/19/24          Page 46 of 217



6
 Motion to Modify Final Judgment and Enter Amended Final Judgment at 4, United States et al. v. Ticketmaster
Ent., Inc., et al., No. 1:10-cv-00139, Dkt. No. (D.D.C. January 8, 2020), ECF No. 22.
7
    Id. at 2.
8
 Amended Final Judgment, United States et al. v. Ticketmaster Ent., Inc., et al., No. 1:10-cv-00139, Dkt. No.
(D.D.C. Jan. 28, 2020), ECF No. 29.
9
 Minute Order, United States et al. v. Ticketmaster Ent., Inc., et al., No. 1:10 cv 00139, Dkt. No. (D.D.C. Feb. 19,
2020).




                                                         38
      Case 1:24-cv-03973-AS             Document 233-1         Filed 08/19/24     Page 47 of 217



   IV.         Live Nation Maintains Monopolies and Market Power Across the Live Concert
               Ecosystem Through an Anticompetitive and Exclusionary Course of Conduct

         68.       Live Nation maintains and exercises its power through a coordinated pattern of

anticompetitive conduct that serves a variety of ends: expanding its scope and reach into every

crevice of an increasingly more complex and interconnected ecosystem, eliminating rivals,

continuing to increase barriers to entry, and inhibiting competition on the merits. Each act is

exclusionary on its own. But the acts also work together across the ecosystem, enhanced by the

flywheel and scale effects, to magnify the anticompetitive force of the scheme.

         69.       Live Nation’s strategy includes several forms of anticompetitive conduct across its

various intermediary roles that work in harmony to protect Live Nation’s power and keep rivals at

bay. For example:

               •   Live Nation enters into agreements with rivals not only to remove them, but also to

                   cement and expand its dominance.

               •   Live Nation engages in threats (directly or through intermediaries) and pressure

                   campaigns to nullify rivals or nascent threats.

               •   Live Nation relies on “carrots and sticks” to induce venues to sign long-term

                   exclusive ticketing contracts that offer durable protection for Ticketmaster’s

                   dominance. Venues have seen that if they sign with a Ticketmaster competitor, they

                   risk losing lucrative Live Nation concerts and may suffer other harmful retaliation.

               •   Live Nation conditions artists’ access to its vast and desirable network of

                   amphitheaters and other venues on choosing Live Nation as the promoter, which

                   enables the company to expand its control over artists and third-party venues alike.




                                                     39
         Case 1:24-cv-03973-AS           Document 233-1        Filed 08/19/24         Page 48 of 217



                •   Live Nation removes and neutralizes potential competitors and nascent threats via

                    acquisitions, joint ventures, and other contractual agreements.

                A. Oak View Group: Nascent competitor to a self-described “hammer” for Live
                   Nation.

          70.       Live Nation and Oak View Group have colluded and established a partnership to

allocate business lines, avoid competing with each other, and chart a mutually beneficial plan to

cement Live Nation’s dominance. Oak View Group is a leading American venue development and

management company uniquely positioned to compete against Live Nation. Oak View Group has a

portfolio of over 200 venues in the United States, including more than 100 venues that it manages

but does not own. It was founded in 2015 by two industry giants whose combined résumés include

roles as the former CEO of AEG, the former CEO of Ticketmaster, the former chairman of Live

Nation, and the owner of The Azoff Company, whose portfolio includes one of the world’s leading

artist management companies: Full Stop Management.

          71.       Oak View Group’s experience and relationships with venues and artists make it

particularly well-suited to be a real competitor to Live Nation in the United States concert

promotion business. Oak View Group’s ownership structure also gives it a key asset any would- be

promotions rival needs to compete against Live Nation: access to capital. In 2018, private equity

firm Silver Lake invested $100 million in Oak View Group, in which it now holds a controlling

stake.

           29.       Unsurprisingly, then, Live Nation recognized Oak View Group’s promotion

 capability by categorizing Oak View Group as one of its “Biggest Competitor Threats” shortly

 after Oak View Group was founded. Over time though, Oak View Group and Live Nation

 morphed from competitors into partners who found it easier and mutually beneficial to work

 together rather than compete. Oak View Group now operates as an agent and a self-described



                                                     40
     Case 1:24-cv-03973-AS          Document 233-1        Filed 08/19/24      Page 49 of 217



       72.     “pimp” and “hammer” for Live Nation, often influencing venues and artists for the

benefit of Live Nation. As Oak View Group’s CEO recently emphasized to Live Nation’s CEO,

“[j]ust like I tell our folks we 100% always protect you and LN on your lanes,” and “I always

protect you on rebates, promotor position, ticketing.” The cozy relationship between Live Nation

and Oak View Group covers several areas that ultimately impact fans.

       73.     First, Live Nation and Oak View Group have agreed to a competitive détente in

concert promotions to avoid competition between the two companies over artists and tours. In

2016, for example, after learning that Oak View Group offered to promote an artist Live Nation had

previously promoted, Live Nation’s CEO immediately emailed Oak View Group, warning that such

competition would only lead to artists demanding more compensation. He wrote: “whats up? We

have done his [touring] and vegas[.] Let’s make sure we don’t let [the artist agency] now start

playing us off.” Oak View Group’s CEO backed down: “Our guys got a bit ahead. All know we

don’t promote and we only do tours with Live Nation.” Oak View Group’s other co-founder

followed up: “Growing pains,” later noting that Oak View Group’s executives “should never

discuss comp [for artists],” and Oak View Group’s talent buyers would work for Live Nation.

       74.     This was not a one-off episode. In 2022, Live Nation’s CEO again challenged the

CEO of Oak View Group after learning that Oak View Group made another direct promotions

offer: “who would be so stupid to do this and play into [the artist agent’s] arms”? Oak View

Group’s CEO again backed down: “We have never promoted without you. Won’t.” Oak View

Group’s CEO later added that he was “[m]ore than happy to do these deals thru LN as I have

always been aligned,” and that “I never want to be competitors.”




                                                41
        Case 1:24-cv-03973-AS             Document 233-1            Filed 08/19/24         Page 50 of 217



          75.     As a Senior Vice President at Oak View Group explained to a colleague in 2019

when approached about potentially bidding on a tour: “It has been our policy to stay on the

sidelines when it comes to buying and specifically promoting tour dates as we are cognizant not to

compete with our partner Live Nation in this side of the business.”

          76.     Second, just as Oak View Group effectively ceded the concert promotions space to

Live Nation, Live Nation effectively ceded its arena consulting business to Oak View Group.1010

Shortly after its founding, Oak View Group formed an alliance with venues to provide “insights

and access to premier sports and live entertainment content,” a venture that encroached on Live

Nation’s own consulting business, Live Nation Arenas. To relieve this competitive friction, Oak

View Group’s CEO proposed that Live Nation Arenas combine with Oak View Group and that the

head of Live Nation Arenas join Oak View Group’s alliance board of advisors, which he did. In his

proposal, Oak View Group’s CEO warned the head of Live Nation Arenas, “[w]e are experiencing

Arena’s that want to play us off one another.”

           30.     Live Nation identified three paths forward with regard to Oak View Group:

     “1) Lead 2) Follow 3) or get out of the way.” Live Nation ultimately decided to “get out of the

 way” in deference to Oak View Group, just as Oak View Group agreed to get out of the way of

 Live Nation for promotions. In some instances, Live Nation Arenas and Oak View Group

 decided to partner with one another for agreements with venues, sharing the profits instead of

 competing for the contracts. The relationship between Live Nation and Oak View Group is so

 cozy that these venue partnerships were entered into on nothing more than verbal agreements.

 Through its venue development deals, venue management deals, and venue alliances, Oak View




10
  Arena consulting services are advisory services for venues that may include assistance with booking shows, selecting
and working with promotors and ticketers, and getting sponsorship deals.
                                                         42
     Case 1:24-cv-03973-AS               Document 233-1            Filed 08/19/24        Page 51 of 217



10
  Arena consulting services are advisory services for venues that may include assistance with booking shows,
selecting and working with promotors and ticketers, and getting sponsorship deals.




                                                       43
      Case 1:24-cv-03973-AS          Document 233-1         Filed 08/19/24       Page 52 of 217



       77.      Group can help direct Live Nation content to venues across the country and demand

or influence the use of Ticketmaster at these venues.

       78.     Third, Live Nation exploits its long-term relationship with Oak View Group to flip

venues to Ticketmaster, further cementing Ticketmaster’s power. In 2022, Live Nation and Oak

View Group entered into a long-term agreement. Since then, Oak View Group has recognized it has

a significant financial interest in maintaining existing Ticketmaster contracts at its venues and

converting other venues to Ticketmaster. Oak View Group has pushed throughticketing services

agreement. This agreement makes Ticketmaster the exclusive primary ticketer for the five venues

owned by Oak View Group and obligates Oak View Group to “advocate for” exclusive agreements

with Ticketmaster for more than 100 venues Oak View Group manages. The agreement also

applies to all future venues owned or managed by Oak View Group, essentially locking those

venues into long-term exclusive Ticketmaster agreements.

       78.79. For Oak View Group-managed venues currently under exclusive ticketing

agreements with Ticketmaster, the agreement obligates Oak View Group to advocate to the venues

for extensions of those agreements on the existing terms, with an annual increase to Ticketmaster’s

portion of the per-ticket service fee for primary tickets. For venues not currently utilizing

Ticketmaster, the agreement obligates Oak View Group to advocate that the venues enter into

exclusive Ticketmaster agreements with predetermined standard financial terms. These terms

include fee splits for primary ticket sales that are generally less favorable for the venues than their

current ticketing contracts. Nonetheless, Live Nation has enlisted Oak View Group to push these

new contracts, subverting the ticketer selection process Oak View Group runs on behalf of its

clients. As Oak View Group’s CEO explained to Live Nation’s CEO, the deal “allows us to tie up

all Owned and Operated facilities to 10 year deals, develop a standard A and B market deal for all

future projects and to convert all OVG 360 deals to TM now or as they expire for 10 years…


                                                  44
     Case 1:24-cv-03973-AS          Document 233-1         Filed 08/19/24      Page 53 of 217



Appreciate the consideration and partnership and all of us will work diligently on this so we are

always aligned with TM.”

       79.80. Oak View Group’s compensation for its “advocacy” includes a substantial

“incentive payment” from Live Nation plus significant annual payments. Through these payments,

Oak View Group is able to share in the Ticketmaster monopoly profits it helps protect. Oak View

Group projected itthat the deal would flip at least 22 venues to Ticketmaster over the next four

years.; Live Nation likewise recognized that this deal was a “win” for Ticketmaster because it

“incentiviz[ed]” Oak View Group “to convert all the [Paciolan] buildings to [Ticketmaster].” As

venue manager, Oak View Group is able to control which non-incumbent ticketing services are

invited to submit bids for ticketing service proposals and often only invites Ticketmaster. By

advocating for Ticketmaster over rival ticketers,The agreement between Live Nation and Oak View

Group takes off the table several of the limited opportunities rival ticketers have to compete against

Ticketmaster. So far, Oak View Group is on pace to hit its goal: in 2023 Oak View Group

converted six venues to Ticketmaster.

           B. Live Nation threatens rivals to blunt expansion into U.S. concert promotions.

        31.     Live Nation also wields its power to keep other rivals from expanding in the

 concert promotions market in the United States. For example, in 2021, Live Nation threatened

 commercial retaliation against private equity firm Silver Lake, unless one of its portfolio




                                                 45
      Case 1:24-cv-03973-AS          Document 233-1        Filed 08/19/24      Page 54 of 217



       80.81. companies, TEG, stopped competing with Live Nation for artist promotion

contracts in the United States. These threats ultimately succeeded, and Silver Lake has tried to sell

TEG altogether.

       81.82. Prior to the TEG incident, Live Nation and Silver Lake had a relationship through

Silver Lake’s ownership of Oak View Group, which, as discussed above, became a functionary for

aspects of Live Nation’s anticompetitive scheme. But TEG’s attempt to expand its role in the live

music industry in the United States—a clear direct threat to Live Nation —quickly threatened to

sour that relationship.

       82.83. Live Nation’s campaign to squash competition with TEG took place at the highest

levels. In 2021, Live Nation’s CEO complained to Oak View Group’s co-founder that TEG was

“[f]ull on competitors.” Oak View Group, in turn, conveyed to Silver Lake that Live Nation was

“not happy.” Live Nation’s CEO then escalated his complaints to Silver Lake directly, conveying:

“I am all in on [Oak View Group] where the big play lies with venues – why insult me with this

investment in ticketing/promotions etc.”

         32.      Later in 2021, Live Nation learnedafter learning that TEG made offers to

 prominent artists in the United States, Live Nation executives discussed how “[TEG] will be

 everywhere” and “will hunt big names.” After learning that TEG succeeded in securing a big

 nameprominent artist for a concert at the Los Angeles Coliseum. In response, Live Nation used

 its exclusive ticketing deal with the venue to frustrate TEG’s concert. For this concert, TEG had

 reached an agreement with StubHub where TEG would sell a certain number of tickets on

 StubHub’s platform. In response, Live Nation, through its subsidiary Ticketmaster, which

 purportedly was the exclusive ticketer for all shows at the venue, threatened“threat[ened] not to

 deny entry to honor any fan using a of those tickets” and demanded that TEG either “unwind”

 its deal with StubHub issued ticket. or transfer the ticketing proceeds to Ticketmaster. A


                                                 46
    Case 1:24-cv-03973-AS           Document 233-1        Filed 08/19/24      Page 55 of 217



Ticketmaster executive noted, “if TEG [thinks] they can come into [North America] and take

whatever they want off our platform we will have a massive problem.” Ultimately, StubHub

stopped selling tickets and attempted to work with Ticketmaster to fulfill the tickets that it had

already




                                                47
         Case 1:24-cv-03973-AS            Document 233-1           Filed 08/19/24       Page 56 of 217



           83.84. sold. But Ticketmaster failed to fulfill many of those tickets to StubHub’s

customers, and hundreds of StubHub’s customers were refused entry to the event.

           84.85. After learning about the TEG concert, Live Nation’s CEO again threatened Silver

Lake, TEG, and Oak View Group. As Live Nation’s CEO put it, he “fail[ed] to understand” why

Silver Lake “continue[d] to invest in a business that competes with LN/OVG….” Live Nation

threatened to pull its support from Oak View Group and instead back an Oak View Group

competitor unless TEG stopped competing with Live Nation in the United States:

           I can assure you the OVG investment is a much bigger win then T[E]G …. LN declared to
           back OVG vs other developers or going solo and it’s been a huge win for both sides– we
           have over 20 global arenas in development that neither could do without the other … do you
           really want LN backing [AEG’s venue development and management company]…? Seems
           like a dumb trade off??
           85.86. The co-founder of Oak View Group, who refused to allow TEG to promote any of

his large roster of artist clients,1111 thereafter informed Live Nation that he was going to demand

that Silver Lake sell TEG. Live Nation’s CEO replied, “Love ya.”

           86.87. TEG soon stopped competing for concert promotions in the United States. Silver

Lake now seems “intent on dumping teg” and has asked, through the founder of Oak View Group,

whether Live Nation would be interested in purchasing TEG.

               C. Using “carrots” and “sticks,” Live Nation locks venues into exclusive, long-
                  term ticketing agreements with Ticketmaster that shut out competition.

            33.     Live Nation puts a “choice” to venues: use Ticketmaster and potentially receive a

 significant payment for long-term exclusivity or use another ticketer and risk losing access to the

 vast array of Live Nation assets, including lucrative concerts. Sometimes Live Nation is bold and

 communicates this threat directly. Other times, the expression of the threat may be implicit, but




11
     Oak View’s co-founder also owns a large artist management company, Full Stop Management.
                                                        48
        Case 1:24-cv-03973-AS            Document 233-1           Filed 08/19/24       Page 57 of 217



11
     Oak View’s co founder also owns a large artist management company, Full Stop Management.




                                                       49
      Case 1:24-cv-03973-AS           Document 233-1         Filed 08/19/24     Page 58 of 217



          87.88. the meaning is self-evident. And in some circumstances, Live Nation deploys its

extensive network of intermediaries to communicate this “choice.” Sometimes, the “choice” does

not have to be communicated at all. It is well understood across the live concert industry, as a result

of Live Nation’s historical conduct and exactly as Live Nation intended, that choosing ticketers

other than Ticketmaster carries enormous risk and financial pain.

          88.89. Live Nation’s reputation and history of retaliation are so well known in the industry

that Live Nation does not have to (although it still does) explicitly threaten individual venues.

Instead, its threats have become more public and generalized. As Live Nation’s CEO told the

industry in 2019, Live Nation’s concert promotions business decides to host concerts “where we

make the most economics,” which usually means venues where Ticketmaster holds the primary

ticketing contract. Venues considering primary ticketing options understand all too well the risks of

switching to another ticketer, and some even model the loss they would suffer if they switched and

lost access to some of Live Nation’s concerts. The threat of steering shows away from venues

allows Live Nation to exercise its monopoly power to get better promotions deals and impose

Ticketmaster on venues.

          89.90. Live Nation has a number of punitive tools it can use to retaliate against venues,

even without making good on the catastrophic threat of pulling or moving concerts completely. In

addition to reducing the number of concerts it places at a venue, Live Nation has the power to move

shows to less desirable and less lucrative dates, curtail promotional efforts, and force venues to

disable secondary ticketing on non-Ticketmaster platforms (potentially making unsure fans less

likely to commit to tickets in the first place and frustrating fans who do buy tickets but change

plans).




                                                   50
      Case 1:24-cv-03973-AS            Document 233-1        Filed 08/19/24     Page 59 of 217



           90.91. These kinds of threats and punishments are not just how Live Nation acquired its

outsized power in every corner of this industry. In fact, Live Nation has continued to use this

playbook in recent years. For example, in 2021, Live Nation threatened retaliation against a venue

that had decided to switch from Ticketmaster to SeatGeek for primary ticketing. That venue had

decided to switch, in part, because SeatGeek offered to share a greater percentage of the fees

associated with secondary ticketing.

           91.92. Upon learning about the potential switch, a senior Live Nation executive texted a

not-so-subtle warning to the venue’s CEO: “Apparently seatgeek are telling [nearby venue] and

others that they have a contract deal with you guys already?? Anyways should think about bigger

relationship with LN not just who is writing a bigger sponsorship check �
                                                                        '😉.” A few days later,
                                                                        •

Live Nation’s CEO emailed the venue’s owner that Live Nation “will be very concerned that

seatgeek a secondary provider will be selling our LN artist tickets when not authorized by the

artist.”

           92.93. Once the venue switched to SeatGeek, Live Nation followed through on its threats,

re-routing concerts to other venues. Live Nation’s promotions business also demanded that the

venue disable secondary ticketing on SeatGeek’s platform for all Live Nation-promoted concerts,

depriving the venue and SeatGeek of secondary fee revenue.

            34.    Live Nation eventually relented and allowed the venue to enable secondary ticket

 sales—but only after (a) the venue agreed to split its share of secondary fee revenue (sourced

 through SeatGeek) with Live Nation, and (b) SeatGeek agreed to change its ticket-buying

 interface to make it conform, in some respects, to Ticketmaster’s without regard to whether that

 was what fans or the venue preferred. In particular, Live Nation demanded that SeatGeek change

 the way it distinguished primary and secondary tickets (to make it more like Ticketmaster) and




                                                   51
      Case 1:24-cv-03973-AS          Document 233-1        Filed 08/19/24      Page 60 of 217



       93.94. limit the use of its fan-friendly tool called “DealScore.” Given all of Live Nation’s

complaints, which it directed to the venue, it is unsurprising that within about a year, that venue

returned to Ticketmaster.

       94.95. The knowledge and awareness in the industry—that Live Nation will route shows

away from venues that do not choose Ticketmaster—is so widespread that other intermediaries

deliver threats and warnings to venues for Live Nation’s benefit. For example, Oak View Group,

Live Nation’s self-described “hammer,” has made such threats to at least one venue. And at least

one other venue has been warned by a rival CEO that Live Nation would move shows away from

the venue if it selected SeatGeek for primary ticketing services.

       95.96. Even Live Nation’s biggest competitors fear losing concerts if they do not use

Ticketmaster. Live Nation’s principal competitor, AEG, has an approximately 30% ownership

stake in Anschutz Spectacor Management (“ASM Global”), a venue management company that

manages more than 30 arenas in the United States. ASM Global resulted from a 2019 merger

between AEG Facilities and Spectacor Management Group (“SMG”). Before the merger, SMG’s

legacy venues had used Ticketmaster as their exclusive primary ticketer, and AEG Facilities’

legacy venues had used AXS as their exclusive primary ticketer. Through its minority interest in

ASM Global, AEG advocated for AXS to serve as the exclusive primary ticketer for the ASM

Global venues AEG now partially owned. But ASM Global’s majority shareholder Onex worried

that Live Nation would retaliate by withholding shows from ASM Global venues if ASM Global

entirely switched away from using Ticketmaster.

         35.    To avoid losing access to concerts at ASM Global venues by “alienating” Live

 Nation, AEG was forced to accept that Ticketmaster would remain the dominant provider at

 ASM Global venues despite AEG’s partial ownership of ASM Global and AEG’s ability to




                                                 52
      Case 1:24-cv-03973-AS          Document 233-1         Filed 08/19/24      Page 61 of 217



        96.97. provide an alternative primary ticketer, AXS. AEG agreed Ticketmaster would

remain the default primary ticketer for most ASM Global venues, with AEG reserving the right to

use AXS for events promoted by AEG.

        97.98. These threats—whether direct or indirect, explicit or implicit— coupled with Live

Nation’s multi-pronged strategy of long-term exclusive agreements, a history of retaliation, and

other exclusionary conduct—means neither venues nor artists are free to choose ticketers based on

their own assessment of price, quality, or value. They are not free to choose a ticketer based on the

best technology, or most favorable contract terms, or simply what works best for them or—

importantly—what works best for the fans that fill venues to see their favorite artists. Instead,

venues, artists, fans, rivals, and others throughout the live concert industry must navigate an

ecosystem created by Live Nation, defined by its dominance in promotions and ticketing, together

with its extensive network of venues (especially amphitheaters), and limited by Live Nation’s

restrictions and restraints.

            D. Ticketmaster’s long-term exclusive agreements with venues are designed to
               lock up share and lock out competition, which forecloses a substantial share of
               primary ticketing markets.

        98.99. Ticketmaster’s long-term, exclusive agreements with venues are a key tool to protect

Live Nation’s stranglehold on the live concert industry, and on primary ticketing in particular.

These agreements make Ticketmaster the sole provider of primary ticketing services for all or

nearly all events held at a venue for multiple years, sometimes as long as 14 years.

        99.100.         Ticketmaster’s exclusive agreements cover more than 75% of concert ticket

sales at major concert venues, foreclosing a substantial share of the primary ticketing market from

rival ticketers. In 2022 alone, for example, Ticketmaster signed several lengthy deals with major

concert venues.




                                                 53
      Case 1:24-cv-03973-AS           Document 233-1         Filed 08/19/24       Page 62 of 217



       100.101.        Ticketmaster is quite clear about why it focuses on these deals: they are, in

Ticketmaster’s own words, a “[h]edge against significant improvements by the competition or even

a new competitor” because the “client is under contract for longer and not able to leave

[Ticketmaster] or price the competition’s offer into our new deal for an extended time.” In other

words, even if a rival ticketer were to offer a better price, a better product, or simply a better

ticketing experience, a Ticketmaster-exclusive venue would not be able to choose the rival for a

long time, often a decade.

       101.102.        Before its long-term exclusive agreements expire, Ticketmaster also works

defensively to deny rivals the opportunity to compete at all., by, for example “[m]itigat[ing]

competitor growth.” Ticketmaster often renews or extends these ticketing agreements before they

expire, thus preventing rivals like SeatGeek and AXS from being able to bid at all. This not only

eliminates the chance Ticketmaster will lose the contract but also mitigates competitive pressure on

Ticketmaster to improve the terms of the contract. As one internal Ticketmaster presentation from

2021 recognized: “When We Compete with [SeatGeek] on an Open Bid, We Can Lose . . . GM

[Gross Margin]/Ticket.” To prevent competition, Ticketmaster analyzed top sports leagues and

venues to identify “key clients to renew early and ensure continued concert revenue and block

SeatGeek.”

       102.103.        To ensure their existing locked-in venues agree to early renewals and thereby

block competition from a rival for the contract, Ticketmaster used COVID-19 as an opportunity to

extend the terms of its existing long-term venue ticketing agreements by one year. After one venue

resisted, telling Ticketmaster that it disagreed and intended to sign with a rival, Ticketmaster’s

counsel wrote: “Any effort by [the venue] to switch ticketing service providers before [the

extension date] would be a breach of contract, and any announced intention to do so would be an

anticipatory breach.” In a conversation between that venue’s CEO and Live Nation executives,


                                                   54
      Case 1:24-cv-03973-AS          Document 233-1        Filed 08/19/24      Page 63 of 217



Live Nation’s CFO indicated Live Nation would “drop” the contractual dispute if the venue agreed

to enter into a new ticketing contract with Ticketmaster, but not if the venue went with a rival.




                                                 55
      Case 1:24-cv-03973-AS           Document 233-1         Filed 08/19/24     Page 64 of 217



       103.104.         Ticketmaster’s renewal strategy not only blocks potential rivals but also

creates friction—legal costs and otherwise—to ensure venues do not even try to pursue a

competitive bidding process. These tactics have worked: Ticketmaster has publicly touted its

“incredible high renewal rate,” which, historically, is virtually 100%.

         36.      These strategies are part of a deliberate and defensive series of actions and

 decisions designed to lock up venues, lock out competitors, and hold the industry hostage from

 innovation and evolution. It is well recognized that For example, Ticketmaster considered the

 pros and cons of “opening” venues in the United States, that is, eliminating its exclusivity to

 permit multiple primary ticketers to service a venue or a particular concert,. It recognized that

 fans could benefit fans. Openfrom open venues can makebecause it easier for fans would be

 “easy to find & purchase tickets via multiple platforms and those platforms would be

 incentivized (in terms of priceanywhere (e.g., [StubHub, SeatGeek], Groupon)” and

 technology) to compete for fans’ purchases.fans could find “competitively priced tickets across

 various touch points.” Venues, too, could benefit, because having multiple ticketers would

 enable venues to increase the number“limit risk of tickets sold, exercise greater choice over

 how tickets are sold or resold,unsold inventory, ‘pack the house,’” “maximize revenue among

 primary inventory (reduce resale),” “limit bad PR from resale arbitrage attributed to sell-outs,”

 and “reach new audiences.

       105.    /better know their fans.” When venues have proposed non-exclusive ticketing

contracts, Ticketmaster has almost invariably rejected the request, even outside the live concerts

space. For example, after one NHL team requested a non-exclusive ticketing deal, a Ticketmaster

executive forwarded that request internally, stating his reaction, “Protect our Exclusivity for

primary of course.” That Ticketmaster contract remains exclusive.




                                                  56
     Case 1:24-cv-03973-AS          Document 233-1        Filed 08/19/24      Page 65 of 217



       104.106.         And even though Live Nation agreed to limited non-exclusivity for AEG-

promoted shows at certain ASM Global venues as part of its recent contract negotiation—to

dislodge its largest ticketing rival (AEG’s AXS) from the very venues that its largest promotions

rival (AEG) partially owns—one Ticketmaster has refused to even consider itexecutive stated

internally: “[i]t’s not something we would do for other venues.another client.” If even AEG must

acquiesce to Live Nation’s demands that Ticketmaster exclusively ticket every show at AEG’s own

affiliated venues—save those shows promoted by AEG—no other major concert venue owner

stands a chance. And when other clients—none of which owns a sizable ticketer or promoter—have

asked for a similar arrangement, Ticketmaster has “shot it down as a non-starter.”

        37.       While the industry and fans would benefit from “opening,” Ticketmaster       as the

 incumbent monopolist       and its parent company, Live Nation, knows it —as the incumbent

 monopolists—would not. As one Ticketmaster executive has recognized: “Open is WAY more

 attractive as a competitor strategy, not as an incumbent.” For Ticketmaster, the success of

 exclusivity combined with Ticketmaster’s already high market share




                                                57
Case 1:24-cv-03973-AS   Document 233-1   Filed 08/19/24   Page 66 of 217
      Case 1:24-cv-03973-AS          Document 233-1         Filed 08/19/24      Page 67 of 217



2018, Ticketmaster has used its exclusive ticketing contracts with venues to curtail artists’ ability to

use third-party providers for fan club sales—at the expense of artists’ choice and their relationships

with fans.

         38.    Ticketmaster further uses its extensive network of long-term exclusive ticketing

 contracts to raise the costs of rival ticketers and further heighten barriers to entry. For example,

 in the areas where despite Ticketmaster’s best efforts, competitors still persist, Ticketmaster

 deploys its vast power and network to protect its monopoly. One example of this is

 Ticketmaster’s encrypted mobile ticket program, SafeTix,. Ticketmaster has added SafeTix to

 its suite of products and services in a manner that protects its position in primary ticketing,

 expands




                                                  59
      Case 1:24-cv-03973-AS          Document 233-1         Filed 08/19/24       Page 68 of 217



       106.109.         its position in secondary ticketing, and undercuts the ability of rival ticketers

to compete in either aspect of ticketing.

       110.    Pursuant to this program, Ticketmaster replaced the static barcodes on PDF—or

other types of electronic tickets—with a constantly refreshing and encrypted barcode.

Ticketmaster’s SafeTix marketed this change as reducing the risk of ticket fraud from stolen or

illegal counterfeit tickets. But the transfer restrictions implemented as part of this change alsoBut

there were less restrictive ways to reduce fraud. Ticketmaster’s own documents show that a

primary motivation behind its push for a non-transferable digital ticket was to make it more

difficult for a fan who wishes to buy or sell a SafeTix-encrypted ticket through a secondary

platform to use a rival platform like StubHub or SeatGeek. One document from a Ticketmaster

executive meeting in 2014, for example, describes the “non-transferrable digital ticket” as “a game-

changer.” Another document from 2017 describes the rotating barcode as a “product enhancement[

] for market share” and an opportunity to “REDUCE TM’S ECONOMIC RISK.”

       107.111.         Further, SafeTix introduces uncertainty as to when, or even whether, that

ticket can even be transferred. If a ticketholder wants to sell or otherwise transfer a SafeTix-

encrypted ticket, both the ticketholder and the purchaser must create Ticketmaster accounts

(thereby providing Ticketmaster with their data), download the Ticketmaster app, and wait for

Ticketmaster to determine when or whether the transfer can be completed. By reducing the

incentives to enter secondary ticketing altogether, SafeTix not only reduces competition from

existing rivals but also disincentivizes prospective innovators from considering secondary ticketing

as a viable foothold for entering primary ticketing.

         39.      In addition to inserting Ticketmaster as an intermediary into secondary ticket

 transfers and transactions, SafeTix has also fortified Live Nation’s data advantages over its

 rivals. According to internal documents, SafeTix was expected to grow the “size/value of the TM


                                                  60
    Case 1:24-cv-03973-AS         Document 233-1        Filed 08/19/24      Page 69 of 217



database,” already by far the largest of any ticketer, by as much as 30 to 40%. As Live Nation’s

CEO put it, “[o]ne of the advantages we’ve launched under the transfer strategy is we now not

only know the person that bought the ticket, but we’re going to know those three people that you

are taking to the show, which we have not known historically.” Live Nation can monetize this




                                               61
      Case 1:24-cv-03973-AS           Document 233-1         Filed 08/19/24      Page 70 of 217



       108.112.         unique trove of data in its various businesses to both increase its bottom line

and further entrench its positions across the live entertainment industry.

           E. Live Nation restricts access to its venues unless Live Nation is paid to be the
              promoter.

       109.113.         Live Nation’s control over a significant number of concert venues not only

facilitates maintenance of Ticketmaster’s monopoly in ticketing but also serves to limit artists’

options and exclude rival promoters. Live Nation has a longstanding policy going back more than a

decade of preventing artists who prefer and choose third-party promoters from using its venues. In

other words, if an artist wants to use a Live Nation venue as part of a tour, he or she almost always

must contract with Live Nation as the tour’s concert promoter.

       110.114.         Live Nation’s policy of restricting the use of its venues is particularly

problematic for artists seeking to tour in large amphitheaters where Live Nation enjoys monopoly

power. These artists—many of whom have well-established, dedicated fan bases but have not yet

matured their fan base to play larger stadiums—are effectively forced to hire Live Nation as their

promoter or risk being locked out of dozens of desirable Live Nation-controlled large

amphitheaters in the United States. Live Nation’s amphitheater portfolio includes at least 40 of the

top 50, and more than 60 of the top 100 amphitheaters in the United States. No other entity owns

more than a handful of amphitheaters in either set. This network of large amphitheaters has allowed

Live Nation to attain a greater than 70% market share in large amphitheater promotions and

become by far the largest promoter of national amphitheater tours. Put differently, it is nearly

impossible for an artist to create a tour that includes stops at amphitheaters without Live Nation. As

one Live Nation executive explained, “if [artists] want to do an extensive amphitheater tour with a

lot of shows, they would typically be coming to us for that, and they do.”

         40.      Live Nation senior executives know the company has restricted the use of its

 amphitheaters and other venues for years and often make the choice to sacrifice additional profits

                                                  62
      Case 1:24-cv-03973-AS          Document 233-1         Filed 08/19/24      Page 71 of 217



       111.115.         the company could be earning as a venue owner by opening its venues to

non-Live Nation promoted shows that are available to play at those venues. A 2018 internal Live

Nation analysis found that its top 10 amphitheaters are “dark,” or without shows, “on nearly 50% of

their Saturdays in the summer,” the highest performing day of the week during the primary

performance season. Relatedly, a 2022 analysis found that Live Nation’s top 15 amphitheaters are,

on average, dark on eight Saturdays between June and September.

       112.116.         Live Nation also recognizes its amphitheater portfolio gives it control over

artists pursuing an amphitheater tour. For example, a senior Live Nation executive directed his

employees not to increase guaranteed payments offered to artists they know are looking for “True

Amp Tours.” This is because Live Nation recognizes these artists almost certainly will need to play

several shows at Live Nation’s stable of top amphitheaters, and to do so, they will need to sign with

Live Nation as their promoter: “we know [artists] are likely playing amphitheaters and we are

going to get those in most cases.” Because many artists sign with Live Nation to promote their

entire tour—both amphitheater and non-amphitheater shows alike—Live Nation’s restrictive

amphitheater policies help the company extend its reach to promoting artists in other venues as

well. Further, because relationships are so important in the promotions business, once Live Nation

uses its exclusionary amphitheater policy to lock in emerging artists early in their careers, they are

able to keep some of those artists as they graduate to higher capacity venues, such as arenas and

stadiums.

            F. Live Nation strategically acquires promoters, venues, and festivals to eliminate
               rivals, expand its network, and grow its “moat.”

         41.      To protect and expand its positions across the live entertainment industry, Live

 Nation has pursued a strategy of acquiring nascent threats and neutralizing rivals. This strategy

 has included acquiring promoters, amphitheaters, festivals, other venues, and even small



                                                  63
      Case 1:24-cv-03973-AS          Document 233-1        Filed 08/19/24      Page 72 of 217



       113.117.        ticketers, as well as entering into long-term exclusive booking contracts with

many venues. Although many of these rivals were relatively small at the time of their acquisitions,

Live Nation’s internal documents show that the company viewed them as some of its “biggest”

threats. This is unsurprising given the lack of sizeable, scaled, national competitors in the markets

in which Live Nation operates. Live Nation’s conduct has thwarted growth of its rivals and

disincentivized investment that might have led to entry. Nonetheless, Live Nation viewed many of

these acquisitions of competitors on the “edge” as necessary to protect its “moat” around the live

concert ecosystem.

       114.118.        In its own words: “Live Nation is a company founded on acquisition. At its

inception, Live Nation began rolling up the regional world of promoters and venues and has not

stopped since.” Over the past decade, Live Nation has acquired dozens of companies across the

industry to expand its reach and entrench its positions. Live Nation presentations like the one below

describe Live Nation’s “Decade of Growth” and acquisitions:




       115.119.        Live Nation has recognized that one of its “Biggest Competitor Threats” is

smaller and regional independent promoters that have the ability to “com[e] in from the edges

                                                 64
     Case 1:24-cv-03973-AS          Document 233-1         Filed 08/19/24      Page 73 of 217



creating events, opening venues, and purchasing artist inventory.” To address this disruptive

potential, Live Nation pursued an aggressive plan to acquire or co-opt key independent promoters,

even when the economics of a particular deal did not make sense for its promotions business. Live

Nation personnel justified the counterintuitive economics for these transactions by looking at the

long-term benefits: reducing competition for artists, including by “keeping the [artist] guarantees

down” and stopping competitors from “driving the price up” for artists.

        42.     Live Nation’s acquisitions have, over time, constrained artists’ choice of

 promoters. This is especially true for nationwide tours and has the effect of further increasing

 venues’ dependence on Live Nation for content. As a major venue in New York City recognized,




                                                 65
      Case 1:24-cv-03973-AS              Document 233-1            Filed 08/19/24         Page 74 of 217



        116.120.          Live Nation has made significant acquisitions of top independent promoters

over the past decade, eliminating most mid-tier promoters and leaving primarily small, concert

promotion companies with little market share.

        117.121.          Below are some specific examples of Live Nation’s acquisition strategy in

practice.

        118.122.          United Concerts. In 2017, Live Nation acquired United Concerts, a

promoter and venue owner in Utah, whose venues included the most popular large amphitheater in

the state. Live Nation acquired United Concerts in part to eliminate a potential competitive

promotions threat and to starve a competing primary ticketer of customers.

        119.123.          Before Live Nation bought United Concerts, many venues in Utah, including

United Concerts’ venues, used a regional ticketing company called SmithsTix.1212 Internally, Live

Nation noted that SmithsTix had taken Ticketmaster’s “last client in Utah” and left a “barren

landscape[]” for Ticketmaster there. Live Nation chose not to acquire SmithsTix directly because

doing so would “require us to go to the DOJ [to notify them as required under the 2010 consent

decree that it planned to acquire a primary ticketing company] and that’s something we wouldn’t

necessarily want to do.” Instead, Live Nation went bigger while sidestepping the notification

requirements of the consent decree: it acquired United Concerts and its venues, and then converted

those venues to Ticketmaster. Left “with only a few small clients,” SmithsTix ultimately went out

of business.

            43.    AC Entertainment. In 2016, Live Nation acquired a controlling stake in AC

 Entertainment—a regional independent promoter in the Southeast and one of Live Nation’s




12
  The prior owner of United Concerts also owned DATATIXS, a regional ticketing company that operated under the
SmithsTix brand. SmithsTix provided ticketing services to more than 40 venues throughout Utah, including the arena
that the home of the Utah Jazz.
                                                        66
     Case 1:24-cv-03973-AS              Document 233-1            Filed 08/19/24         Page 75 of 217



12
  The prior owner of United Concerts also owned DATATIXS, a regional ticketing company that operated under
the SmithsTix brand. SmithsTix provided ticketing services to more than 40 venues throughout Utah, including the
arena that the home of the Utah Jazz.




                                                      67
     Case 1:24-cv-03973-AS            Document 233-1        Filed 08/19/24     Page 76 of 217



       120.124.         internally designated “Biggest Competitor Threats.” AC Entertainment

promoted over 1,000 shows a year, including arena and amphitheater shows. AC Entertainment

also controlled the venue booking decisions at 14 historic theaters and clubs throughout Tennessee

and the Carolinas and promoted major music festivals, including Bonnaroo.

        44.       Live Nation pursued the acquisition even though it had doubts about the

 standalone economics of the deal. Live Nation’s Chief Strategy Officer explained to Live Nation

 executives: “The numbers are not super exciting and this feels like more of a defensive move to

       121.125.         (I) Keep [rival] AEG out of the region especially creating situation where [a

well-known artist manager] can play both sides in Nashville.” Live Nation’s Chief Strategy Officer

also recognized that the acquisition helped “grow[] our moat in the [Nashville] market,” while

another internal document touted the benefit of “lower competition in the Region and specifically

in Nashville.”

       122.126.         Frank Productions and National Shows 2. In 2018, Live Nation acquired

yet another “Biggest Competitor Threat” in rival promoter, Frank Productions. Frank Productions

owned four theaters and clubs in Wisconsin—one of which competed with a Live Nation- operated

venue. When its owners looked to transition the business to new ownership as they stepped back,

Live Nation jumped at the opportunity to take another edge competitor off the board, and out of the

hands of any other potential buyer.

        45.       Live Nation used this acquisition, in part, to convert Frank Productions’ venues to

 Ticketmaster. Frank Productions previously selected other primary ticketing service providers

 over Ticketmaster because it had “a difficult time wrapping their head around why they would

 do business with a company [Live Nation/Ticketmaster] who will be in direct competition with

 them in their home market.” Recognizing that Frank Productions venues’ ticketing contracts




                                                  68
     Case 1:24-cv-03973-AS          Document 233-1         Filed 08/19/24      Page 77 of 217



       123.127.        In a presentation to its Board of Directors, Live Nation executives explained:

“[c]urrent ticketing arrangements for certain venues with Ticketfly and Etix set to expire within 2

years” and that, after the acquisition, “[Ticketmaster] to become exclusive ticketing provider for all

live events booked or promoted following the expiration of current agreements.” Recognizing that

Frank Productions venues’ ticketing contracts were set to expire not long after the acquisition, Live

Nation acquired the company and then flipped the venues to exclusive Ticketmaster contracts.

       124.128.        Live Nation also acquired Frank Productions’ subsidiary, National Shows

2—yet another firm listed as a “Competitor Threat.” National Shows 2, which promoted over 350

shows per year in the United States, was one of a small number of competitors to Live Nation in the

Nashville region after Live Nation bought AC Entertainment, the acquisition described infra ¶ 122,

in 2016.

       125.129.        Red Mountain Entertainment. In 2018, Live Nation acquired Red

Mountain Entertainment, a regional promoter that promoted shows in Alabama and Mississippi,

including several music festivals throughout the Southeast. At the time of the acquisition, Red

Mountain also operated and/or exclusively booked concerts at Wharf Amphitheater in Orange

Beach Alabama, Brandon Amphitheater in Brandon, Mississippi, and Tuscaloosa Amphitheater in

Tuscaloosa, Alabama. Red Mountain had been on Live Nation’s radar since at least 2016 when a

Live Nation executive indicated it had an “active plan to mitigate further expansion” by Red

Mountain because Live Nation “[c]an’t get complacent and let small guys encroach from the

edges.” Live Nation recognized that Red Mountain’s control of the Tuscaloosa Amphitheater was

driving up compensation to artists, and so it wanted control of the Tuscaloosa Amphitheater to

“keep[] the guarantees down” to artists.

           46.    As Red Mountain grew, Live Nation unleashed what it called a “velvet hammer”

 by warning that it would cut off “the content flow on artist[s]” to Red Mountain venues if Red


                                                 69
    Case 1:24-cv-03973-AS        Document 233-1        Filed 08/19/24     Page 78 of 217



Mountain continued to compete as a promoter. A Live Nation executive described the message

he communicated to Red Mountain: “Either we are together or we are competitors. Seemed to

work, as they had 3 venues, 2 festivals and another venue coming online in [20]18, and wanted




                                             70
     Case 1:24-cv-03973-AS          Document 233-1         Filed 08/19/24     Page 79 of 217



       126.130.        the content flow on artists where we had touring rights to in the U.S. Velvet

Hammer.” Red Mountain ultimately agreed to sell its business to Live Nation.

       127.131.        313 Presents (“313”). In 2018, Live Nation co-opted a Detroit-based

competitor, 313, by entering into a multi-faceted non-compete agreement. Prior to the agreement,

Live Nation recognized 313 predecessor organizations, Palace Sports and Olympia Entertainment,

as “competitors” since they “make direct offers to artists.” As such, Live Nation and the co-founder

of Oak View Group concocted a “scheme” to “put [Olympia] out of the promoting side.”

AfterUnder the agreement, Live Nation stopped competing with 313 over agreed not to compete in

the development, operation, or ownership of venues in the Detroit market, while 313 stopped

competingpromised “not [to] bid against Live Nation” for artist talent. 313 recognized that without

the agreement, 313 and Live Nation“absent all parties coming together, we would be forced to

compete to theinto a competition that would only benefit of artists..”

       132.    Live Nation and 313 also agreed on other terms. For example, they agreed: (1) to

pool certain revenues across aspects of the Detroit market; (2)

                    for all three amphitheaters controlled by 313, which are the three largest

amphitheaters in the Detroit market; (3)

                                                                                            ; and (4)



       .

       128.133.        The agreement worked to suppress competition to the benefit of both parties.

313 Presents saw reduced talent costs and avoided competition from an expanding venue operator.

Live Nation, meanwhile, disarmed another promotions competitor, secured exclusive deals at three

amphitheaters, and locked-up several venues with Ticketmaster for years to come. Today, 313

controls several of the most popular concert venues in the Detroit live music hub.


                                                 71
      Case 1:24-cv-03973-AS          Document 233-1         Filed 08/19/24      Page 80 of 217



       129.134.        ScoreMore Shows. ScoreMore Shows was a regional promoter in Texas that

Live Nation identified as a “Competitor Threat.” Around 2017, Live Nation agreed with ScoreMore

not to compete to sign artists in Dallas and to pool their collective revenues to co-promote artists.

After that agreement was in place, in 2018, Live Nation acquired a majority stake in ScoreMore

Shows. Internal Live Nation documents celebrated that ScoreMore and Live Nation were “no

longer competing” or “driving the price up” for booking artists. Live Nation replaced rivalrous

competition with cooperation. As the CEO of ScoreMore Shows stated to Live Nation:

         [Y]ou are forgetting that in pooling these revenues it also meant that we were
         no longer competing. We weren’t driving the price up, either. We haven’t




                                                 72
      Case 1:24-cv-03973-AS            Document 233-1       Filed 08/19/24     Page 81 of 217



        been sending offers or telling agents anything but “yes, that’s good, we work with
       LN, we will copro[mote] there.” [S]o if we were on our own (without the pool),
       sending our own offers, putting in indie rooms, driving the price up … do you think
       the [contribution margin] would be the same? [W]ould you still think we don’t
       provide the value?
       130.135.           For Live Nation, the value of no longer competing with ScoreMore meant

that it could book more shows while paying less to artists. Live Nation’s CEO wrote to

ScoreMore’s CEO, “I agree that measurement is what you book and what you stand down for

overall win.   ” . . .”

       131.136.           Logjam Presents. In 2023, Live Nation acquired a majority stake in Logjam

Presents, the leading promoter and venue operator in Montana. Prior to the acquisition, the Logjam

Presents venues used a competing primary ticketing service provider. As with previous

acquisitions, Live Nation switched Logjam venues from the competing primary ticketing service

provider to Ticketmaster once its ticketing agreement expired.

       132.137.           At the same time Live Nation was acquiring the businesses identified above,

Live Nation was also building a “top tier festival portfolio through acquisitions.” Live Nation

recognized that the “Proliferation of Festivals” was one of its “Biggest Competitor Threats”

because these outdoor shows threatened to “cannibaliz[e] high margin amp shows.” In executing

this strategy, and to help protect its power and position in amphitheaters, Live Nation acquired

several popular and widely attended festivals, including, Austin City Limits, Lollapalooza, Electric

Daisy Carnival, Bottlerock, Mountain Jam, Shaky Knees, Houston Free Press Summer, Governor’s

Ball, and others.

         47.      Beyond its outright acquisition of venues, some of which are described above,

 Live Nation has entered into long-term exclusive booking contracts to augment its control of

 venues, particularly large amphitheaters. In recent years, Live Nation has entered into long-term

 exclusive booking agreements with more than a dozen large amphitheaters and long-term leases


                                                   73
      Case 1:24-cv-03973-AS           Document 233-1        Filed 08/19/24       Page 82 of 217



        133.138.         with several additional amphitheaters as well. While the specific terms vary

from agreement to agreement, these exclusive booking agreements generally provide Live Nation

the exclusive right to control which artists may use the venue, cementing Live Nation’s ability to

reward artists it promotes while locking out artists promoted by third-party competitors. Some

agreements also provide Live Nation with some degree of control over other aspects of the venue’s

operations such as concessions and ticketing.

   V.      Anticompetitive Effects and Competitive Harm

        134.139.         Live Nation has engaged in individual anticompetitive acts that have

themselves harmed competition. But those individual acts have also had the desired effect of

working together in a mutually reinforcing manner to enhance Live Nation’s flywheel, suffocate

competition, and inhibit the evolution of the live music industry that competition could and should

usher in. Live Nation (and its subsidiaries like Ticketmaster) has inserted itself into nearly every

corner of the live music industry, which inures to the benefit of Live Nation, but comes at a real

cost to fans, artists, venues, and to the competitive process more broadly. Live Nation’s conduct,

taken individually and collectively, has complicated and exploited the relationship between artists

and fans for the delivery of live entertainment and increased its bottom line.

        135.140.         The anticompetitive effects of Live Nation’s distortion of the competitive

process cascade through a number of interrelated relevant antitrust markets and fall upon the

various entities within those markets. Live Nation’s anticompetitive actions allow Live Nation to

impose costs and take more for itself, obstruct innovation, impede competitors and nascent threats,

and maintain its monopolies and power.

         48.       Because the competitive process has systematically and intentionally been

 corrupted, there has been less competition than there otherwise would have been in the live




                                                  74
      Case 1:24-cv-03973-AS          Document 233-1         Filed 08/19/24     Page 83 of 217



       136.141.         music industry over a variety of dimensions, including, ticketing fees,

contractual terms, output, quality, and innovation. For example, due to Live Nation’s

anticompetitive conduct: across the United States, including in every Plaintiff State.

         •    Fans have paid more in fees that are not transparent, not negotiable, and cannot be

              comparison shopped because there are no other options;

       142.     Due to Live Nation’s unlawful conduct, fans across the United States, including fans

in every Plaintiff State, have paid more in fees that are not negotiable and cannot be comparison

shopped because there are no other options. Fans are forced to pay service and convenience fees,

Pricemaster and Platinum fees, payment processing fees, handling fees, and facility fees, often with

little visibility into how these fees are assessed. The overcharges stemming from these fees are

known as the “Ticketmaster Tax,” and Live Nation, acting as both a ticketer and promoter, has

routinely double dipped into the pockets of venues, fans, and artists, taking an outsized cut of what

fans pay for live entertainment. Whether the fee is one technically charged by Ticketmaster or

someone else (e.g., the venue), it is the fans who ultimately pay unlawfully inflated prices for

concert tickets.

       137.143.         Fans have also been denied access to the benefits that a competitive process

would deliver, such as quality, innovation, and more choices in concerts and innovative fan-

friendly ticketing options;. For example, SeatGeek’s refundable ticket program, Swaps, offers

refundable tickets that can be returned for 100% credit on a future purchase, for any reason, up to

72 hours before the event. Ticketmaster, on the other hand, has a more restrictive refund policy, and

fans are typically confined to a complicated ticket insurance process that costs extra and can only

be used in limited circumstances. Flexibility is important to fans, and Live Nation’s unlawful

stranglehold on the primary ticketing market stifles competition and prevents or impedes more fan-

friendly options.


                                                  75
      Case 1:24-cv-03973-AS           Document 233-1        Filed 08/19/24      Page 84 of 217



         •    Artists have hadLack of competition also restricts opportunities and access for artists,

              venues, and fans. Live Nation controls nearly every aspect of the live events industry,

              which results in artists having fewer opportunities to play concerts, and fewer real

              choices for promoting their concerts, selling tickets to their own shows, and

              performing at certain venues; and

       138.144.         Venues. Likewise, venues have fewer real choices for obtaining concerts and

ticketing services, and many are reluctant to disrupt the status quo due to the financial risk and

barriers to entry Live Nation’s conduct, as described above, has created, perpetuated, or

exacerbated.

       145.     Live Nation’s conduct has harmed fans because they have been left with fewer

concerts, have had more limited choices among touring artists, have paid higher ticketing fees, and

have experienced a lower-quality ticketing experience than they otherwise would have but for Live

Nation’s anticompetitive conduct.

       146.     Defendants’ exclusive ticketing arrangements have allowed them to limit venues’

and artists’ options and impose supra-competitive fees on fans because there are no meaningful

alternatives. This lack of competitive pressure has also disincentivized Defendants from investing

in quality and innovation in ticketing. The result is a worse experience for fans than they would

have in a competitive marketplace. What fans pay at Ticketmaster-ticketed events therefore does

not simply represent the cost of providing ticketing services—it arises from Defendants’ unlawful

conduct in the live events industry in each Plaintiff State, harming not only the fans, but also the

artists and venues.

       147.     As a result of Defendants’ unlawful conduct, Plaintiff States and their residents and

general economies have suffered damages.




                                                  76
     Case 1:24-cv-03973-AS           Document 233-1        Filed 08/19/24      Page 85 of 217



       139.148.         Live Nation has used its unlawfully maintained power in promotions, large

amphitheaters, and ticketing to siphon an inflated portion of the money flows from the concert

ecosystems and impose additional costs through a web of overlapping agreements with other

industry participants. For example, Live Nation’s “take rate”—the sum of the various cuts of fees

and payments it takes through contracts across the concert industry—as the dominant intermediary

is higher than it would be in a marketplace without Live Nation’s anticompetitive scheme. Through

interconnected agreements associated with Live Nation’s various roles as ticketer, promoter, artist

manager, and venue owner, Live Nation has created a feedback loop that pushes ticketing and

ancillary fees higher while allowing Live Nation to be on all sides of numerous transactions and

thereby double-dip from the pockets of fans, artists, and venues.

        49.       Likewise, Live Nation’s role as gatekeeper for the venues it owns or controls,

 especially large amphitheaters, means that touring artists who intend to play several concerts in




                                                  77
     Case 1:24-cv-03973-AS           Document 233-1         Filed 08/19/24      Page 86 of 217



       140.149.         large amphitheaters are effectively forced to hire Live Nation, or face

reduced compensation and access to fans. Rival promoters are unable to promote artists at many in-

demand venues, hampering their ability to compete against Live Nation. And fans attending

concerts at Live Nation-controlled amphitheaters get access to fewer shows and see fewer artists

than they otherwise would because only Live Nation-promoted artists are allowed to perform there.

In many instances, these same fans also face higher prices for ticketing and ancillary services,

because Live Nation, acting as the primary ticketer, promoter, and venue owner, faces little

competition in each of these interconnected markets. On the other hand, fans who live near the few

remaining amphitheaters owned and booked by third parties may not have access to Live Nation’s

stable of artists, who are instead routed disproportionately through Live Nation’s venues.

       141.150.         Live Nation has created and now protects a system that inhibits artists, fans,

and venues from making choices that should exist in a free market, whether that is choosing a

concert promoter or a primary ticketer. And by locking venues into its business model, Live Nation

has also dampened competition that otherwise would push fees down for fans. As a result, market

forces that ordinarily would constrain the fees borne by fans are absent.

        50.       Each aspect of Live Nation’s scheme erects barriers for rivals and nascent threats

 to compete on the merits in the alleged markets with better, lower-priced, or different

services. This scheme also cements an industry structure that requires would-be competitors to

enter multiple markets simultaneously and at scale to compete effectively, further increasing

entry barriers. Without Live Nation’s exclusionary conduct, rivals and nascent threats could bring

more innovations to the marketplace, develop important scale to improve offerings, further

enhance their competitive reputation, increase investments, create disruptive business models, or




                                                  78
      Case 1:24-cv-03973-AS            Document 233-1        Filed 08/19/24     Page 87 of 217



       142.151.           expand. If those rivals and nascent threats were able to compete on a level

playing field, the entire ecosystem, including artists, venues, fans, and others, would realize the

many benefits of competition.

       143.152.         Based on Live Nation’s conduct, venues reasonably fear the disruption,

retaliation, and complications of partnering with anyone other than Live Nation lest they lose

access to culturally significant and lucrative concerts. That has predictably raised rivals’ costs. For

example, it has forced at least one ticketing rival to agree to venuesa venue’s “make good” or “lost

event guarantee” clauses in some of its ticketing contracts if those venues choose that rival and

Live Nation, as predicted, retaliates. These clauses obligate the rival ticketer to compensate its

venue customer if Live Nation diverts or pulls concerts in response to a venue choosing a rival

ticketer over Ticketmaster. In other words, Live Nation’s conduct not only constrains which

ticketer venues may choose, but also inhibits and raises costs for rival ticketers who try to compete

with Ticketmaster.

       144.153.         Competition on the merits would enable more innovation and better

products. For example, rivals might bring fan-focused innovations to the marketplace, such as a

more streamlined user interface and purchase flow, insightful presentation of ticket inventory,

enhanced buying options, or more flexible refund policies. Instead, those would-be rivals face

artificial barriers obstructing their ability to gain traction in the marketplace, which in turn dampens

incentives to innovate.

         51.      Live Nation’s conduct and power also lessens the competitive pressure to

 innovate to improve its own products, platforms, and services. Concerns about Ticketmaster’s

 ticketing technology are widespread and have made national news. Facing limited competitive

 pressure, Ticketmaster has lessno incentive to invest more into proactively improving its

 ticketing


                                                   79
     Case 1:24-cv-03973-AS           Document 233-1         Filed 08/19/24      Page 88 of 217



         145.154.       products.., but rather patches holes as problems surface and fans are harmed.

Live Nation instead uses the capital it might otherwise spend on technological improvements to

sweeten ticketing contracts for venues to keep them locked into long-term exclusive agreements

and out of the hands of rivals. During a series of meetings between Ticketmaster’s Chief Operating

Officer and other Ticketmaster employees, Ticketmaster staff acknowledged in 2021 that

Ticketmaster has “historically had [a] duct tape product strategy” and that its assets only “push

[the] ball sideways.” Rather than concluding that it needed to innovate different products to

accommodate its clients’ needs, Ticketmaster concluded that it could “‘over’ pay” venue clients “if

needed.”

   VI.      Continuing Violations

         155.   From at least four years prior to the filing of this Complaint and continuing to the

present day, Live Nation has unlawfully maintained its dominance in the primary ticketing industry

through a course of exclusionary conduct, causing fans continuing and accumulating harm.

         156.   From at least four years prior to the filing of this Complaint and continuing to the

present day, Live Nation has stifled fee competition and suppressed quality and innovation in the

primary ticketing services market by entering into long-term, exclusive contracts. Fans have

experienced and continue to experience the effects of this reduced competition when purchasing a

primary concert ticket to a show ticketed by Live Nation in a major concert venue.

         157.   From at least four years prior to the filing of this Complaint and continuing to the

present day, Live Nation has used its power in concert promotions to threaten, retaliate against, and

otherwise block venues from working with Ticketmaster rivals. Fans have experienced and

continue to experience the effects of this reduced competition when purchasing a primary concert

ticket to a show ticketed by Ticketmaster in a major concert venue.




                                                  80
      Case 1:24-cv-03973-AS           Document 233-1         Filed 08/19/24      Page 89 of 217



       158.    From at least four years prior to the filing of this Complaint and continuing to the

present day, fans throughout the United States have overpaid for primary concert tickets purchased

from Ticketmaster.

   VI.VII.     Relevant Markets and Monopoly Power

       146.159.         Courts define a relevant product and geographic market to help identify the

lines of commerce and areas of competition impacted by alleged anticompetitive conduct. There

can be multiple relevant markets covering the same or similar products and services, and markets

need not have precise metes and bounds. A relevant market also may include distinct groups or

clusters of customers or sellers, where those customers or sellers are identifiable and particularly

susceptible to anticompetitive conduct by a monopolist or others.

       147.160.         Additionally, there may exist within a relevant product market a nested sub-

market that itself constitutes a relevant antitrust market. Such a market may be defined based on

differences in products or services within the broader market or differences in the competitive

conditions faced by various customer groups within the broader market. Where such a submarket

exists, it may be helpful to also examine the effects of anticompetitive conduct within these

relevant markets, as the effects may be particularly acute or significant. Additionally, there may be

related markets adjacent to each other within an industry that offer distinct products and services,

potentially to distinct customers, where competitive dynamics within one market impact

competition within the other.

         52.      Live Nation has its tentacles in virtually every aspect of the live entertainment

 industry. As a result, Live Nation’s conduct has harmed artists, venues, and fans through the loss

 of competition in several relevant antitrust markets related to ticketing and promotions. Practical

 indicia in the industry, the structure of the industry and behavior of market participants, along




                                                   81
     Case 1:24-cv-03973-AS            Document 233-1           Filed 08/19/24   Page 90 of 217



       148.161.          with substantial evidence that includes ordinary course documents,

economic analysis, and other evidence support the relevant markets identified below:

       •   Primary Ticketing Services Markets – Primary ticketing providers offer a variety of

           services to two distinct sets of customers: major concert venues and fans. The particular

           products and services offered to and the competitive conditions faced by these two

           customer groups are distinct but related.

                  o First, with respect to venues, there is a relevant market for the provision of

                     primary ticketing services to major concert venues in the United States

                     (“primary ticketing services market”). This market includes within it a

              o      relevant submarket, which is in and of itself a relevant market, for the provision

                    of primary concert ticketing services to major concert venues in the United

                    States (“primary concert ticketing services market”).

              o Second, with respect to fans, there is a relevant market for primary concert

                    ticketing offerings to fans at major concert venues in the United States (“fan-

                    facing primary ticketing market”), and there is a relevant market that includes

                    both primary concert ticketing offerings and services that offer resale of concert

                    tickets (“fan-facing ticketing market”).

                   concert tickets (“fan-facing ticketing market”).
       •   Concert Promotions Services Markets – Concert promoters similarly offer a variety of

           services to two distinct sets of customers: major concert venues and artists. The

           particular products and services offered to and the competitive conditions faced by these

           two customer groups are distinct but related.




                                                  82
      Case 1:24-cv-03973-AS           Document 233-1         Filed 08/19/24      Page 91 of 217



               o First, with respect to venues, there is a relevant market for the provision of

                    concert booking and promotional services to major concert venues in the United

                    States (“venue booking and promotion services”).

               o Second, with respect to artists, there is a relevant market for the provision of

                    promotional services to artists performing in major concert venues in the United

                    States (“artists promotions market”).

       •   Artist Use of Large Amphitheaters – Owners, operators, and exclusive bookers of large

           amphitheaters offer artists use of large amphitheaters for their shows. The provision of

           the use of large amphitheaters and ancillary services to artists for large amphitheater

           tours is a relevant market (“use of amphitheaters market”).

       149.162.         Even where Live Nation’s anticompetitive conduct appears to affect a single

relevant market, its effects on fans, artists, venues, and others directly reverberate across the live

entertainment industry. Likewise, due to the anticompetitive scheme’s overall effect of maintaining

Live Nation’s market power and monopolies and the self-reinforcing aspects of Live Nation’s

flywheel, effects are felt across the ecosystem regardless of the market in which any particular

anticompetitive act has the most direct impact.

           A. Primary Ticketing Services Markets

       136.       Primary ticketing providers offer venues and fans a variety of related but distinct

services. Primary ticketing services allow a venue to sell, track, and distribute some or all of the

tickets for a show. From the fan perspective, primary ticketing services allow fans to purchase

tickets for a show when it first goes on sale to the public and provide a bundle of services that

handle payment processing and customer service. Often in today’s market, contracts between

primary ticketing services and venues dictate the terms and conditions on which primary




                                                  83
      Case 1:24-cv-03973-AS           Document 233-1         Filed 08/19/24      Page 92 of 217



       150.163.         ticketers are able to offer tickets to fans, directly impacting (and often

limiting) competition for these services from the fan perspective.

                    i. Primary Ticketing Services to Major Concert Venues

       151.164.        The provision of primary ticketing services to major concert venues is a

relevant product market. Primary ticketing services are sold to venues, the customers for these

services. Primary ticketers contract with venues to provide an array of services. This array of

services includes the initial (or primary) sale and distribution of tickets for events at the operative

venue, underlying technology, and various business support functions. Primary ticketers for major

concert venues require, among other things, sophisticated software capable of handling complex

ticketing arrangements and high-demand on-sales, back-office support functions, and consumer

data for marketing. In addition, primary ticketers for major concert venues that also host sporting

events often must provide support for distributing a team’s season tickets. The choice of primary

ticketer is a key decision for major concert venues because ticketing operations can materially

impact the fan experience at, and reputation of, the venue.

         53.      The venues most directly impacted by Live Nation’s scheme are major concert

 venues. These are venues big enough to host major concerts and able to provide a suitable

 environment and infrastructure for widely attended concerts, like large arenas and amphitheaters.

 As a result, major concert venues are popular locations for concerts and generate a substantial

 portion of their revenue from them. Because primary ticketers individually negotiate with venues

 over pricing and other terms, primary ticketers take into account venue size and how important

 concert ticketing is to a given venue when submitting a bid. Because major concert venues are

 particularly susceptible to the effects of Live Nation’s conduct, and can be targeted, they are

 appropriately considered together in evaluating that conduct. Internal documents indicate that




                                                  84
      Case 1:24-cv-03973-AS          Document 233-1         Filed 08/19/24      Page 93 of 217



       152.165.         Ticketmaster monitors different categories of venues to inform its business

decisions and individual negotiations, including size of venue and importance of concert revenues

to the venue.

       153.166.        The United States is a relevant geographic market for the provision of

primary ticketing services to major concert venues. Major concert venues in the United States

require providers of primary ticketing services capable of fulfilling contractual requirements within

the United States. Internal Ticketmaster documents support the United States as a relevant

geographic market. For example, Live Nation evaluates the business and competitive conditions in

segments within the United States separately from Canada.

       154.167.        There are no reasonable substitutes for primary ticketing services to major

concert venues, nor is arbitrage reasonably possible. Given the significant investment and

technology required to build and maintain a primary ticketing service, self-supply is a not a

reasonable substitute for most major concert venues. Additionally, secondary ticketing services are

not reasonable substitutes. First, the intended purpose of secondary ticketing services is different

than for primary ticketing services. Whereas primary ticketing services are meant to facilitate and

run ticket sales on a venue’s behalf, secondary ticketing services are meant to facilitate ticket

purchasers’ resale of their ticket(s). Second, ticketholders and fans—not venues—are ticketers’

typical customers on the secondary ticketing platform. Third, the platforms for primary and

secondary ticketing services are functionally very different. Internal Ticketmaster documents

recognize these kinds of differences by, for example, analyzing the performance and competitive

conditions of primary ticketing separately from secondary ticketing.

       155.168.        For these and other reasons, a monopolist in primary ticketing services to

major concert venues in the United States would be able to maintain prices above competitive

levels and/or maintain quality below the level that would prevail in a competitive market.


                                                  85
      Case 1:24-cv-03973-AS          Document 233-1        Filed 08/19/24      Page 94 of 217



       156.169.        Live Nation—through Ticketmaster—has a durable monopoly in primary

ticketing services for major concert venues in the United States. For example, in 2022,

Ticketmaster accounted for at least 70% of the total face value associated with all tickets sold at

large arenas and amphitheaters. NoAn internal Live Nation document indicates Ticketmaster is the

primary ticketer for about 80% of the U.S. arenas that host NBA or NHL teams; no other rival

ticketed more than 14%.

       157.170.        Live Nation’s monopoly power in primary ticketing for major concert venues

in the United States also is demonstrated by its ability to control prices and/or exclude competition.

For example, in the United States, where Ticketmaster has a higher market share relative to other

markets, Ticketmaster is able to charge higher prices and impose higher fees not tied to higher

costs. In addition, Live Nation has the ability to exclude competition. Some examples of its power

and scheme are described above, such as successfully threatening and retaliating against venues

that consider a rival primary ticketer and imposing various other restrictive contractual terms.

       158.171.        Live Nation’s primary ticketing services monopoly for major concert venues

in the United States is also protected by significant barriers to entry and expansion. Successfully

building primary ticketing capabilities requires substantial investment and access to scale. Live

Nation touts its enormous scale as an advantage. Live Nation’s scale and its flywheel exacerbate

the barriers to entry and expansion in primary ticketing. Live Nation uses its monopoly power in

concert promotions to foreclose competition in primary ticketing and erects additional barriers to

entry, which prevent ticketers who are not vertically integrated from competing on a level playing

field. Live Nation’s agreements and exclusionary conduct act as further barriers to entry because

they impede rivals’ ability and incentives to compete.




                                                 86
      Case 1:24-cv-03973-AS               Document 233-1            Filed 08/19/24         Page 95 of 217



          159.172.         Within this market exists a narrower relevant product market for the

provision of primary ticketing services for concerts and comedy events (“concerts”)1313 to major

concert venues. There are some unique attributes to providing primary ticketing services for

concerts to major concert venues such that there are no reasonable substitutes, nor is arbitrage

possible. For example, some primary ticketing features are particularly important for concerts,

including the ability to handle complex on-sale processes, surge traffic, and specific types of

marketing initiatives. In addition, financial arrangements contracting, and fees charged to fans for

primary ticketing services can differ for concerts as compared to other event types like sports. This

is due, at least in part, to how lucrative hosting concerts can be for major concert venues. Thus,

viable competitive alternatives for primary ticketing services for concerts at major concert venues

can be, and are, different than for other live events. Internal Live Nation documents analyze concert

ticketing separately from ticketing for other events and identify venues for which concert revenues

are particularly important.

          160.173.         Live Nation—through Ticketmaster—has a durable monopoly in primary

concert ticketing services for major concert venues in the United States. For example, Ticketmaster

accounts for at least 80% of the total face value associated with all concert tickets sold at major

concert venues.

           54.       For the same reasons as stated above, there are substantial barriers to entry and

 expansion within this narrower market. A monopolist in primary concert ticketing services at




      Live music concerts and comedy shows (as well as musical artists and comedians) have
     13

 competitive similarities in terms of tour planning, on sale events, and venue suitability. Ordinary course

     13
        Live music concerts and comedy shows (as well as musical artists and comedians) have competitive similarities
in terms of tour planning, on-sale events, and venue suitability. Ordinary course evidence suggests that concerts and
comedy events are assessed and treated similarly as a matter of industry practice.
                                                        87
    Case 1:24-cv-03973-AS            Document 233-1          Filed 08/19/24       Page 96 of 217



evidence suggests that concerts and comedy events are assessed and treated similarly as a matter of
industry practice.




                                                   88
      Case 1:24-cv-03973-AS          Document 233-1          Filed 08/19/24      Page 97 of 217



       161.174.         major concert venues in the United States would be able to maintain prices

above competitive levels and/or maintain quality below the level that would prevail in a

competitive market.

                   ii. Primary Concert Ticketing Offerings to Fans at Major Concert Venues
       162.175.        The provision of primary concert ticketing offerings to fans at major concert

venues is a relevant product market. Fans rely upon primary concert ticketing offerings to purchase

tickets to concerts. Primary ticketers typically provide an online interface to purchase tickets to a

concert during an initial on-sale and continue to offer tickets for sale until the show is sold out. In

addition to facilitating the purchase of tickets, primary concert ticketing offerings typically also

provide customer service to fans, employ mechanisms to detect and prevent fraudulent purchases,

store credit card information, keep track of fan purchases, and provide fans other related services.

Primary concert ticketing offerings to fans at major concert venues require, among other things,

sophisticated software capable of handling complex ticketing arrangements and high-demand on-

sales and databases. Currently in the United States, except in rare cases, only a single primary

ticketing service is offered to fans to purchase tickets to a given concert, and typically, only one

primary ticketing service is offered to fans to purchase tickets during all on-sales for a given venue.

       163.176.        Resale services offer a different service: the resale of previously purchased

tickets. Thus, in order for a ticket to be available for resale on a secondary ticketing marketplace,

the ticket must have already been purchased from a primary ticketing offering, with the purchaser

having already paid the fees associated with the primary ticketing offering. Accordingly, the fees

(and often ticket prices) associated with resale marketplaces are not closely related to the fees

associated with primary ticketing offerings, because primary ticketing fees are baked into the price

of tickets being resold on these marketplaces.




                                                  89
      Case 1:24-cv-03973-AS           Document 233-1         Filed 08/19/24       Page 98 of 217



       164.177.        Likewise, other means of obtaining tickets during an initial on-sale are

limited and not available to all fans. Ticketmaster makes available a limited number of tickets to

ticket brokers but charges fees for the initial transfer of tickets to these brokers before those tickets

can be resold to fans. Ticketmaster also allows for the limited ticket sales to artist fan clubs in some

circumstances, but such ticket sales are limited in number and not all fans are eligible to purchase

tickets through these channels. As a result, they do not represent reasonably close substitutes for

most fans today, although they could in the future but for Ticketmaster's anticompetitive conduct.

       165.178.        In addition, fans may not view primary and resale tickets as close substitutes

due to a perception that a primary ticket purchase is more “secure” or “guaranteed” as compared to

a resale purchase.

       166.179.        Internal documents indicate that Live Nation tracks its share of primary

concert ticketing separately from its share of resale ticketing and identifies a distinct set of

competitors in each segment. Live Nation also monitors its share of concert ticketing separate from

its share of ticketing for other types of shows.

       167.180.        The United States is a relevant geographic market for primary concert

ticketing offerings for fans. Fans seeking to attend shows in the United States must use primary

concert ticketing services that offer tickets for those shows. Internal Live Nation documents support

the United States as a relevant geographic market. For example, Live Nation evaluates the business

and competitive conditions in segments within the United States separately from Canada.

       168.181.        For these and other reasons, and consistent with industry information, a

monopolist in primary concert ticketing offerings to fans at major concert venues in the United

States would be able to maintain prices above competitive levels and/or maintain quality below the

level that would prevail in a competitive market.




                                                   90
      Case 1:24-cv-03973-AS          Document 233-1         Filed 08/19/24      Page 99 of 217



States would be able to maintain prices above competitive levels and/or maintain quality below

the level that would prevail in a competitive market.

       169.182.        Live Nation—through Ticketmaster—has a durable monopoly in primary

concert ticketing offerings to fans at major concert venues in the United States. For example, in

2022 Ticketmaster accounted for at least 80% of the total face value associated with all concert

tickets sold at major concert venues.

       170.183.        Ticketmaster’s monopoly power in primary concert ticketing offerings to

fans at major concert venues in the United States is further demonstrated by its ability to control

prices and/or exclude competition. In the United States, where Live Nation maintains a high market

share in arenas and amphitheaters through its exclusive contracts and owned and operated venues,

Ticketmaster has much higher fees relative to other countries notwithstanding comparable costs. In

addition, Live Nation has the ability to exclude competition by insisting that venues utilize only

Ticketmaster for all shows and for all tickets sold for a given show.

       171.184.        Live Nation’s monopoly in primary concert ticketing offering to fans is also

protected by significant barriers to entry and expansion. To successfully build primary concert

ticketing capabilities requires substantial investment and access to scale. Live Nation touts its

enormous scale as an advantage. Live Nation’s scale and its flywheel exacerbate the barriers to

entry and expansion in primary ticketing. Live Nation uses its market power in concert promotions

to foreclose competition for primary ticketing service for fans, while also erecting additional

barriers to entry that prevent, by preventing ticketers who are not vertically integrated from

competing on a level playing field. Live Nation’s agreements and exclusionary conduct act as

further barriers to entry because they impede rivals’ ability and incentives to compete.




                                                 91
        Case 1:24-cv-03973-AS        Document 233-1         Filed 08/19/24      Page 100 of 217



         172.185.        Although the provision of primary concert ticketing services to fans is a

relevant product market, in the alternative, there is also a broader relevant product market that

includes both primary concert ticketing offerings and services that provide resale for concert tickets

to fans at major concert venues. For the reasons above, primary concert ticketing offerings to fans

offer distinct services from resale service providers, and resale marketplaces necessarily rely upon

an initial sale of a ticket via a primary concert ticketing service (inclusive of the primary ticketing

fees) in order for the resale marketplace to exist. Nonetheless, a fan looking to purchase a concert

ticket may be able to purchase such a ticket from a primary ticketing offering or resale service

provider. To the extent the two markets are combined into a larger market, internal documents

show that Live Nation has substantial market power or monopoly power in this broader market as

well.

         173.186.        The United States is a relevant geographic market for concert ticketing

offerings and resale services for fans. Fans seeking to attend concerts in the United States must use

ticketing services that offer tickets for those shows. Internal Live Nation documents support the

United States as a relevant geographic market. For example, Live Nation evaluates the business and

competitive conditions in segments within the United States separately from Canada.

         174.187.        For these and other reasons, and consistent with industry information, a

monopolist in a combined market of primary concert ticketing offerings and services that provide

resale of concert tickets to fans for shows in the United States would be able to maintain prices

above competitive levels and/or maintain quality below the level that would prevail in a

competitive market.

          55.       Live Nation—through Ticketmaster—has a monopoly in this market. For

 example, in 2022, Ticketmaster accounted for more than 70% of the total transactions associated




                                                   92
     Case 1:24-cv-03973-AS           Document 233-1         Filed 08/19/24       Page 101 of 217



       175.188.         with all tickets sold or resold for concerts at major concert venues in the

United States. Transaction volume is an economically relevant measure of power in this market.

Importantly, these numbers capture only transactions handled principally by Ticketmaster. But, as

discussed above, because of Ticketmaster’s use of technology like SafeTix, Ticketmaster

necessitates its involvement in the resale of tickets that take place entirely on rivals’ secondary

ticketing platforms. In doing so, Ticketmaster is able to exert some degree of control over these

transactions as well as obtain valuable fan data related to ticket transfers. As a result,

Ticketmaster’s share understates its competitive significance in this market.

       176.189.         Ticketmaster’s monopoly power in this market also is demonstrated by its

ability to control prices and/or exclude competition. For example, Ticketmaster is able to charge

higher prices in areas where its power is greatest (notwithstanding comparable costs), as evidenced

by the much higher fees charged in the United States, where Ticketmaster has a high market share,

relative to elsewhere where its shares are much lower. In addition, Live Nation has the ability to

exclude competition. Some examples of its power and scheme are described above, such as

successfully threatening and retaliating against venues that consider a rival primary ticketers and

imposing various other restrictive contractual terms.

         56.      Live Nation’s monopoly over primary concert ticketing offerings and services that

 provide resale of concert tickets is also protected by significant barriers to entry and expansion.

 To successfully build primary ticketing capabilities requires substantial investment and access to

 scale. Live Nation touts its enormous scale as an advantage. Live Nation’s scale and its flywheel

 exacerbate the barriers to entry and expansion in primary ticketing. Live Nation uses its market

 power in concert promotions to foreclose competition to become a primary ticketing offering for

 fans and erects additional barriers to entry, by preventing ticketers who are not vertically




                                                   93
     Case 1:24-cv-03973-AS           Document 233-1        Filed 08/19/24      Page 102 of 217



       177.190.         integrated from competing on a level playing field. Additionally, Live

Nation has taken steps to impede resale providers from efficiently facilitating the resale of tickets,

including by hindering the transfer of tickets originally sold by Ticketmaster. Live Nation’s

agreements and exclusionary conduct act as a further barrier to entry because they impede rivals’

ability and incentives to compete.

           B. Concert Promotions Services Markets

       178.191.        Concert promoters offer a variety of related products and services to two

distinct sets of customers: major concert venues and artists. For major concert venues, promoters

arrange for, book, and market shows with artists to fill available dates at the venues. These services

can take the form of booking one-off performances of an artist or long-term booking agreements

where the promoter promises to bring multiple artists to a venue over a period of time. For artists,

concert promoters work to plan, finance, and market an artist’s show or—as is more often the

case—a tour of multiple shows. In this way, although concert promoters are responsible for

bringing together an artist and venue to perform a show, the particular form and nature of services

they offer venues and artists differ considerably.

                    i. Concert Booking and Promotion Services to Major Concert Venues

       179.192.        The provision of concert booking and promotion services to major concert

venues is a relevant antitrust product market. In general, promoters arrange and coordinate artist

performances at venues and help to promote those shows to the public once they are booked.

Promoters have significant influence over which venues an artist chooses to play. Typically, venues

enter into individualized agreements with promoters (either on a show-by-show or long- term

basis), which dictate the payments between venues and promoters in exchange for the

performance(s). Concert booking and promotion services are essential to major concert venues

because they help ensure the venues receive a steady stream of concert content.


                                                  94
     Case 1:24-cv-03973-AS          Document 233-1        Filed 08/19/24      Page 103 of 217



       180.193.         The venues most directly impacted by Live Nation’s scheme are major

concert venues. As discussed above, major concert venues have unique characteristics that make it

appropriate to include them in this product market. In particular, major concert venues rely on live

entertainment for a significant portion of their revenues and thus are unlikely to forego promotion

services. Revenue from live entertainment is important to offset substantial fixed costs at these

venues, and more events allow venues to allocate those costs across a greater number of shows.

       181.194.         There are no reasonable substitutes for the purchase of concert booking and

promotion services for major concert venues. Booking and promotional services for non-concert

events at major concert venues are not adequate substitutes because the venues’ average revenue

per show from concerts is often higher than from non-concert events. Neither self-promotion nor

self-supply is a significant constraint because most venues will be unable to incentivize a sufficient

number of artists to choose to perform at their venue without the support of a promoter. Most

venues cannot successfully promote concerts at scale because they lack the necessary expertise and

relationships and are unwilling to assume the financial risk of a show selling poorly. Industry

participants, including Live Nation and venues, recognize that providing concert promotions is a

unique business and separately analyze the business and competitive conditions.

         57.      The relevant geographic market for the provision of concert booking and

 promotion services to major concert venues is no broader than the United States, and there may

 also be smaller, regional relevant geographic markets. When procuring booking and promotion

 services, major concert venues in the United States require providers that can service their

 requirements in the United States. Further, many artists who perform at major concert venues do




                                                 95
     Case 1:24-cv-03973-AS          Document 233-1         Filed 08/19/24      Page 104 of 217



       182.195.         so as a part of regional or national tours that include venues across the

United States. Internal Live Nation documents also support the United States as a relevant

geographic market. For example, Live Nation considers the United States to be a distinct reporting

segment and separately evaluates the business and competitive conditions in the United States.

       183.196.        For these and other reasons, a monopolist in the provision of concert booking

and promotion services to major concert venues in the United States would be able to maintain

prices above competitive levels and/or maintain quality below the level that would prevail in a

competitive market.

       184.197.        Live Nation has monopoly power in the provision of concert booking and

promotion services to major concert venues in the United States. For example, Live Nation as a

promoter accounts for around 60% of the total face value associated with all primary tickets sold at

major concert venues and more than 70% of the total face value associated with large amphitheater

shows in the United States. Total face value is an economically relevant measure of power in this

market. As another point of reference, Live Nation is reported to have promoted 22 of the top 30

Billboard “boxscores” in 2023. Internal Live Nation documents indicate that Live Nation-promoted

events accounted for approximately      % of gross revenues for arenas in the United States in 2019,

and 70% of all amphitheater shows in the United States, as of 2022.

        58.       Live Nation’s monopoly power in concert booking and promotion services for

 major concert venues in the United States is also demonstrated by its ability to control prices and

 exclude competition. For example, as described above, Live Nation extracts supracompetitive

 payments from venues, including large promoter rebates, and otherwise imposes onerous,

 restrictive contractual terms on venues in exchange for supplying them with content. In addition,

 Live Nation has the ability to exclude competition in concert promotions through, for example,

 exclusivity agreements with venues. Some examples of its power and scheme are described


                                                  96
     Case 1:24-cv-03973-AS           Document 233-1         Filed 08/19/24      Page 105 of 217



       185.198.          above, including using its power to stop rivals or nascent threats from

competition in concert promotions.

       186.199.         Live Nation’s power over concert booking and promotion services is

protected by barriers to entry and expansion. Promotion contracts with artists, the key input in this

market, requires capital, expertise, connections, data, and a demonstrated level of success in the

industry. There are also indirect network effects that sustain high barriers to entry in concert

promotions. Venues naturally prefer to work with a promoter who is successful in promoting many

popular artists, and artists naturally prefer to work with a promoter who is successful in promoting

many high-demand shows at popular venues. As described above, in addition to Live Nation’s

scheme, Live Nation’s self-described flywheel and scale-related factors enhance substantial barriers

for entry and expansion in this market as well.

                    ii. Promotion Services to Artists

       187.200.         The provision of promotion services to artists performing in major concert

venues is also a relevant product market. Artists seek to contract with promoters for their help in

arranging individual concerts and tours. Typically, artists enter into contracts with a promoter for a

single show, multiple shows, including a tour. Promoters work with artists, and their managers

and/or agents, to help the artist choose the venue(s) where they will play, work with venues on

behalf of the artist to arrange aspects of the show(s), and then ultimately promote each show in

local areas where the artist will perform. Promoters take on the financial risk associated with a

show or tour, and in exchange they are compensated with a portion of the revenue generated by

successful shows. For artists seeking to perform in major concert venues, promoters are an essential

component to ensuring the show or tour is successful.

         59.      Artists who seek to perform all or parts of their tour in large amphitheaters are

 uniquely impacted by Live Nation’s anticompetitive conduct. Because of Live Nation’s control


                                                  97
     Case 1:24-cv-03973-AS           Document 233-1         Filed 08/19/24      Page 106 of 217



       188.201.         over a vast network of large amphitheaters and its policy to only work with

artists that it promotes, artists seeking to perform a tour in large amphitheaters are denied the ability

to work with the promoter of their choice if they want to play a Live Nation-owned or controlled

venue. These artists are forced either to work with Live Nation or forgo an amphitheater tour

altogether.

       189.202.         There are no reasonable substitutes for promotion services for artists seeking

to perform in major concert venues. Artist performances in major concert venues are complicated

events whose success requires significant industry experience and relationships with different

vendors. Self-promotion is not a reasonable substitute for artists because they generally lack the

expertise, relationships, and financial resources to promote a show or tour on their own at major

concert venues.

       190.203.         The relevant geographic market for the artist promotions market is no

broader than the United States, and there may also be smaller, regional relevant geographic markets

as well. When procuring promotion services for performances in major concert venues in the

United States, artists require promoters who can service their requirements in the United States.

Internal Live Nation documents also support the United States as a relevant geographic market. For

example, Live Nation considers the United States to be a distinct reporting segment and evaluates

the business and competitive conditions in the United States separately.

       191.204.         For these and other reasons, and consistent with industry information, a

monopolist in the artist promotions market in the United States would be able to maintain prices

above competitive levels and/or maintain quality below the level that would prevail in a

competitive market.

         60.      Live Nation currently has monopoly power in the market for the provision of

 promotion services to artists performing in major concert venues in the United States. Live


                                                  98
     Case 1:24-cv-03973-AS            Document 233-1       Filed 08/19/24      Page 107 of 217



       192.205.         Nation’s policy of blocking third-party promoted artists from using its

amphitheaters has enabled the company to grow its share in the artists promotions market, above

and beyond what it would have been able to achieve through fair competition. Industry participants,

including venue owners, recognize Live Nation’s dominance in this market. As one prior venue

manager explained, “If you don’t do a deal with these guys, you’re going to lose shows.” Live

Nation as a promoter accounts for around 60% of the total face value associated with all primary

tickets sold at major concert venues and more than 70% of the total face value associated with large

amphitheater shows in the United States.

       193.206.         Live Nation’s power over the artist promotion services market is protected

by barriers to entry and expansion.

           C. Artist Use of Large Amphitheaters

        61.       The provision of the use of large amphitheaters and ancillary services to

 musicians and comedians (“artists”) for large amphitheater tours is also a relevant product

 market. “Large” amphitheaters (also known as “non-boutique amphitheaters”) are recognized as

 a distinct type of venue in Live Nation’s ordinary course documents and regular reporting and by

 industry participants. Large amphitheaters have unique characteristics—including capacity, sight

 lines, acoustics, seating, and staging—that differentiate them both from smaller amphitheaters

 and other venues. These unique characteristics make large amphitheaters attractive to both artists

 and fans in the summer months when most touring takes place, and as a result, there are artists

 who seek to perform several shows or even entire tours at large amphitheaters in given year.

 They also are attractive to artists who are not yet able to—or no longer able to—fill a larger

 venue, like an arena, but have outgrown smaller clubs and theaters. In a similar vein, industry

 participants, including Live Nation and venues, recognize that large amphitheater concerts

 constitute a unique business and separately analyze the business and competitive conditions.


                                                  99
     Case 1:24-cv-03973-AS            Document 233-1          Filed 08/19/24      Page 108 of 217



        207.     Large amphitheaters provide artists the use of their venue plus related services, such

as staging and lighting, and in exchange, the artist pays rent and performs a show that enables the

venue to collect additional revenue from fans, including from food, beverage and parking.

        194.208.        Artists either work directly with their agent, or through their chosen

promoter, to communicate with venues about availability and ultimately choose the amphitheaters

where they will perform. When promoters reach out to venues to inquire about availability and

pricing, they do so on behalf of a particular artist. Similarly, when promoters contract with

amphitheaters owned and/or operated by a third party, they typically do so for a specific artist on a

particular day. Put another way, when promoters communicate and contract directly with venues,

they are acting on behalf of their artist clients. Those artists are the customers for the provision of

use of large amphitheaters who ultimately decide where, when, and under what terms they will

perform. The fact that promoters enter into contracts for access to amphitheaters on behalf of

specific artist clients does not change the reality that it is ultimately artists who utilize the

amphitheaters.

        195.209.        The artists most impacted by Live Nation’s anticompetitive conduct are

those interested in performing a tour of large amphitheaters in a particular year. This includes

artists seeking to perform exclusively at large amphitheaters as well as artists seeking to construct a

tour that includes both a significant number of shows at large amphitheaters as well as shows at

other venues. As a practical matter, artists seeking to perform a tour of large amphitheaters

typically do not contract directly with individual venues, as artists work with promoters who take

on the financial risk of shows or entire tours, arrange shows on their behalf, and promote their

shows to their fans.

        196.210.        Artists seeking to perform a tour of large amphitheaters will not view a tour

that excludes large amphitheaters as a reasonable substitute. As described above, large


                                                    100
     Case 1:24-cv-03973-AS           Document 233-1         Filed 08/19/24        Page 109 of 217



amphitheaters have unique characteristics that distinguish them from other venues, and artists

seeking a tour of large amphitheaters will generally not consider a tour wholly excluding large

amphitheaters as a reasonable alternative. Industry participants, including Live Nation, recognize

that there are artists with a specific interest in touring large amphitheaters.

       197.211.        The relevant geographic market for the use of large amphitheaters market is

no broader than the United States, and there may also be smaller, regional relevant geographic

markets. Artists seeking to do a large amphitheater tour often do so as part of regional or national

tours across the United States. Internal Live Nation documents also support the United States as a

relevant geographic market. For example, Live Nation considers the United States to be a distinct

reporting segment and evaluates the business and competitive conditions in the United States

separately.




                                                   101
       Case 1:24-cv-03973-AS           Document 233-1         Filed 08/19/24      Page 110 of 217



        198.212.         For these and other reasons, a monopolist who controls the use of large

amphitheaters in the United States would be able to maintain prices above competitive levels and/or

maintain quality below the level that would prevail in a competitive market.

        199.213.         Live Nation has monopoly power in the use of large amphitheaters market.

Live Nation owns, operates, or exclusively books concerts in more than 55 large amphitheaters in

the United States. Live Nation’s controlled venues account for at least 65% of the total number of

primary tickets and face value associated with all concert tickets sold at large amphitheaters. These

measures are economically relevant measures of power in this market. Internal documents from

2022 indicate that Live Nation promoted events account for approximately 70% of all amphitheater

shows in the United States.

        200.214.         Live Nation’s monopoly power in the use of large amphitheaters market is

protected by barriers to entry and expansion. Entering this market requires significant time, capital

and expertise to either build a new amphitheater or sign a contract with an existing amphitheater to

operate it. Building a new large amphitheater is particularly burdensome and uncertain, as it

requires a potential new entrant to identify a specific location for the facility, acquire the land,

secure the necessary permitting, and contract with the many vendors necessary to put on successful

shows. Large amphitheaters also require access to artists to ensure financial viability. Because Live

Nation routes the artists it promotes to its own existing network of amphitheaters, that makes it

more difficult for a new amphitheater to attract the talent necessary to be financially viable.

VII.    Jurisdiction, Venue, and Commerce

        201.215.         The United States brings this action against Live Nation and Ticketmaster

pursuant to Section 4 of the Sherman Act, 15 U.S.C. § 4, to prevent and restrain Defendants’

violations of Section 1 and Section 2 of the Sherman Act, 15 U.S.C. §§ 1-2.

         62.       The Attorneys General of the Plaintiff States, as the chief legal officers of their


                                                    102
   Case 1:24-cv-03973-AS          Document 233-1        Filed 08/19/24     Page 111 of 217



respective states, bring this action under their respective and independent statutory, common law,




                                               103
     Case 1:24-cv-03973-AS             Document 233-1       Filed 08/19/24      Page 112 of 217



        202.216.          and equitable powers, and in their quasi-sovereign capacities, to prevent

anticompetitive conduct that harms competition and the economies of the Plaintiff States and the

economic welfare of consumers in and from the Plaintiff States. Plaintiff States have quasi-

sovereign interests in protecting consumers—from economic harm resulting from illegal

anticompetitive conduct and in ensuring their economies are not suppressed by unjustified restraints

of trade.

        203.217.         The Attorneys General assert these claims based on their independent

authority to bring this action pursuant to SectionSections 4c and 16 of the Clayton Act, 15 U.S.C.

§§§ 15c and 26, and common law, to prevent and restrain Live Nation’s violations of Section 1 and

Section 2 of the Sherman Act, 15 U.S.C. §§ 1-2. State attorneys general are specifically authorized

to bring suits to obtain treble damages on behalf of natural persons pursuant to 15 U.S.C. § 15c and

to secure injunctive relief pursuant to 15 U.S.C. § 26, for violations of the Sherman Act.

 U.S.C. §§ 1 2. State attorneys general are specifically authorized to bring suits to secure

 injunctive relief for violations of the Sherman Act. 15 U.S.C. §26.

            63.    This Court has subject matter jurisdiction over this action under Section 4 of the

 Sherman Act, 15 U.S.C. § 4, Sections 4c and 16 of the Clayton Act, 15 U.S.C. §§ 15c and 26,

 and 28 U.S.C. §§ 1331, 1337(a), and 1345(d), and has supplemental jurisdiction under 28 U.S.C.

        204.218.          § 1367(a).

        205.219.         The Court has personal jurisdiction over the Defendants, and venue is proper

in this District under Section 12 of the Clayton Act, 15 U.S.C. § 22, and under 28 U.S.C. § 1391,

because all Defendants transact business and are found within this District.

        206.220.         Defendant Live Nation is a Delaware corporation with its principal place of

business at 9348 Civic Center Drive, Beverly Hills, CA 90210, and an office at 430 W. 15th Street,

New York, NY 10011. Defendant Ticketmaster is a Virginia limited liability company with its


                                                   104
     Case 1:24-cv-03973-AS        Document 233-1        Filed 08/19/24     Page 113 of 217



principal place of business at 9348 Civic Center Drive, Beverly Hills, CA 90210. Ticketmaster

operates from offices in various locations, including at 430 W. 15th Street, New York, NY 10011.




                                               105
     Case 1:24-cv-03973-AS           Document 233-1         Filed 08/19/24      Page 114 of 217



       207.221.        Each Defendant engages in, and its activities substantially affect, interstate

trade and commerce. Each Defendant provides a range of products and services that are marketed,

distributed, and offered to consumers throughout the United States, in the plaintiffPlaintiff States,

across state lines, and internationally. Defendants’ actions and course of conduct are ongoing and

are likely to continue or recur, including through other practices with the same purpose or effect.

       222.    Defendants’ conduct had and continues to have substantial interstate and intrastate

effects because major concert venues and artists within each Plaintiff State have been coerced by

Live Nation’s long-term, exclusive contracts and monopoly power. As a result, fans residing in

each Plaintiff State have been forced to continue paying supracompetitive fees for concert tickets,

which, in the absence of Live Nation’s anticompetitive scheme, would have been reduced as a

result of competition from other primary ticketing providers and promoters.

VIII. Antitrust Injury

       223.    As a direct and proximate result of the unlawful conduct alleged above, consumers

in the Plaintiff States were not and are not able to purchase tickets to live events at prices

determined by free and open competition, and consequently have been injured in their property in

that, inter alia, they have paid more and continue to pay more for fees relating to tickets to live

events than they would have paid in a free and open competitive market. The Plaintiff States cannot

quantify at this time the precise amount of monetary harm which their consumers have sustained,

but allege that such harm is substantial. A precise determination of this amount will require

discovery from the books and records of the Defendants and third parties. As a direct and

proximate result of the unlawful conduct alleged above, the general economies of the Plaintiff

States have sustained injury, and are threatened with further injury to their property unless the

Defendants are enjoined from their unlawful conduct.




                                                  106
     Case 1:24-cv-03973-AS          Document 233-1         Filed 08/19/24     Page 115 of 217



VIII.IX.       Violations Alleged


   i. First Claim for Relief: Monopolization of Primary Ticketing Services Markets

                                                   First
                                        in Violation of Sherman Act § 2

       208.224.         Plaintiffs incorporate the allegations of Paragraphs 1 through 206223 above.


       209.225.         Live Nation has monopolized several relevant markets related to primary

ticketing services in the United States. These include the provision of primary ticketing services to

major concert venues, the provision of primary concert ticketing services to major concert venues,

and the provision of primary concert ticketing offerings to fans at major concert venues (even if

combined with services that offer resale of concert tickets).

       210.226.         Each constitutes a relevant antitrust market, and Live Nation has monopoly

power in each market.

       211.227.         Live Nation has unlawfully maintained its monopoly in each market through

a course of exclusionary conduct, including:

       •   Directly threatening venues that Live Nation will divert live music shows to other

           venues if they do not sign with Ticketmaster;

       •   Indirectly threatening venues that Live Nation will divert live music shows to other

           venues if they do not sign with Ticketmaster by, for example, co-opting business partner

           Oak View Group into warning venues that they will lose Live Nation content if they

           contract with a ticketer other than Ticketmaster;




                                                 107
     Case 1:24-cv-03973-AS          Document 233-1        Filed 08/19/24       Page 116 of 217



       •   Retaliating against venues that contract with rival ticketers by:

           o Diverting concerts on Live Nation-promoted tours to other venues;

           o Disabling or delaying the sale of secondary tickets through the rival ticketer’s

               platform;

           o Refusing to publicize shows hosted by a venue that uses a competing ticketer;

           o Diverting content away from venues ticketed by companies other than Ticketmaster,

               making it risky for any venue to contract with a rival ticketer; and

           o Lodging complaints against rival ticketers when Live Nation promotes a show at a

               venue where Ticketmaster is not the primary ticketer;

       •   Foreclosing rival ticketing companies from the market by:

           o Imposing long-term exclusive contracts covering a significant proportion of tickets

               sold;

           o Engaging in strategic purchases of rival promoters and venues to enhance its market

               power in content and to convert ticketing to Ticketmaster, further foreclosing the

               primary ticketing market; and

           o Deterring entry and expansion by rivals into primary ticketing by using its monopoly

               to expand its control over secondary ticketing, which previously had been an entry

               point for primary ticketing.

       212.228.        Although each of these acts is anticompetitive when considered alongside

Live Nation’s associated conduct, each act occurs in concert with and against the backdrop of

allegations and facts outlined throughout this Complaint. These acts have synergistic

anticompetitive effects that have harmed competition and the competitive process.




                                                 108
     Case 1:24-cv-03973-AS           Document 233-1         Filed 08/19/24     Page 117 of 217



       213.229.          Live Nation’s exclusionary conduct has foreclosed a substantial share of

each of these markets.

       214.230.          Live Nation’s anticompetitive acts have had harmful effects on competition

and consumers.

       215.231.          Live Nation’s exclusionary conduct lacks a non-pretextual procompetitive

justification that offsets the harm caused by Live Nation’s anticompetitive and unlawful conduct.

       216.232.          Live Nation’s anticompetitive and exclusionary practices violate Section 2 of

the Sherman Act, 15 U.S.C. § 2.

                    Second Second Claim for Relief: Unlawful Exclusive Dealing
                                    in Violation of Sherman Act § 1

       217.233.          Plaintiffs incorporate the allegations of Paragraphs 1 through 206223 above.


       218.234.          The provision of primary ticketing services to major concert venues in the

United States is a relevant antitrust market, and the provision of primary concert ticketing services

to major concert venues in the United States is a relevant antitrust market.

       219.235.          Ticketmaster’s long-term exclusive agreements to provide primary ticketing

services to major concert venues in the United States unreasonably restrain competition, in

violation of Section 1 of the Sherman Act, 15 U.S.C. § 1.

       220.236.          These contracts exclude all competitors, are terminable only for cause, and

have terms ranging from three to 14 years.

       221.237.          Ticketmaster’s long-term exclusive primary ticketing contracts restrict the

access of Ticketmaster’s competitors to the only significant channel of distribution for primary

ticketing services to major concert venues.




                                                  109
     Case 1:24-cv-03973-AS           Document 233-1        Filed 08/19/24      Page 118 of 217



       222.238.         Through its long-term exclusive primary ticketing contracts, Ticketmaster

has foreclosed a substantial share of the market for the provision of primary ticketing services to

major concert venues in the United States.

       223.239.         Live Nation’s anticompetitive acts have had harmful effects on fans of major

concerts, the venues that host them, and competition for primary ticketing.

       224.240.         Live Nation’s exclusionary conduct lacks a non-pretextual procompetitive

justification that offsets the harm caused by Live Nation’s anticompetitive and unlawful conduct.

      Third Third Claim for Relief: Unlawful Tying Arrangement Concerning the Use of Large
              Amphitheaters and Artist Promotions Markets in Violation of Sherman Act § 1

       225.241.         Plaintiffs incorporate the allegations of Paragraphs 1 through 206223 above.


       226.242.         The provision of the use of large amphitheaters and ancillary services to

artists for large amphitheater tours in the United States is a relevant antitrust market, and Live

Nation has monopoly power in that market.

       227.243.         The provision of promotion services to artists performing in major concert

venues in the United States is a relevant market, and Live Nation has market power in that market.

         64.      The provision of the use of large amphitheaters to artists and the provision of

 promotion services to artists are separate services sold to artists. The services are provided in

 different markets, with distinct demand for each, and they are treated by industry participants as

 separate products. There are some industry participants, such as third-party operated

 amphitheaters, that only offer access to amphitheaters, and there are promoters who only offer

 artists promotion services.

       228.244.          Live Nation has unlawfully required artists seeking to use its large

amphitheaters for shows as part of a tour to also purchase promotion services from Live Nation.




                                                  110
     Case 1:24-cv-03973-AS           Document 233-1         Filed 08/19/24      Page 119 of 217



         229.245.       The purpose and effect of this tying policy is to prevent artists from choosing

a promoter on the merits and instead force artists who wish to play in Live Nation amphitheaters to

contract with the company for promotions services.

         230.246.       This anticompetitive conduct has significantly foreclosed competition in

promotion services to artists. Artists who would otherwise choose rival promoters on the merits of

those promoters must refrain from doing so to maintain use of Live Nation’s amphitheaters on their

tours.

         231.247.       This conduct lacks a non-pretextual procompetitive justification that offsets

the harm caused by Live Nation’s anticompetitive and unlawful conduct.

         232.248.       Live Nation’s anticompetitive and exclusionary practices violate Section 1 of

the Sherman Act, 15 U.S.C. § 1.

             Fourth Fourth Claim for Relief: Monopolization of the Market for the Use of
                           Large Amphitheaters in Violation of Sherman Act § 2

         233.249.       Plaintiffs incorporate the allegations of Paragraphs 1 through 206223 above.

         234.250.       The provision of the use of large amphitheaters and ancillary services to

artists for large amphitheater tours in the United States is a relevant antitrust market, and Live

Nation has monopoly power in that market.

         235.251.       Live Nation has unlawfully maintained its monopoly in this market through a

course of anticompetitive exclusionary conduct, including:

         •   Entering into exclusive booking arrangements with venues, enabling Live Nation to

             extend its control of this market beyond the significant share it controls through its

             owned, operated, and leased amphitheaters;

         •   Acquiring control over several amphitheaters, enabling Live Nation to extend its control

             of this market through its portfolio of owned and operated amphitheaters;



                                                   111
     Case 1:24-cv-03973-AS           Document 233-1        Filed 08/19/24      Page 120 of 217



       •     Acquiring several competing promotion companies that either owned amphitheaters or

             had exclusive booking contracts with amphitheaters; and

       •         Acquiring numerous large festivals, further reducing the ability of artists on large

             amphitheater tours to seek alternatives to Live Nation. These exclusionary acts have

             harmed artists, rival promoters, and fans.

       236.252.         Although each of these acts is anticompetitive when considered alongside

Live Nation’s associated conduct, each act occurs in concert with and against the backdrop of

allegations and facts outlined throughout this Complaint. These acts have synergistic

anticompetitive effects that have harmed competition and the competitive process.

       237.253.         Live Nation’s exclusionary conduct has foreclosed a substantial share of the

market.

       238.254.         Live Nation’s anticompetitive acts have had harmful effects on competition

and consumers.

       239.255.         Live Nation’s conduct lacks any procompetitive benefits or justification that

offsets the significant anticompetitive harm that flows from the exclusionary conduct.

           65.    Live Nation’s anticompetitive and exclusionary practices violate Section 2 of the

 Sherman Act, 15 U.S.C. § 2.

       256.      Fifth Live Nation’s anticompetitive and exclusionary practices violate Section 2 of

the Sherman Act, 15 U.S.C. § 2.

ii. Claim for Relief: Monopolization of the Markets for Concert Promotion Services

                                                   Fifth
                                         in Violation of Sherman Act § 2

       240.257.         Plaintiffs incorporate the allegations of Paragraphs 1 through 206223 above.




                                                  112
     Case 1:24-cv-03973-AS         Document 233-1        Filed 08/19/24     Page 121 of 217



       241.258.       The provision of concert booking and promotion services to major concert

venues and the provision of promotion services to artists performing in major concert venues in the

United States are related, relevant antitrust markets, and Live Nation has monopoly power in each

market.




                                                113
     Case 1:24-cv-03973-AS          Document 233-1        Filed 08/19/24       Page 122 of 217



       242.259.        Live Nation has unlawfully maintained its monopoly in each market through

a course of exclusionary conduct described herein, including:

       •    Engaging in strategic purchases of rival promoters (actual or potential) and venues to

            enhance and entrench its monopoly power;

       •    Tying artists’ use of Live Nation owned, controlled and exclusively-booked large

            amphitheaters to their purchase of promotional services from Live Nation;

       •    Deterring entry and expansion by rivals by threatening potential rivals and their

            investors; and

       •    Imposing restrictive terms in contracts with major concert venues that undermine and

            foreclose competition from actual and potential rival promoters.

       243.260.        Although each of these acts is anticompetitive when considered alongside

Live Nation’s associated conduct, each act occurs in concert with and against the backdrop of

allegations and facts outlined throughout this Complaint. These acts have synergistic

anticompetitive effects that have harmed competition and the competitive process.

       244.261.        Live Nation’s exclusionary conduct has foreclosed a substantial share of

each market.

       245.262.        Live Nation’s anticompetitive acts have had harmful effects on competition

and consumers.

       246.263.        Live Nation’s exclusionary conduct lacks a non-pretextual procompetitive

justification that offsets the harm caused by Live Nation’s anticompetitive and unlawful conduct.

       264.    Live Nation’s anticompetitive and exclusionary practices violate Section 2 of the

Sherman Act, 15 U.S.C. § 2.Live Nation’s anticompetitive and exclusionary practices violate

Section 2




                                                 114
     Case 1:24-cv-03973-AS          Document 233-1        Filed 08/19/24      Page 123 of 217



                           Sixth Claim for Relief: Violation of Arizona Law

       265.    The State of Arizona incorporates the Shermanallegations of Paragraphs 1 through

264 above.

       247.266.        In addition to violating federal law, Defendants’ acts as alleged herein also

constitute violations of Arizona’s Uniform State Antitrust Act, 15 UArizona Revised Statutes

(“A.R.S.C. § 2..”) § 44-1401 et seq., as follows:




                                                    115
Case 1:24-cv-03973-AS        Document 233-1         Filed 08/19/24     Page 124 of 217



        a.      Sixth Live Nation, as described in Paragraphs 224 through 232, has

 unlawfully established, maintained, and used its monopoly power in several markets, which

 constitutes a violation of A.R.S. § 44-1403. These markets include the provision of primary

 ticketing services to major concert venues, the provision of primary concert ticketing

 services to major concert venues, and the provision of primary concert ticketing to fans at

 major concert venues.

        b.      Ticketmaster’s long-term exclusive agreements to provide primary ticketing

 services to major concert venues, as described in Paragraphs 233 through 240, are contracts,

 combinations, or conspiracies between two or more persons that restrain or monopolize

 trade, which constitutes a violation of A.R.S. § 44-1402.

        c.      Live Nation, as described in Paragraphs 241 through 248, has required artists

 to purchase substantial promotional services from Live Nation in order for artists to use its

 large amphitheaters for shows as part of a tour, which constitutes an unlawful tying

 arrangement in violation of A.R.S. § 44-1402.

        d.      Live Nation, as described in Paragraphs 249 through 256, has unlawfully

 established, maintained, and used its monopoly power in the market for the provision of the

 use of large amphitheaters and ancillary services to artists on large-amphitheater tours,

 which constitutes a violation of A.R.S. § 44-1403.

        e.      Live Nation, as described in Paragraphs 257 through 264, has unlawfully

 established, maintained, and used its monopoly power in the markets for the provision of

 concert booking and promotion services to major concert venues and the provision of

 promotion services to artists performing in major concert venues, which constitutes a

 violation of A.R.S. § 44-1403.




                                          116
     Case 1:24-cv-03973-AS          Document 233-1        Filed 08/19/24       Page 125 of 217



       267.    Defendants committed these violations while selling tickets, promoting events, and

operating venues within the State of Arizona. These violations ultimately harm fans, venues,

promoters, and artists across Arizona by increasing costs and prices, and reducing choice,

innovation, and quality.

       268.    In addition to its federal law remedies, the State of Arizona seeks all remedies

available under A.R.S. § 44-1407, including, without limitation, the following:

               a.     Injunctive relief, other equitable relief (including but not limited to

       disgorgement), fees and costs, and other relief as this Court deems just and equitable

       pursuant to A.R.S. § 44-1407;

               b.     Civil penalties pursuant to A.R.S. § 44-1407 which provides that: “The court

       may assess for the benefit of the state a civil penalty of not more than one hundred fifty

       thousand dollars for each violation of this article”; and

       269.    Other remedies as the Court may deem appropriate under the facts and

circumstances of this case.

                    SixthSeventh Claim for Relief: Violation of Arkansas Law

       248.270.       Plaintiff State of Arkansas incorporates the allegations of Paragraphs 1

through 248264 above.

       249.271.       Plaintiff State of Arkansas brings this action in its sovereign capacity

pursuant to Ark. Code Ann. § 4-75-212(a) and Ark. Code Ann. § 4-75-315(a) and its parens patriae

capacity pursuant to Ark. Code Ann. § 4- 75-212(b) and Ark. Code Ann. § 4-75-315(b).

       272.    Defendants’ acts as alleged herein constitute an unlawful monopoly in violation of

Ark. Code Ann. §§ 4-75-301–302.




                                                 117
     Case 1:24-cv-03973-AS            Document 233-1         Filed 08/19/24      Page 126 of 217



       250.273.          Defendants’ acts as alleged herein further violate Arkansas’s prohibition on

monopolies under Ark. of secret rebates or privileges tending to destroy competition.Code Ann. §§

4 75 301 et seq., and Unfair Practices Act, Ark. Code Ann. §§§ 4-75- 201 et seq208.

       251.274.          Plaintiff State of Arkansas is entitled to and seeks all remedies available at

law or in equity, including, without limitation, the following:

               a.        A declaratory judgment, pursuant to Ark. Code Ann. § 4-75-212(a)(1) and

       Ark. Code Ann. § 4-75-315(a)(1), that Defendants’ acts and practices as described in this

       Complaint violate Arkansas’s Unfair Practices Act and its prohibition on monopolies;

                a.        Permanent injunctions against Defendants, pursuant to Ark. Code Ann.
               b.        § § 4-75-212(a)(2) and Ark. Code Ann. § 4-75-315(a)(2), enjoining

       Defendants from engaging in any act that violates Arkansas’s Unfair Practices Act and its

       prohibition on monopolies, including but not limited to the unfair methods of competition

       alleged herein;

               c.        Damages for injuries sustained or restitution for loss as a result of violations

       of ArkansasArkansas’s antitrust statutes pursuant to Ark. Code Ann. § 4-75-212(b)(1)(A)

       and Ark. Code Ann. § 4-75-315(b)(1);

               d.        Civil penalties pursuant to Ark. Code Ann. § 4-75-212(a)(4) and Ark. Code

       Ann. § 4-75-315(a)(4);


         Code Ann. § 4 75 315(a)(4);




                                                   118
     Case 1:24-cv-03973-AS           Document 233-1          Filed 08/19/24       Page 127 of 217



               e.       Costs and attorneys’ fees pursuant to Ark. Code Ann. § 4-75-212(a)(4) and

       Ark. Code Ann. § 4-75-315(a)(4); and

               f.       All other just and equitable relief that this Court may deem appropriate.


               SeventhEighth Seventh Claim for Relief: Violation of California Law

         66.      The State of California incorporates the allegations of Paragraphs 1 through 248

       252.275.         264 above.


       253.276.         Defendants’ acts and practices detailed above also violate California’s Unfair

Competition Law (“UCL”), Cal. Bus. & Prof. Code § 17200, et seq., which prohibits any unlawful,

unfair, or fraudulent business act or practice.

       254.277.         In bringing its state claims, Plaintiff State of California is entitled to, without

limitation, the following relief:

               a.       Injunctive, restitution and other equitable relief under the UCL (Cal. Bus. &

       Prof. Code § 17203); and

               b.       Civil penalties assessed at up to $2,500 for each violation of the UCL (Cal.

       Bus. & Prof. Code § 17206).

                           Ninth Claim for Relief: Violations of Colorado Law

       278.    Plaintiff State of Colorado repeats and re-alleges and incorporates by reference

Paragraphs 1 through 264 in this Complaint as if fully set forth herein.

       279.    Defendants’ acts as alleged herein violate the Colorado Antitrust Act of 2023, § 6-4-

101, et. seq., Colo. Rev. Stat. Eighth These violations substantially affect the people of Colorado

and have impacts within the State of Colorado.

       280.    The markets for primary ticketing services to major concert venues, provision of

primary concert ticketing services to major concert venues and provision of primary concert

ticketing offerings to fans at major concert venues in the United States, as alleged in Paragraphs
                                                 119
     Case 1:24-cv-03973-AS          Document 233-1         Filed 08/19/24      Page 128 of 217



163 through 190, each constitute a separate relevant antitrust market. The provision of concert

booking and promotion services to major concert venues, provision of the use of large

amphitheaters and ancillary services to artists, and provision of promotion services to artists

performing in major concert venues in the United States or in smaller regional geographic markets,

as alleged in Paragraphs 191 through 214, each constitute separate, relevant antitrust markets.

       281.    Defendants’ acts alleged in Paragraphs 224 through 232 to unlawfully maintain

monopoly power in the markets for primary ticketing services violate § 6-4-105, Colo. Rev. Stat.

Defendants have monopoly power in the relevant markets for provision of primary ticketing

services and have engaged in an unlawful course of conduct to maintain that monopoly power.

       282.    Defendants’ acts alleged in Paragraphs 233 through 240 constitute unlawful

exclusive dealing in violation of § 6-4-104, Colo. Rev. Stat. Ticketmaster’s long-term exclusive

agreements to provide primary ticketing services to major concert venues unreasonably restrain

competition, foreclosing a substantial share of the market for provision of primary ticketing

services to major concert venues in the United States.

       283.    Defendants’ acts alleged in Paragraphs 241 through 248 constitute unlawful tying

arrangements in violation of § 6-4-104, Colo. Rev. Stat. Live Nation’s acts to require artists to

purchase concert promotion services from Live Nation in order to access large amphitheaters

coerce artists and significantly foreclose the market for concert promotion services to artists.

       284.    Defendants’ acts alleged in Paragraphs 249 through 256 to monopolize the market

for provision of use of large amphitheaters and ancillary services to artists violate § 6-4-105, Colo.

Rev. Stat. Defendants have monopoly power in the market for provision of use of large

amphitheaters and ancillary services to artists, and have engaged in an unlawful course of conduct

to maintain that monopoly power.




                                                 120
     Case 1:24-cv-03973-AS          Document 233-1         Filed 08/19/24     Page 129 of 217



         285.   Defendants’ acts alleged in Paragraphs 257 through 264 to monopolize the markets

for concert promotion services violate § 6-4-105, Colo. Rev. Stat. Defendants have monopoly

power in the market for provision of concert booking and promotion services to major concert

venues and the market for provision of concert promotion services to artists performing at major

concert venues, and have engaged in an unlawful course of conduct to maintain that monopoly

power.

         286.   Defendants engaged in a wide-ranging anticompetitive and exclusionary course of

the conduct described above while selling tickets, booking and promoting concerts, and operating

venues within Colorado. As alleged in Paragraphs 70 through 158 and 223, and on information and

belief, this anticompetitive conduct has harmed competition, fans, venues, promoters, and artists

across Colorado by resulting in:

                a.      Supracompetitive prices in Colorado;

                b.      Reduction in the quality and quantity of live events available in Colorado;

                c.      Loss of innovation in the relevant markets; and

                d.      Other harms resulting from lack of competition in the relevant markets.

         287.   Each of Defendants’ unlawful agreements, arrangements, or acts alleged herein

constitute at least one distinct violation of the Colorado Antitrust Act within the meaning of § 6-4-

113, Colo. Rev. Stat.

         288.   Defendants’ acts alleged herein were willful within the meaning of § 6-4-113(2),

Colo. Rev. Stat.

         289.   Defendants’ acts alleged herein constitute a continuous pattern and practice of

behavior within the meaning of § 6-4-113(2), Colo. Rev. Stat.

         290.   The State of Colorado seeks all available remedies under the Colorado Antitrust Act,

including, without limitation.


                                                 121
     Case 1:24-cv-03973-AS             Document 233-1        Filed 08/19/24      Page 130 of 217



                 a.       Injunctive and other equitable relief pursuant to § 6-4-112, Colo. Rev. Stat.;

                 b.       Civil penalties pursuant to § 6-4-113, Colo. Rev. Stat. for each violation of

         the Colorado Antitrust Act, including but not limited to:

                       i. Each exclusive agreement in violation of § 6-4-104, Colo. Rev. Stat.;

                      ii. Each unlawful tying arrangement in violation of § 6-4-104, Colo. Rev. Stat.;

                          and

                      iii. Each act to unlawfully maintain monopoly power in any relevant market in

                          violation of § 6-4-105, Colo. Rev. Stat.

                 c.       Treble damages for injuries sustained, directly or indirectly, by individuals

         residing in Colorado to their property through the purchase of tickets for live events from

         Ticketmaster, pursuant to the State of Colorado’s parens patriae authority under § 6-4-

         112(3), Colo. Rev. Stat.;

                 d.       Costs and attorneys’ fees, pursuant to § 6-4-112(5), Colo. Rev. Stat.; and

                 e.       Other remedies as the Court may deem appropriate on the basis of the facts

         properly alleged and proven.

         291.    The State of Colorado does not seek damages on behalf of any governmental or

public entity.

                            Tenth Claim for Relief: Violation of Connecticut Law

         292.    The State of Connecticut incorporates the allegations of Paragraphs 1 through 264

above.

         293.    Defendants engaged in the conduct described while selling tickets, promoting

shows, and operating venues in Connecticut. This anticompetitive conduct harmed fans, venues,

promoters, and artists across the State and affected commerce therein.




                                                    122
     Case 1:24-cv-03973-AS             Document 233-1        Filed 08/19/24      Page 131 of 217



         294.     Defendants’ actions alleged in the Complaint violate the Connecticut Antitrust Act

(“CAA”), General Statutes § 35-24 et seq.

         295.     Defendants’ actions alleged in the Complaint constitute restraint of a part of trade or

commerce within the state in violation of Conn. Gen. Stat. § 35-26.

         296.     Defendants’ actions alleged in the Complaint constitute monopolization of a part of

trade or commerce within the state in violation of Conn. Gen. Stat. § 35-27.

         297.     The State of Connecticut seeks all remedies available under the CAA, including,

without limitation, the following:

                  a.      Injunctive and other equitable relief, pursuant to Conn. Gen. Stat. § 35-34;

                  b.      Civil penalties of $1,000,000 against each Defendant pursuant to Conn. Gen.

         Stat. § 35-38;

                  c.      Costs and attorneys’ fees, pursuant to Conn. Gen. Stat. § 35-34; and

                  d.      Other remedies as the Court may deem appropriate under the facts and

         circumstances of the case.

                EighthEleventh Claim for Relief: Violation of District of Columbia Law

         255.298.         The District of Columbia incorporates the allegations of Paragraphs 1

through 248264 above.


above.

          67.       The Attorney General for the District of Columbia brings this action pursuant to

         256.299.         D.C. Code § 28-4501, et seq. and 15 U.S.C. § 12, et seq.


         257.300.         Defendants’ conduct alleged hereinin paragraphs 224-232 and 249-264

constitutes unlawful monopolization within the District of Columbia under D.C. Code § 28-4503.




                                                    123
     Case 1:24-cv-03973-AS        Document 233-1        Filed 08/19/24     Page 132 of 217



        258.301.      Defendants’ conduct alleged hereinin paragraphs 233-248 constitutes

unlawful combination in restraint of trade within the District of Columbia under D.C. Code § 28-

4502.




                                               124
     Case 1:24-cv-03973-AS           Document 233-1         Filed 08/19/24      Page 133 of 217



        68.       The District of Columbia seeks all remedies available under federal law and,

 pursuant to its parens patriae authority in the District of Columbia Antitrust Act, D.C. Code §

 28-4507.

       259.302.         (b)(1) seeks all remedies available under D.C. Code § 28-4507. The District

of Columbia is also entitled to recover its costs and attorney’s fees under D.C. Code § 28-

4507(a)(2)(B).

                   NinthTwelfth Ninth Claim for Relief: Violation of Florida Law

        69.       Plaintiff State of Florida incorporates the allegations of Paragraphs 1 through 248

       260.303.         264 above.


       Florida Antitrust Act


       304.      This is an action against DefendantsIn addition to violating federal law, Defendants’

acts described above violate the Florida Antitrust Act, Sections 542.18 and 542.19, Florida Statutes.

       261.305.         The State of Florida seeks damages under Section 542.22, Florida Statutes,

for theireach violation of the Florida Antitrust Act, Sections 542.18 and 542.19, Florida Statutes.

        70.       Defendants engaged in a wide ranging anticompetitive and exclusionary course of

 conduct within Florida.

        71.       The acts and practices within Defendants’ wide-ranging anticompetitive and

 exclusionary course of conduct alleged herein constitute violations of the Florida Antitrust Act;

       262.306.         The State of Florida seeks all legal and equitable remedies availablethe

maximum civil penalties under Section 542.21, for violationseach violation of the Florida Antitrust

Act, Sections 542.18 and 542.19, Florida Statutes.

       307.      The State of Florida seeks to recover its reasonable attorneys’ fees and costs,

pursuant to Section 542.23, Florida Statutes.


                                                   125
     Case 1:24-cv-03973-AS            Document 233-1         Filed 08/19/24     Page 134 of 217



       308.       The State of Florida seeks injunctive relief pursuant to Section 542.23, Florida

Statutes.

       309.       Defendants’ conduct alleged herein constitutes unlawful monopolization within

Florida under Section 542.19, Florida Statutes.

       310.       Defendants’ conduct alleged herein constitutes unlawful combination in restraint of

trade within Florida under Section 542.18, Florida Statutes.

       311.       Defendants engaged in the conduct described above while selling tickets, promoting

concerts, and operating venues in Florida. This anticompetitive conduct harmed fans, venues,

promoters, and artists across Florida and affected commerce therein.

       263.312.          Defendants’ anticompetitive acts alleged herein, or the effects thereof, are

continuing and will continue and are likely to recur unless permanently restrained and enjoined.

       Florida Deceptive and Unfair Trade Practices Act

       313.       In addition to violating federal law, Defendants’ acts described above constitute

unfair methods of competition which violate the Florida Deceptive and Unfair Trade Practices Act,

Section 501.204, Florida Statutes.

       314.       Defendants engaged in the conduct described above while selling tickets, promoting

concerts, and operating venues in Florida. This is an action against Defendantsanticompetitive

conduct harmed fans, venues, promoters, and artists across Florida and affected commerce therein.

       264.315.          The State of Florida seeks damages under Section 501.207(c), Florida

Statutes, for theireach violation of the Florida Deceptive and Unfair Trade Practices Act, Section

501.204, Florida Statutes.

            72.    Defendants engaged in a wide ranging anticompetitive and exclusionary

 courseThe State of conduct within Florida.




                                                   126
     Case 1:24-cv-03973-AS            Document 233-1         Filed 08/19/24     Page 135 of 217



            73.    Defendants' unfair methods of competition alleged herein involve trade or

 commerce within seeks the meaning of themaximum civil penalties under Sections

 501.2075 and 501.2077, Florida Deceptive and Unfair Trade Practices Act.

       265.316.          The acts and practices within Defendants’ wide ranging anticompetitive and

exclusionary course of conduct alleged herein constitute unfair methods of competition inStatutes,

for each violation of the Florida Deceptive and Unfair Trade Practices Act, Section 501.204,

Florida Statutes.

       266.317.          The State of Florida seeks all legalto recover its reasonable attorneys’ fees

and equitable remedies available for violations of the Florida Deceptive and Unfair Trade Practices

Act,costs, pursuant to Section 501.2042105, Florida Statutes.

       318.       The State of Florida seeks injunctive relief pursuant to Section 501.207(1)(b),

Florida Statutes.

       267.319.          Defendants’ unfair methods of competition alleged herein, or the effects

thereof, are continuing and will continue and are likely to recur unless permanently restrained and

enjoined.

       Florida’s Prayer for Relief

       320.       Award to the State of Florida all legaldamages under Section 542.22, Florida

Statutes, for each violation of the Florida Antitrust Act, Sections 542.18 and 542.19, Florida

Statutes;

       321.       Award to the State of Florida the maximum civil penalties under Section 542.21, for

each violation of the Florida Antitrust Act, Sections 542.18 and 542.19, Florida Statutes;

       322.       Award to the State of Florida its reasonable attorneys’ fees and costs, pursuant to

Section 542.23, Florida Statutes;




                                                   127
     Case 1:24-cv-03973-AS            Document 233-1         Filed 08/19/24      Page 136 of 217



       323.       Adjudge and decree that Defendants violated Sections 542.18, and 542.19, Florida

Statutes;

       324.       equitable remedies available for violationsAward to the State of Florida damages

under Section 501.207(c), Florida Statutes, for each violation of the Florida Deceptive and Unfair

Trade Practices Act, Section 501.204, Florida Statutes;

       268.325.          Award to the State of Florida the maximum civil penalties under Sections

501.2075 and 501.2077, Florida Statutes, for each violation of the Florida Deceptive and Unfair

Trade Practices Act, Section 501.204, Florida Statutes;

       269.326.          Award to the State of Florida all legalits reasonable attorneys’ fees and

equitable remedies available for violations of the Florida Antitrust Act, Sections 542.18 and

542.19costs, pursuant to Section 501.2105, Florida Statutes;

       270.1. Adjudge and decree that Defendants violated Sections 542.18, and 542.19, Florida

Statutes;

       271.327.          Adjudge and decree that Defendants violated Section 501.204, Florida

Statutes;


            74.    Enjoin and restrain, pursuant to Florida law, Defendants, their affiliates,

 assignees, subsidiaries, successors, and transferees, and their officers, directors, partners, agents

 and employees, and all other persons acting or claiming to act on their behalf or in concert with




                                                    128
     Case 1:24-cv-03973-AS           Document 233-1         Filed 08/19/24      Page 137 of 217



       272.328.          them, from continuing to engage in any anticompetitive conduct, and from

adopting in the future any practice, plan, program, or device having a similar purpose or effect to

the anticompetitive actions set forth above.

               TenthThirteenth Tenth Claim for Relief: Violation of Illinois Law

        75.       Plaintiff State of Illinois incorporates the allegations of Paragraphs 1 through 248

       273.329.         264 above.


       330.    Defendants’ acts alleged herein, which all lack any non-pretextual procompetitive

justifications that offset the substantial harmful effects on competition and consumers, violate

Section 3 of the Illinois Antitrust Act, 740 ILCS 10/3(1) (, as follows:

               a.       Live Nation has unlawfully maintained its monopoly power in the provision

       of primary ticketing services to major concert venues through a course of exclusionary

       conduct described in Paragraphs 224 through 232 above, in violation of Section 3(3) of the

       Illinois Antitrust Act, 740 ILCS 10/3(3);

               b.       Ticketmaster’s long-term exclusive agreements to provide primary ticketing

       services to major concert venues, which exclude all competitors, as described in Paragraphs

       233 through 240 above, unreasonably restrain competition in violation of Sections 3(1)(a) &

       3(1)(b) of the Illinois Antitrust Act, 740 ILCS 10/3(1)(a) & 10/3(1)(b);

               a.c.     Live Nation has engaged in unlawful, anticompetitive and exclusionary tying

       arrangements by requiring artists seeking to perform at large amphitheaters in Illinois as

       part of a tour to purchase promotion services from Live Nation, as described in Paragraphs

       241 through 248 above, in violation of Section 3(4).) of the Illinois Antitrust Act, 740 ILCS

       10/3(4);

               d.       Live Nation has unlawfully maintained its monopoly power in the provision

       of large amphitheaters and ancillary services for large amphitheater tours through a course

                                                   129
     Case 1:24-cv-03973-AS            Document 233-1         Filed 08/19/24       Page 138 of 217



         of anticompetitive exclusionary conduct described in Paragraphs 249 through 256 above in

         violation of Sections 3(2) & 3(3) of the Illinois Antitrust Act, 740 ILCS 10/3(2) & 10/3(3);

         and

                e.       Live Nation has unlawfully maintained its monopoly power in the provision

         of concert booking and promotion services to major concert venues and the provision of

         promotion services to artists performing in major concert venues through a course of

         anticompetitive exclusionary practices described in Paragraphs 257 through 264 above, in

         violation of Sections 3(1)(b), 3(2) & 3(3) of the Illinois Antitrust Act, 740 ILCS 10/3(1)(b),

         10/3(2) & 10/3(3).

         274.331.        These violations substantially affect the people who reside in Illinois and

companies that conduct business in Illinois and have impacts within the State of Illinois.

         275.332.        Plaintiff State of Illinois, through its Attorney General, requests that the

Court remedy these illegal acts, seeks all available injunctive and monetary relief, including as well

asparens patriae on behalf of persons residing in Illinois to recover treble damages under 740 ILCS

10/7(2) and including civil penalties under 740 ILCS 10/7.(4).

         276.333.        Plaintiff State of Illinois, through its Attorney General, also seeks to recover

its costs and attorneys’ fees under 740 ILCS 10/7(2).

                     Fourteenth Eleventh Claim for Relief: Violation of Indiana Law

         334.   Plaintiff State of Indiana incorporate the allegations of Paragraphs 1 through 264

above.

Indiana Antitrust Act
         335.   The aforementioned practices by Live Nation and Ticketmaster were and are in

violation of the Indiana Antitrust Act, Ind. Code §§ 24-1-2-1 and 24-1-2-2.

   1. The aforementioned practices by Live Nation and Ticketmaster were and are in violation of

         the Indiana Antitrust Act, Ind. Code §§ 24-1-2-1 and 24-1-2-2.
                                                  130
     Case 1:24-cv-03973-AS           Document 233-1         Filed 08/19/24      Page 139 of 217



       336.     The acts alleged in the Complaint constitute schemes, contracts, or combinations in

restraint of trade or commerce or are otherwise illegal under Ind. Code § 24-1-2-1.

       337.     The acts alleged in the Complaint constitute monopolization as a part of trade or

commerce within the state under Ind. Code § 24-1-2-2.

       338.     Plaintiff State of Indiana, through its Attorney General, seeks all available relief as

parens patriae on behalf of natural persons residing in Indiana under the Indiana Antitrust Act,

including, without limitation, the following:

                a.     Appropriate injunctive or other equitable relief pursuant to Ind. Code § 24-1-

       2-5.1;

                b.     A civil penalty pursuant to Ind. Code § 24-1-2-5.1;

                c.     Injuries or damages sustained directly or indirectly by natural persons

       pursuant to Ind. Code § 24-1-2-5.1;

                d.     Costs and fees pursuant to Ind. Code § 24-1-2-5.1;

                e.     Other remedies the Court finds necessary to redress and prevent recurrence

       of each Defendant’s violations.

                          Fifteenth Claim for Relief: Violation of Iowa Law

       339.     Plaintiff State of Iowa incorporates Paragraphs 1 through 264 above. Defendants

engaged in the conduct alleged above while they sold tickets and promoted concerts in Iowa. That

conduct substantially affects the people of Iowa and the State of Iowa.

       340.     As a result of this conduct, Iowa consumers have suffered anticompetitive harm by

paying increased prices, paying additional costs, and suffering reduced quality.

       341.     Plaintiff State of Iowa seeks all remedies available under Federal law.

       342.     Defendants’ conduct also violates the Iowa Competition Law, Iowa Code Chapter

553, including Iowa Code §§ 553.4 and 553.5.


                                                  131
     Case 1:24-cv-03973-AS          Document 233-1        Filed 08/19/24      Page 140 of 217



       343.    For violations of the Iowa Competition Law, Plaintiff State of Iowa seeks all

available relief under Iowa Code Chapter 553, including but not limited to:

               a.      Injunctive and equitable relief under Iowa Code § 553.12(1);

               b.      Damages under Iowa Code § 553.12(2);

               c.      Civil penalties under Iowa Code § 553.13; and

               d.      All other remedies the court may deem appropriate.

       344.    Defendants’ conduct also constitutes unfair practices in violation of the Iowa

Consumer Fraud Act, Iowa Code § 714.16.

       345.    For violations of the Iowa Consumer Fraud Act, Plaintiff State of Iowa seeks all

available relief under Iowa Code § 714.16, including but not limited to:

               a.      Injunctive relief, equitable relief, and civil penalties under Iowa Code §

       714.16(7);

               b.      Costs and attorneys’ fees under Iowa Code § 714.16(11); and

               c.      All other remedies the court may deem appropriate.

                        Sixteenth Claim for Relief: Violation of Kansas Law

       346.    The State of Kansas incorporates the allegations of Paragraphs 1 through 264 above.

       347.    In addition to violating federal law, Defendants’ acts as alleged herein also

constitute violations of the Kansas Restraint of Trade Act (“KRTA”), Kansas Statutes Annotated

(“Kan. Stat. Ann.”) § 50-101, et seq., as follows:

               a.      Live Nation and Ticketmaster have entered into combinations of capital,

       skill, or acts which restrict trade or commerce, increase the price of merchandise or

       commodities, and prevent competition in the sale or purchase of merchandise or

       commodities in the markets for concert promotion, venues, artists, and the related sale of




                                                 132
     Case 1:24-cv-03973-AS          Document 233-1          Filed 08/19/24      Page 141 of 217



       tickets for performances in entertainment in Kansas, in violation of Kan. Stat. Ann. § 50-

       101.

               b.      Live Nation and Ticketmaster have entered into, executed and carried out

       contracts, obligations or agreements which bind venues, promotors and artists to preclude

       free and unrestricted competition in these markets, in violation of Kan. Stat. Ann. § 50-101.

               c.      Live Nation and Ticketmaster have entered into arrangements, contracts,

       agreements, trusts, or combinations with a view to or which tend to prevent full and free

       competition and advance the price of products and services for entertainment in Kansas, in

       violation of Kan. Stat. Ann. § 50-112.

       348.    Defendants committed these violations while selling tickets, promoting events, and

operating venues within the State of Kansas. These violations caused harm to the State of Kansas

and ultimately harm fans, venues, promoters, and artists across Kansas by increasing costs and

prices, and reducing choice, innovation, and quality.

       349.    In addition to federal remedies, the State of Kansas seeks the following remedies

under state law:

               a.      A declaration that the above acts and practices violate the KRTA pursuant to

       Kan. Stat. Ann. § 50-103;

               b.      Injunctive relief, voiding of any contract or agreement in violation of the

       KRTA, other equitable relief, fees and costs, including attorneys’ fees, pursuant to Kan.

       Stat. Ann. §§ 50-103 and 50-161;

               c.      Civil penalties, pursuant to Kan. Stat. Ann. § 50-103, as specified by Kan.

       Stat. Ann. § 50-160 which provides that: “The commission of any act or practice declared to

       be a violation of the Kansas restraint of trade act shall render the violator liable to the state




                                                  133
     Case 1:24-cv-03973-AS          Document 233-1         Filed 08/19/24     Page 142 of 217



       for the payment of a civil penalty in a sum set by the court of not less than $100 nor more

       than $5,000 for each day such violation shall have occurred”; and

               d.      Other relief as this Court deems appropriate.

                     Seventeenth Claim for Relief: Violation of Louisiana Law

       350.    Plaintiff State of Louisiana repeats and re-alleges each and every preceding

allegation through Paragraph 264 as if fully set forth herein.

       351.    The Attorney General of the State of Louisiana is authorized to bring this action

pursuant to the Louisiana Unfair Trade Practices Act, LSA-R.S. 51:1401, et seq. (“LUTPA”).

       352.    LSA-R.S. 51:1405(A) of LUTPA makes unlawful “unfair and deceptive acts or

practices in the conduct of any trade or commerce.”

       353.    Defendants’ acts as alleged herein violates Louisiana’s prohibition on unfair and

deceptive acts or practices in LUTPA.

       354.    Plaintiff State of Louisiana seeks the following remedies:

               a.      Injunctive relief enjoining Defendants from violating LUTPA, including but

       not limited to conduct alleged herein pursuant to LSA-R.S. 51:1407(A);

               b.      Restitution to any person harmed by Defendants conduct pursuant to LSA-

       R.S. 51:1408(A)(5);

               c.      Civil penalties pursuant to LSA-R.S. 51:1407(B); and

               d.      Costs and attorneys’ fees; and

               e.      Any other relief the court may grant.

               EleventhEighteenth Claim for Relief: Violation of Maryland Law

       277.355.        Plaintiff State of Maryland incorporates the allegations of Paragraphs 1

through 248264 above.




                                                 134
     Case 1:24-cv-03973-AS          Document 233-1         Filed 08/19/24       Page 143 of 217



       356.    The Defendants engaged in the conduct alleged above while selling tickets,

promoting shows, and operating venues in Maryland. The anticompetitive conduct in Maryland

harmed thousands of Maryland fans, venues, promoters, and artists, among others.

       357.    As a result of Defendants’ conduct and the related reduction of competition in the

relevant markets, Maryland consumers and businesses have suffered anticompetitive harms,

including increased prices, increased costs, and reduced quality.

       278.358.        The Defendants’ acts violate the Maryland Antitrust Act, MD Commercial

Law Code Ann. § 11 201 et seq. These acts have substantially lessened competition and have

anticompetitive effects within the State of Maryland.§ 11-201 et seq. Defendants’ conduct alleged

herein constitutes unlawful monopolization under MD Commercial Law Code Ann. § 11-204(a).

       359.    The Defendants’ conduct alleged herein constitutes an unlawful combination in

restraint of trade in violation of MD Commercial Law Code Ann. § 11-204(a). Defendants’ conduct

has substantially lessened competition and produced anticompetitive effects within the State of

Maryland.

       279.360.        Plaintiff State of Maryland is entitled to all remedies available at law or in

equity (including, but not limited to, damages, injunctive relief, restitution, and divestiture) under

Maryland Commercial Law Code Ann. § 11-209. In addition, and federal law. Maryland seeks the

Court may assess civil penalties, costs, and reasonable attorneys’ fees.following remedies available

under the Maryland Antitrust Act:




                                                  135
     Case 1:24-cv-03973-AS            Document 233-1        Filed 08/19/24      Page 144 of 217



               a.        Twelfth That the Court adjudge and decree the conduct alleged in the

       complaint to be unlawful and in violation of the Maryland Antitrust Act;

               b.        Injunctive and other equitable relief pursuant to MD Commercial Law Code

       Ann. § 11-209;

               c.        Civil penalties pursuant to MD Commercial Law Code Ann. § 11-209;

               d.        Costs and attorney’s fees pursuant to MD Commercial Law Code Ann. § 11-

       209;

               e.        Other remedies, including pre-judgment interest, as the court may deem

       appropriate under the facts and circumstances of the case.

                TwelfthNineteenth Claim for Relief: Violation of Michigan Law

       280.361.          Plaintiff State of Michigan re-alleges and incorporates the allegations of

Paragraphs 1 through 248264 above.

         76.       The acts alleged in the Complaint violate the Michigan Antitrust Reform Act,

 MCL 445.771, et seq.

         77.       The Attorney General brings this suit in the name of the State of Michigan and on

 behalf of the people of the State of Michigan in her parens patriae capacity.

       362.    The acts alleged in the Complaint constituteIn addition to violating federal law,

Defendants’ acts constitute violations of the Michigan Antitrust Reform Act (“MARA”; MCL

445.771 et seq.). MARA shall be applied and harmonized to effectuate its general purpose with

deference to “interpretations given by the federal courts to comparable antitrust statutes, including,

without limitation, the doctrine of per se violations and the rule of reason.” MCL 445.784.

       363.    Section Two of MARA, MCL 445.772, makes unlawful a contract, combination, or

conspiracy between two or more persons in restraint of, or to monopolize, trade or commerce in a

relevant market.


                                                   136
     Case 1:24-cv-03973-AS           Document 233-1        Filed 08/19/24       Page 145 of 217



       281.364.         Section Three of MARA, MCL 445.773, makes unlawful the establishment,

maintenance, or use of a monopoly, or any attempt to establish a monopoly, of trade or commerce

in a relevant market by any person, for the purpose of excluding or limiting competition or

controlling, fixing, or maintaining prices, pursuant to MCL 445.773.

       365.       Live Nation has established and unlawfully maintained a monopoly in each of the

markets alleged in Section VI of this Complaint.

       366.      Through unlawful monopolization of the relevant markets, unlawful exclusive

dealing, unlawful tying or some combination thereof, the Defendants have inflicted antitrust

injuries on consumers, artists, venue operators and live music promoters in Michigan in violation of

Sections Two and Three of MARA.

       367.      The Attorney General brings this suit in the name of the State of Michigan and on

behalf of the people of the State of Michigan in her parens patriae capacity.

       282.368.         Michigan seeks all legal and equitable relief under Federal law as well as the

legal and equitable relief authorized by MCL 445.777 and MCL 445.778, including civil penalties,

disgorgement, damages, injunctive relief, and costs and attorney’s fees.

           ThirteenthTwentieth Thirteenth Claim for Relief: Violation of Minnesota Law

       283.369.         Plaintiff State of Minnesota re-alleges and incorporates by reference the

allegations of Paragraphs 1 through 248264 above.

       284.370.         In addition to violating federal law, Defendants’ acts as alleged herein

violate the Minnesota Antitrust Law of 1971, Minnesota Statutes sections 325D.49 to 325D.66.

These violations substantially affect the people of Minnesota and have impacts within the State of

Minnesota, including anticompetitive harms, such as increased prices, increased costs, and reduced

quality.




                                                  137
     Case 1:24-cv-03973-AS          Document 233-1        Filed 08/19/24      Page 146 of 217



       371.    Live Nation has unlawfully maintained its monopoly power, as described in

Paragraphs 224 through 232 above, over markets related to primary ticketing, including the

provision of primary ticketing services to major concert venues, the provision of primary concert

ticketing services to major concert venues, and the provision of primary concert ticketing offerings

to fans at major concert venues (even if combined with services that offer resale of concert tickets),

in violation of Minnesota Statutes section 325D.52. Each of these markets constitute trade or

commerce. Defendants have done so for the purpose of affecting competition.

       372.    Ticketmaster’s long-term exclusive primary ticketing contracts constitute contracts,

combinations, or conspiracies between two or more persons in unreasonable restraint of trade, as

described in Paragraphs 233 through 240 above, in violation of Minnesota Statutes section

325D.51.

       373.    Live Nation’s requirement that artists seeking to use its large amphitheaters for

shows as part of a tour also purchase promotion services from Live Nation constitutes contracts,

combinations, or conspiracies between two or more persons in unreasonable restraint of trade, as

described in Paragraphs 241 through 248 above, in violation of Minnesota Statutes section

325D.51.

       374.    Live Nation has maintained or used monopoly power over the market for the

provision of the use of large amphitheaters and ancillary services to artists on large-amphitheater

tours, as described in Paragraphs 249 through 256 above, in violation of Minnesota Statutes section

325D.52. This market constitutes trade or commerce. Live Nation has done so for the purpose of

affecting competition.

       375.    Live Nation has maintained or used its monopoly power in the markets for the

provision of concert booking and promotion services to major concert venues and the provision of

promotion services to artists performing in major concert venues, as described in Paragraphs 257


                                                 138
     Case 1:24-cv-03973-AS          Document 233-1         Filed 08/19/24      Page 147 of 217



through 264 above, in violation of Minnesota Statutes section 325D.52. The markets constitute

trade or commerce. Live Nation has done so for the purpose of affecting competition.

       376.   Defendants engaged in the conduct described herein while selling tickets, promoting

concerts, and operating venues within Minnesota. These violations substantially affect trade and

commerce within the State of Minnesota and cause anticompetitive harms to the people of

Minnesota and the general economy of Minnesota, such as increased prices, increased costs,

reduced choice, reduced innovation, and reduced quality.

       285.377.        Plaintiff State of Minnesota seeks relief, including but not limited to the

following:

                  a.    Enjoining Defendants and their employees, officers, directors, agents,

        successors, assignees, affiliates, merged or acquired predecessors, parents, or controlling




                                                 139
     Case 1:24-cv-03973-AS           Document 233-1          Filed 08/19/24      Page 148 of 217



                a.       entities, subsidiaries, and all other persons acting in concert or participation

         with them from engaging in conduct in violation of Minnesota Statutes sections 325D.49 to

         325D.66;

                b.      Awarding judgment against Defendants for civil penalties pursuant to

         Minnesota Statutes sections 8.31, subd. 3, and 325D.56; and

                c.      Costs and reasonable attorneys’ fees under Minnesota Statutes sections

         325D.57 and 8.31, subd. 3a.

                Twenty-first Fourteenth Claim for Relief: Violation of Mississippi Law

         378.   Plaintiff State of Mississippi incorporates the allegations of Paragraphs 1 through

264 above.

   379.         In addition to violating federal law, Defendants’ acts as alleged herein also violate

the Mississippi Antitrust Act (MAA), Miss. Code Ann § 75-21-1 et seq. These acts have

substantially lessened competition and have anticompetitive effects within the State of Mississippi.

   380.         Specifically, Defendants’ acts as described above constitute illegal monopolization

under Miss. Code Ann. § 75-21-3(b) and restraint of trade under Miss. Code Ann. § 75-21-1(a).

   381.         Plaintiff State of Mississippi is entitled to and seeks all remedies available at law or

in equity, including, but without limitation, civil penalties in the amount of $ 2,000.00 for every

willful violation of the MAA, pursuant to Miss. Code Ann. § 75-21-7.

                     Twenty-second Claim for Relief: Violation of Nebraska Law

         382.   Plaintiff State of Nebraska incorporates the allegations of Paragraphs 1 through 264

above.

   383.         Plaintiff State of Nebraska brings this action pursuant to the Nebraska Unlawful

Restraint of Trade Act, Neb. Rev. Stat. § 59-801 et seq., the Nebraska Consumer Protection Act, §




                                                   140
     Case 1:24-cv-03973-AS           Document 233-1          Filed 08/19/24       Page 149 of 217



59-1601 et seq., and the Nebraska Attorney General’s duty to enforce the Nebraska antitrust laws.

Neb Rev. Stat. § 84-211 et seq.

   384.         In addition to violating federal law, Defendants’ conduct, as alleged herein,

constitutes unreasonable restraints of trade, unlawful monopoly maintenance, and unfair methods

of competition under the Nebraska Unlawful Restraint of Trade Act and the Nebraska Consumer

Protection Act.

   385.         Defendants’ violations of the Nebraska antitrust laws arise from their sale of goods,

services, and commerce alleged herein.

   386.         Defendants’ anticompetitive conduct has occurred within or impacted trade or

commerce in Nebraska.

   387.         Defendants’ anticompetitive conduct has and will continue to directly and indirectly

affect the people of the State of Nebraska by causing increased prices, increased costs, and reduced

quality.

   388.         Plaintiff State of Nebraska requests the Court enter a judgment finding Defendants

violated Neb. Rev. Stat. §§ 59-801, 59-802, 59-1602, 59-1603, and 59-1604.

   389.         Plaintiff State of Nebraska is entitled to relief including, but not limited to, civil

penalties, injunctive relief, and its costs and attorney’s fees under Neb. Rev. Stat. §§ 59-1608 and

59-1614.

             FourteenthTwenty-third Claim for Relief: Violation of Nevada Law

         Violations of Nevada Unfair Trade Practices Act


         286.390.       The State of Nevada incorporates the allegations of Paragraphs 1 through

248264 above.


above.

                                                   141
     Case 1:24-cv-03973-AS          Document 233-1         Filed 08/19/24      Page 150 of 217



        287.391.       The Defendants’ conduct in the course of selling tickets, booking and

promoting live entertainment shows, and operating concert venues in the State of Nevada has been

unlawful, exclusionary and anticompetitive, as described in detail above, and. This alleged conduct,

while national in scope, has harmed fans, venues, promoters and artists throughout, or doing

business in, the State of Nevada.

        288.392.       Live Nation’s unlawful maintenance of its monopoly power in each of the

various antitrust markets identified in Section VI through anticompetitive and exclusionary

conduct, also constitute violations of Nevada law pursuant to the Nevada Unfair Trade Practices

Act, Nev. Rev. Stat. § 598A.010, et seq. See specifically Nev. Rev. Stat. § 598A.060 – Prohibited

Acts.

        289.393.       The State of Nevada seeks all remedies available under federal law and the

Nevada Unfair Trade Practices Act including, without limitation, the following:

               a.      Civil penalties pursuant to Nev. Rev. Stat. § 598A.170, which provides for

        “an amount not to exceed 5 percent of the gross income realized by the sale of commodities

        or services sold by such persons in this state in each year in which the prohibited activities

        occurred”;




                                                  142
     Case 1:24-cv-03973-AS          Document 233-1          Filed 08/19/24   Page 151 of 217



               b.      Damages for natural persons residing in Nevada that were damaged directly

       or indirectly by the defendants’ conduct, pursuant to Nev. Rev. Stat. § 598A.160;

               c.      Injunctive relief pursuant to Nev. Rev. Stat. § 598A.070(c)(1);


                  a.    Disgorgement, restitution and other equitable relief as provided by Nev.

               d.      Rev. Stat. § 598A.070(c)(4);


               e.      Costs and attorney’s fees pursuant to Nev. Rev. Stat. § 598A.200; and


               f.      Any other remedies the court may deem appropriate under the facts and

       circumstances of the case.

   FifteenthTwenty-fourth Fifteenth Claim for Relief: Violation of New Hampshire Law

       290.394.        PlaintiffThe State of New Hampshire incorporates the allegations of

Paragraphs 1 through 248264 above.

       395.    The Defendants’ acts violateAttorney General for the State of New Hampshire

Combinations and Monopolies Act, brings this action pursuant to NH RSA 356 et seq. and 15

U.S.C. § 12These acts have substantially lessened et seq.

       396.    Defendants’ conduct as alleged herein constitutes unlawful contract, combination, or

conspiracy in restraint of trade under NH RSA 356:2.

       291.397.        Defendants’ conduct as alleged herein constitutes unlawful establishment,

maintenance or use of monopoly power, or an attempt to establish, maintain or use monopoly

power over trade or commerce for the purpose of affecting competition and have anticompetitive

effects within the State of New Hampshireor controlling, fixing or maintaining prices under NH

RSA 356:3.




                                                143
     Case 1:24-cv-03973-AS          Document 233-1         Filed 08/19/24       Page 152 of 217



       398.     PlaintiffThe State of New Hampshire is entitled to seeks all remedies available

atunder federal law or in equity (and NH RSA 356:4 et seq., including damages, injunctive, without

limitation:

                a.     Damages for natural persons under parens patriae authority under NH RSA

       356:4-a, II;

                b.     Injunctive and other equitable relief, restitution, and divestiture) under NH

       RSA 356 et seq. In addition,:4-a;

                c.     Civil penalties under NH RSA 356:4-a;

                d.     Costs and attorney’s fees under NH RSA 356:4-b and/or 356:10; and

                a.e.   Other remedies as the Court may assess civil penalties, costs, and reasonable

       attorneys’ feesdeem appropriate under the facts and circumstances of the case.

                f.     Sixteenth

              SixteenthTwenty-fifth Claim for Relief: Violation of New Jersey Law

       292.399.        Plaintiff State of New Jersey repeats and realleges and incorporates by

reference Paragraphs 1 through 248264 of this Complaint as if fully set forth herein.

       400.     The New Jersey Antitrust Act, N.J.S.A. 56:9-3, states: “Every contract, combination

in the form of trust or otherwise, or conspiracy in restraint of trade or commerce, in this State, shall

be unlawful.”

       293.401.        The New Jersey Antitrust Act, N.J.S.A. 56:9-4(a), further states: “It shall be

unlawful for any person to monopolize, or attempt to monopolize, or to combine or conspire with

any person or persons, to monopolize trade or commerce in any relevant market within this State.”




                                                  144
     Case 1:24-cv-03973-AS           Document 233-1        Filed 08/19/24       Page 153 of 217



         78.      N.J.S.A. 56:9-4(a) of the New Jersey Antitrust Act, states: “Every contract,

 combination in the form of trust or otherwise, or conspiracy in restraint of trade or commerce, in

 this State, shall be unlawful.”

       402.    In the operation of its businesses, DefendantDefendants engaged in numerous

commercial practices in the operation of their business that violate the New Jersey Antitrust Act,

N.J.S.A. 56:9-1 to -19, including monopolizing trade or commerce in relevant markets within the

State of New Jersey, in violation of N.J.S.A. 56:9-3; and have engaged in conduct constituting

restraint of trade or commerce in relevant markets within N.J.S.A. 56:9-4(a), including but not

limited to the following:

       403.    Utilizing Ticketmaster’s long-term exclusive agreements to provide primary

ticketing services to major concert venues in the State of New Jersey to unreasonably restrain

competition;

       404.    Utilizing Ticketmaster’s contracts of adhesion to exclude competitors and restrict

competitors’ access to the only significant distribution channel for primary ticketing services to

major concert venues across the State of New Jersey;

       294.405.         Utilizing Ticketmaster’s long-term exclusive primary ticketing contracts to

restrict from competition a substantial share of the market for the provision of primary ticketing

services to major concert venues in the State of New Jersey, in violation of N.J.S.A. 56:9 4(a).; and

         79.      Each violation of the New Jersey Antitrust Act by Defendant constitutes a

 separate unlawful practice and violation, under N.J.S.A. 56:9-16.

       406.    Selling tickets, booking and promoting live shows, and operating concert venues in

an unlawful, exclusionary, and anti-competitive manner that lacks a valid procompetitive

justification sufficient to offset the harm caused by that unlawful behavior.




                                                  145
     Case 1:24-cv-03973-AS          Document 233-1         Filed 08/19/24      Page 154 of 217



       407.    Defendants’ violations of the New Jersey Antitrust Act, N.J.S.A. 56: 9-1 to -19, and

Section 16 of the Clayton Act, have resulted in the following harm to the citizens of New Jersey

and to citizens of other states that have attended events or purchased tickets to events in the State of

New Jersey, as well as to venues, promoters, and artists who are located in or do business in the

State of New Jersey:

       408.    Causing those who attend live events to pay more in non-transparent, non-negotiable

fees without other options;

       409.    Denying consumers the benefits of competition, such as more concert choices and

innovative, fan-friendly ticketing options; and

       410.    Restricting the provision of primary ticketing services to major concert venues to

fans at major concert venues (even if combined with services that offer resale of concert tickets).

       295.411.        To restore competition to the affected markets, New Jersey seeks all

remedies available under the New Jersey Antitrust Act, N.J.S.A. 56:9-1 to -19, and/or Section 16 of

the Clayton Act including, without limitation, the following:

               a.      Divestiture of Ticketmaster and/or venues owned or operated by Live Nation

       Entertainment, pursuant to N.J.S.A. 56:9-7 and/or Section 16 of the Clayton Act;

               b.      Injunctive and other equitable relief prohibiting Defendant’sDefendants’

       wrongful conduct, pursuant toin accordance with N.J.S.A. 56:9-10(a);

         80.    Equitable monetary relief to remedy Defendant’sDefendants’ unlawful conduct,
                pursuant to
               c.     N.J.S.A. 56:9-10(b);


               d.      Civil penalties of not more than the greater of $100,000 or $500 per day for

       each and every day of said violation against DefendantDefendants, pursuant to N.J.S.A.

       56:9-10(c);

               e.      Costs and attorney’s fees, pursuant to N.J.S.A. 56:9-12; and

                                                  146
     Case 1:24-cv-03973-AS           Document 233-1        Filed 08/19/24     Page 155 of 217



                  f.     Other remedies as the Court may deem appropriate and the interests of

         justice may require.

                Twenty-sixth Seventeenth Claim for Relief: Violation of New Mexico Law

         412.     The State of New Mexico incorporates the allegations of Paragraphs 1 through 264

above.

   413.           Pursuant to Section 15 of the New Mexico Antitrust Act, N.M. Stat. Ann. § 57-1-15,

a violation of Sections 1 and 2 of the federal Sherman Antitrust Act also constitutes a violation of

Sections 1 and 2 of the New Mexico Antitrust Act, N.M. Stat. Ann. §§ 57-1-1 and -2.

   414.           The Attorney General brings this enforcement action on behalf of the State of New

Mexico in its sovereign capacity pursuant to Section 3 of the New Mexico Antitrust Act, N.M. Stat.

Ann. § 57-1-3.

   415.           Live Nation has unlawfully maintained its monopoly power in the provision of

primary ticketing services to major concert venues through a course of exclusionary conduct

described in Paragraphs 224 through 232 above, in violation of Section 2 of the New Mexico

Antitrust Act, N.M. Stat. Ann. § 57-1-2.

   416.           Ticketmaster’s long-term exclusive agreements to provide primary ticketing services

to major concert venues, which exclude all competitors, as described in Paragraphs 233 through 240

above, unreasonably restrain competition in violation of Section 1 of the New Mexico Antitrust Act,

N.M. Stat. Ann. § 57-1-1.

   417.           Live Nation has engaged in unlawful, anticompetitive, and exclusionary tying

arrangements by requiring artists seeking to perform at large amphitheaters in New Mexico as part

of a tour to purchase promotion services from Live Nation, as described in Paragraphs 241 through

248 above, in violation of Section 1 of the New Mexico Antitrust Act, N.M. Stat. Ann. § 57-1-1.




                                                  147
     Case 1:24-cv-03973-AS          Document 233-1        Filed 08/19/24      Page 156 of 217



   418.        Live Nation has unlawfully maintained its monopoly power in the provision of large

amphitheaters and ancillary services for large amphitheater tours through a course of anticompetitive

exclusionary conduct described in Paragraphs 249 through 256 above, in violation of Section 2 of

the New Mexico Antitrust Act, N.M. Stat. Ann. § 57-1-2.

   419.        Live Nation has unlawfully maintained its monopoly power in the provision of concert

booking and promotion services to major concert venues and the provision of promotion services to

artists performing in major concert venues through a course of anticompetitive exclusionary practices

described in Paragraphs 257 through 264 above, in violation of Section 2 of the New Mexico

Antitrust Act, N.M. Stat. Ann. § 57-1-2.

   420.        Defendants’ acts substantially affect the people who reside in the State of New Mexico

and companies that conduct business in New Mexico and have impacts within the State of New

Mexico.

   421.        Plaintiff State of New Mexico seeks civil monetary penalties and injunctive relief

pursuant to Sections 7 and 8 of the New Mexico Antitrust Act, N.M. Stat. Ann. §§ 57-1-7 and -8.

   422.        Plaintiff State of New Mexico is entitled to costs and reasonable attorney fees pursuant

to Section 3 of the New Mexico Antitrust Act, N.M. Stat. Ann. § 57-1-3(A).

          SeventeenthTwenty-seventh Claim for Relief: Violation of New York Law

       296.423.       Plaintiff State of New York incorporates the allegations of Paragraphs 1

through 248264 above.

       297.424.       Defendants’ acts as alleged in this Complaint violate New York’s Donnelly

Act, New York General Business Law §§ 340 et seq., by contracts, agreements, arrangements or

combinations that result in the establishment or maintenance of a monopoly and/or by restraining

competition.




                                                 148
     Case 1:24-cv-03973-AS           Document 233-1        Filed 08/19/24      Page 157 of 217



       298.425.          Defendants’ acts alleged in this Complaint also violate Section 63(12) of

New York’s Executive Law, in that Defendants have engaged in repeated and/or persistent illegal

acts, including violations of Sections 1 and 2 of the Sherman Act, as well as violations of the

Donnelly Act.

       299.426.          To restore competition to the affected markets, New York seeks equitable

relief, including an injunction prohibiting Defendants’ wrongful conduct, as well as, inter alia,

divestitures of Ticketmaster and venues owned or operated by Live Nation Entertainment, pursuant

to Section 16 of the Clayton Act, New York General Business Law § 342 and/or Section 63(12) of

the New York Executive Law.

       300.427.          New York also seeks equitable monetary relief to deter and remedy

Defendants’ unlawful conduct pursuant to Section 63(12) of the New York Executive Law.

       301.428.          New York seeks also civil penalties of $1,000,000 per violation against each

defendant, pursuant to New York Business Law § 342-a, as well as fees and costs pursuant to

federal and state law.




                                                  149
     Case 1:24-cv-03973-AS          Document 233-1         Filed 08/19/24      Page 158 of 217



          Twenty-eighth Eighteenth Claim for Relief: Violation of North Carolina Law

       429.    Plaintiff State of North Carolina incorporates the allegations of Paragraphs 1

through 264 above.

       430.    Defendants engaged in the conduct alleged above while selling tickets and

promoting concerts in North Carolina. This anticompetitive conduct in North Carolina harmed fans,

venues, promoters, and artists across the State.

       431.    As a result of this conduct, and the concomitant reduction of competition in the

relevant markets, North Carolina consumers have suffered anticompetitive harm, including

increased prices, increased costs, and reduced quality.

       432.    This conduct has affected North Carolina commerce to a substantial degree.

       433.    Defendants’ acts as alleged in the First, Fourth, and Fifth causes of action stated

above violate the North Carolina Unfair or Deceptive Trade Practices Act, N.C.G.S. § 75-1 et seq.,

in that they constitute unlawful monopolization of a part of trade or commerce in North Carolina.

N.C.G.S. § 75-2.1.

       434.    Defendants’ acts as alleged in the Second and Third causes of action stated above

violate the North Carolina Unfair or Deceptive Trade Practices Act in that they constitute contracts

in restraint of trade or commerce in North Carolina, and/or acts and contracts in restraint of trade or

commerce which violate the principles of the common law. N.C.G.S. §§ 75-1, 75-2.

       435.    Plaintiff State of North Carolina seeks all remedies available for claims under

federal law and claims under N.C.G.S. §§ 75-1, 75-2, and 75-2.1, including, without limitation, the

following:

               a.      Disgorgement and restitution pursuant to N.C.G.S. § 75-15.1 and the

       common law of North Carolina;




                                                   150
     Case 1:24-cv-03973-AS             Document 233-1        Filed 08/19/24      Page 159 of 217



                 b.       Injunctive and other equitable relief pursuant to N.C.G.S. § 75-14 and the

         common law of North Carolina;

                 c.       Civil penalties pursuant to N.C.G.S. § 75-15.2, which provides a penalty of

         up to $5,000 per violation;

                 d.       Costs and attorneys’ fees pursuant to N.C.G.S. § 75-16.1; and

                 e.       Other remedies as the court may deem appropriate under the facts and

         circumstances of the case.

                EighteenthTwenty-ninth Claim for Relief: Violation of Ohio Law

          Violations of Ohio’s Valentine Act Against All Defendants

         302.436.         Plaintiff State of Ohio incorporates the allegations of Paragraphs 1 through

248264 above.


above.

         303.437.         Defendants Live Nation Entertainment, Inc. and Ticketmaster L.L.C.

contract with and provide live entertainment services and commodities to Ohio businesses and

consumers.

          81.       Plaintiff brings this action pursuant to Ohio Rev. Code § 109.81 and Ohio Rev.

         304.438.         Code Chapter 1331.


         305.439.         Plaintiff, having reasonable cause to believe that violations of Ohio's

antitrust laws have occurred, brings this action in his sovereign capacity to enforce Ohio law and

quasi-sovereign capacity for natural persons residing in the State of Ohio, pursuant to Ohio Rev.

Code §109.81.

§109.81 to enforce Ohio law.
      306.440.       Defendants, by and through their officers, directors, employees, agents, or

other representatives, have engaged in a combination of capital, skill, or acts to create or carry out

                                                    151
     Case 1:24-cv-03973-AS          Document 233-1         Filed 08/19/24      Page 160 of 217



restrictions in trade or commerce in violation of Ohio’s Valentine Act, codified in. Ohio Rev. Code

Chapter§ 1331.01 and 1331.04.

       307.441.        Defendants’ collective and individual activities detailed aboveas alleged

herein, including the vertical arrangements, constitute Trusts under Ohio Rev. Code §

1331.01(C)(1)(a), (b), and (e) and are thus illegal under Ohio’s Valentine Act.

       442.    TheDefendants’ collective and individual activities as alleged herein, including the

vertical arrangements, are ongoing, and these violations continue at the present time.

       308.443.        Defendants are members of these Trusts, and the purposes or effects of

Defendants’ Trusts are to decrease competition, raise prices, and/or stifle innovation in all of the

alleged relevant markets. Ohio Rev. Code § 1331.09.

       444.    Defendants’ anticompetitive conduct has harmed Ohio fans by causing them to pay

more in fees that are not transparent, not negotiable, and cannot be comparison-shopped because

there are no other options.

       445.    Defendants’ anticompetitive conduct has harmed Ohio fans by denying them access

to the benefits a competitive process would deliver, such as more choices in concerts and

innovative fan-friendly ticketing options.

       446.    Defendants’ anticompetitive conduct has harmed Ohio’s general economy.

       309.447.        This complaint constitutes due notice of these violations under Ohio Rev.

Code § 1331.03.




                                                 152
    Case 1:24-cv-03973-AS              Document 233-1         Filed 08/19/24      Page 161 of 217



         310.448.         Plaintiff seeks the following remedies pursuant to Ohio Rev. Code § 109.81

and Chapter 1331:

                a.        Civil forfeiture pursuant to Ohio Rev. Code § 1331.03;


                b.        Relief permanently enjoining Defendants Live Nation Entertainment, Inc.

         and Ticketmaster L.L.C. from engaging in any acts that violate Ohio’s Valentine Act;

                c.        Costs, attorneys’ fees, and interest; and


                d.        Other remedies the court may deem appropriate according to the facts and

         circumstances of the case.

                iii. Nineteenth Claim for Relief: Violation of Oregon Law

          82.       Plaintiff State of Oregon incorporates the allegations of Paragraphs 1 through 248

above.

          83.       Defendants’ acts as alleged herein violate the Oregon Antitrust Act, Oregon

 Revised Statutes 606.705 et seq. These violations substantially affect the people of Oregon and

 have impacts within the State of Oregon.

          84.       Plaintiff State of Oregon seeks relief, including but not limited to the following:

                    a.     Enjoining Defendants and their employees, officers, directors, agents,

          successors, assignees, affiliates, merged or acquired predecessors, parents, or controlling

          entities, subsidiaries, and all other persons acting in concert or participation with them

          from engaging in conduct in violation of Oregon Revised Statutes 646.705 et seq.;

                    b.     Awarding judgment against Defendants for civil penalties for each of the

          first through fifth claims above pursuant to Oregon Revised Statues 646.760;

                    c.     Costs and reasonable attorneys’ fees under Oregon Revised Statutes

          646.760; and


                                                     153
Case 1:24-cv-03973-AS    Document 233-1        Filed 08/19/24     Page 162 of 217



        d.    All legal and equitable remedies available under federal law and Oregon’s




                                      154
     Case 1:24-cv-03973-AS          Document 233-1        Filed 08/19/24      Page 163 of 217



         Antitrust Act, ORS 646.705 et seq., and any additional relief as the court finds just and

         proper.

       NineteenthThirtieth Twentieth Claim for Relief: Violation of Rhode Island Law

       311.449.        The state of Rhode Island incorporates the allegations of Paragraphs 1

through 248264 above.

       450.    The acts alleged in causes of action 1 5 also constitute antitrust violations pursuant

to the Defendants engaged in the conduct described above while selling tickets and promoting

shows in Rhode Island Antitrust Act. This anticompetitive conduct in Rhode Island harmed fans,

venues, promoters, and artists across the state.

       451.    As a result of this conduct, and the concomitant reduction in competition in the

relevant markets, Rhode Island businesses and residents have suffered anticompetitive harms,

including increased prices, increased costs, and reduced quality.

       452.    This conduct has affected Rhode Island commerce to a substantial degree.

       312.453.        The above conduct constitutes unlawful monopolization within Rhode Island

in violation of the Rhode Island Antitrust Law, R.I. Gen. L. §§§ 6-36-1, et seq.5.

       454.    The above conduct constitutes unlawful combination in restraint of trade within

Rhode Island in violation of the Rhode Island Antitrust Law, R.I. Gen. L. § 6-36-4.

       455.    The Attorney General of Rhode Island brings this action in the name of the State of

Rhode Island and on behalf of the people of the State of Rhode Island pursuant to the authority

granted by R.I. Gen. Laws §§ 6-36-11 and 12.

       313.456.        Rhode Island seeks all remedies available under federal law or the Rhode

Island Antitrust Act including, without limitation, the following:




                                                   155
     Case 1:24-cv-03973-AS          Document 233-1        Filed 08/19/24     Page 164 of 217



              a.      Civil penalties pursuant to R.I. Gen. L. 6-36-10(c), which provides that “any

       person who violates this chapter may be liable for a civil penalty of not more than fifty

       thousand dollars ($50,000) for each violation;”

              b.      Damages for Rhode Island residents pursuant to R.I. Gen. L. § 6-36-12(a);

              c.      Threefold the damages sustained by Rhode Island residents as monetary

       relief for the State pursuant to § 6-36-12(b);

              b.d.    Injunctive and other equitable relief pursuant to R.I. Gen. L. § 6-36-10;

              c.e.    Costs and attorney’s fees pursuant to § 6-36-11(a);) and 12(b); and

              d.f.    Other remedies as the court may deem appropriate under the facts and

       circumstances of the case.

    TwentiethThirty-first Twenty first Claim for Relief: Violation of South Carolina Law

       314.457.       Plaintiff State of South Carolina incorporates the allegations of Paragraphs 1

through 248264 above. Each allegation is brought separately against each Defendant.

       315.458.       The Attorney General of South Carolina is bringing this action in the name

of the State pursuant to S.C. Code § 39-5-50.

       316.459.       At all times described herein, the Defendants were engaged in conduct which

constitutes “trade” and “commerce” as defined in S.C. Code § 39-5-10(b).




                                                 156
     Case 1:24-cv-03973-AS           Document 233-1         Filed 08/19/24     Page 165 of 217



        460.    In addition to the Defendants’ national presence described above, Defendants’

collective and individual business operations, constituting “trade” and “commerce” in South

Carolina, comprise a significant percentage of all major live events in South Carolina.

        461.    Through the conduct discussed above and by leveraging large market share in South

Carolina, therefore improperly exercising market power, Defendants have constrained, restrained,

and improperly and unfairly affected trade and commerce in South Carolina, affecting South

Carolinians and the state’s commercial environment.

        462.    Upon information and belief, Defendants’ collective and individual monopolistic

activities have resulted and continue to result in higher prices in South Carolina than a competitive

market would bear.

        317.463.        Similarly, upon information and belief, Defendants’ improper exercise of

market power in South Carolina enables them to manipulate the quality and quantity of live events,

diminishing what would otherwise be available in a competitive market. Defendants’ acts or

practices regarding South Carolina consumers as alleged herein are capable of repetition and affect

the public interest.

        318.464.        Defendants’ acts or practices alleged herein constitute “unfair methods of

competition” under S.C. Code § 39-5-20. Every unfair act or practice by each Defendant constitutes

a separate and distinct violation of S.C. Code § 39-5-20.

        319.465.        Defendants’ acts or practices alleged herein are offensive to established

public policy, immoral, unethical, or oppressive.

        320.466.        At all times Defendants knew or should have known their conduct violated

S.C. Code § 39-5-20 and, therefore, the conduct is willful for purposes of S.C. Code § 39-5-110,

justifying civil penalties.




                                                  157
     Case 1:24-cv-03973-AS         Document 233-1         Filed 08/19/24     Page 166 of 217



       321.467.        Plaintiff State of South Carolina seeks all remedies available under the South

Carolina Unfair Trade Practices Act (SCUTPA) including, without limitation, the following:

              a.       Permanently enjoin Defendants pursuant to S.C. Code § 39-5-50(a) from

       engaging in any acts that violate SCUTPA, including, but not limited to, the unfair methods

       of competition and unfair or deceptive acts or practices alleged herein;

              b.       Civil penalties in the amount of $5,000, pursuant to S.C. Code § 39-5-

       110(a), for every willful violation of SCUTPA;

              c.       Ascertainable loss damages as determined by the Court under S.C. Code §

       39-5-50(b);

              d.       Costs and attorneys’ fees pursuant to S.C. Code § 39-5-50(a) and S.C. Code

       § 1-7-85; and


        Code § 1 7 85; and

              e.       All other legal and equitable relief as the court may deem appropriate under

       the facts and circumstances of the case.




                                                  158
     Case 1:24-cv-03973-AS              Document 233-1        Filed 08/19/24      Page 167 of 217



 Twenty firstThirty-second Twenty second Claim for Relief: Violation of Tennessee Law

          322.468.         Plaintiff State of Tennessee incorporates the allegations of Paragraphs 1

through 248264 above.

          323.469.         Defendants engaged in the conduct described above while selling tickets,

promoting shows, and operating venues in Tennessee. This anticompetitive conduct in Tennessee

harmed thousands of fans, venues, promoters, and artists across the state.

          324.470.         As a result of this conduct, and the concomitant reduction in competition in

the relevant markets, Tennesseans and Tennessee businesses have suffered anticompetitive harms,

including increased prices, increased costs, and reduced quality.

          325.471.         This conduct has affected Tennessee commerce to a substantial degree.


          326.472.         Accordingly, Defendants’ actions violate the Tennessee Trade Practices Act,

Tenn. Code Ann. §§ 47-25-101 et seq.,and 102, as amended.

          327.473.         To remedy this anticompetitive conduct, the Tennessee Attorney General and

Reporter seeks all legal and equitable relief to which it is entitled at law and equityunder Tenn.

Code Ann. § 47-25-106, including treble damages in its parens patriae capacity, civil penalties, and

injunctive relief.

    Twenty-secondThirty-third Twenty-third Claim for Relief: Violation of Texas Law

          328.474.         Plaintiff State of Texas repeats and realleges the allegations of Paragraphs 1

through 248264 above. Each allegation is brought separately against each Defendant.

          329.475.         The aforementioned practices by Defendants Live Nation Entertainment, Inc.

and Ticketmaster L.L.C. were and are in violation of Texas Business and Commerce Code § 15.01

et seq.

           85.       Plaintiff State of Texas has reason to believe that Defendants have engaged in,

 and will continue to engage in, the anticompetitive and exclusionary course of conduct set forth

                                                     159
   Case 1:24-cv-03973-AS         Document 233-1        Filed 08/19/24     Page 168 of 217



herein, has caused and will cause adverse effects to consumers and harm to economic

competition in trade and commerce in this State, and will cause damage to the State of Texas and




                                              160
     Case 1:24-cv-03973-AS            Document 233-1         Filed 08/19/24      Page 169 of 217



        330.476.         to persons in the State of Texas. Therefore, the Antitrust Division of the

Office of the Attorney General of the State of Texas believes and is of the opinion that this matter

is in the public interest.

        331.477.         The State of Texas requests a judgment that the Defendants engaged in

conduct in violation of Texas Business and Commerce Code § 15.01 et seq.

        332.478.         The State of Texas requests a civil fine up to the maximum amount allowed

pursuant to Texas Business and Commerce Code § 15.20(a).

        333.479.         The State of Texas requests the issuance of a permanent injunction to enjoin

any activity or contemplated activity that violates or threatens to violate any of the prohibitions in §

15.05 pursuant to the Texas Business and Commerce Code § 15.20(b).

15.05 pursuant to the Texas Business and Commerce Code § 15.20(b).

        334.480.         The State of Texas requests its costs of this suit, including attorneys’ fees,

pursuant to Section§ 15.20(b) of the Texas Business and Commerce Code and Section§ 402.006 of

the Texas Government Code.

                Thirty-fourth Twenty fourth Claim for Relief: Violation of Utah Law

        481.    The state of Utah incorporates the allegations of Paragraphs 1 through 264 above.

        482.    Defendants engaged in the conduct described above while selling tickets and

promoting shows in Utah. This anticompetitive conduct in Utah harmed fans, venues, promoters,

and artists across the state.

        483.    As a result of this conduct, and the concomitant reduction in competition in the

relevant markets, Utah businesses and residents have suffered anticompetitive harms, including

increased prices, increased costs, and reduced quality.

        484.    This conduct has affected Utah commerce to a substantial degree.




                                                    161
            Case 1:24-cv-03973-AS               Document 233-1             Filed 08/19/24   Page 170 of 217



              485.     The above conduct violated the Utah Antitrust Act, Utah Code §76-10-3104(1) and

(2).

              486.     The Attorney General of Utah brings this action in the name of the State of Utah and

on behalf of the people of the State of Utah pursuant to the authority granted by Utah Code §76-10-

3106.

              487.     Utah seeks all remedies available under federal law or the Utah Antitrust Act

including, without limitation, the following:

                       a.       Damages for Utah residents as parens patriae pursuant to Utah Code §76-

              10-3108(1);

                       b.       Threefold the damages sustained by Utah residents as monetary relief for the

              State pursuant to Utah Code §76-10-3109(1)(b);

                       c.       Civil penalties pursuant to Utah Code §76-10-3108(2), which provides that

              “Any individual who violates this act is subject to a civil penalty of not more than $100,000

              for each violation. Any person, other than an individual, who violates this act is subject to a

              civil penalty of not more than $500,000 for each violation.”

                       d.       Injunctive and other equitable relief pursuant to Utah Code §76-10-3108(1);

                       e.       Costs and attorney’s fees pursuant to Utah Code §76-10-3109(1)(b); and

                       f.       Other remedies as the court may deem appropriate under the facts and

              circumstances of the case.

                                Thirty-fifth Claim for Relief: Violation of Vermont Law

              488.     Plaintiff State of Vermont repeats and realleges the allegations of paragraphs 1

through 232 above.14




       14
            The State of Vermont does not allege claims for relief 2, 3, 4, and 5.
                                                                162
     Case 1:24-cv-03973-AS           Document 233-1         Filed 08/19/24     Page 171 of 217



       489.    In addition to violating the federal law as set forth in Count 1, Defendants’ acts as

alleged herein also constitute violations of Vermont’s Consumer Protection Act, 9 Vermont

Statutes Annotated (“V.S.A.”) § 2451 et seq., as follows:

               a.     Live Nation as described in paragraphs 1 through 232, has unlawfully

       established, maintained, and used its monopoly power in several markets in violation of 9

       V.S.A. § 2453. These markets include the provision of primary ticketing services to major

       concert venues, the provision of primary concert ticketing services to major concert venues,

       and the provision of primary concert ticketing to fans at major concert venues.

               b.     Live Nation committed these violations while selling tickets to Vermont

       consumers and promoting events within the State of Vermont. These violations ultimately

       harm fans across Vermont by increasing costs and prices, and reducing choice, innovation,

       and quality.

       490.    In addition to its federal law remedies, the State of Vermont seeks all remedies

available under 9 V.S.A. § 2458, including, without limitation, the following:

               a.     Civil penalties, injunctive relief, other equitable relief (including but not

       limited to disgorgement), fees and costs, and other relief as this Court deems just and

       equitable pursuant to 9 V.S.A. § 2458; and

               b.     Other remedies as the Court may deem appropriate under the facts and

       circumstances of this case.

           Twenty thirdThirty-sixth Claim for Relief: Violation of Virginia Law

       335.491.       Plaintiff Commonwealth of Virginia incorporates the allegations of

Paragraphs 1 through 248264 above.

       336.492.       In addition to violating federal law, Defendants’ acts described above violate

the Virginia Antitrust Act, Va. Code § 59.1-9.1 et seq., which “shall be applied and construed to


                                                 163
     Case 1:24-cv-03973-AS           Document 233-1       Filed 08/19/24      Page 172 of 217



effectuate its general purposes in harmony with judicial interpretation of comparable federal

statutory provisions.” Va. Code § 59.1-9.17. Conduct that violates Sections 1 and 2 of the

Sherman Act, 15 U.S.C. §§ 1-2, when falling under the Commonwealth’s jurisdiction, also violates

Va. Code §§ 59.1-9.5-9.6.

       337.493.         Defendants engaged in the conduct described above while selling tickets to

Virginia residents and citizens and from concerts operated at Virginia venues, promoting concerts

in Virginia, and operating venues in Virginia. This anticompetitive conduct harmed fans, venues,

promoters, and artists across the Commonwealth and affected commerce therein.

        86.       Plaintiff Commonwealth of Virginia is entitled to legal and equitable remedies for

 the claims alleged above, including but not limited to civil penalties and injunctive relief under

 Va. Code § 59.1-9.11




                                                 164
     Case 1:24-cv-03973-AS           Document 233-1         Filed 08/19/24        Page 173 of 217



       338.494.         and other remedies (including recovery of costs and attorney’s fees) under

Va. Code § 59.1-9.15, in addition to the. The Commonwealth of Virginia also demands remedies

available to it under federal law, including equitable relief as alleged above.

Twenty-fourthThirty-seventh Twenty-fifth Claim for Relief: Violation of Washington Law

         87.      The state of Washington incorporates the allegations of Paragraphs 1 through 248

       339.495.         264 above.


       340.496.         The acts alleged in the claims for relief also constitute antitrust violations

pursuant to the Washington Consumer Protection Act under Wash. Rev. Code § 19.86.030 (2024)

and § 19.86.040 (2024).), which declares unlawful every contract, combination, or conspiracy in

restraint of trade or commerce.

         88.      Washington seeks all injunctive remedies available under federal law.

       497.    Defendants engaged in the conduct described above while selling tickets, promoting

shows, and operating venues in Washington. The anticompetitive conduct in Washington harmed

thousands of Washington fans as well as venues, promoters, and artists across the state.

       498.    The acts alleged in the claims for relief also constitute antitrust violations pursuant

to the Washington Consumer Protection Act under Wash. Rev. Code § 19.86.040 (2024), which

declares it unlawful for any person to monopolize or attempt to monopolize any part of trade or

commerce.

       499.    Upon information and belief, Defendants’ collective and individual monopolistic

activities have resulted and continue to result in higher prices in Washington than a competitive

market would bear.

       500.    Similarly, upon information and belief, Defendants’ improper exercise of market

power in Washington enables Defendants to manipulate the quality and quantity of live events,

diminishing what would otherwise be available in a competitive market.

                                                   165
     Case 1:24-cv-03973-AS         Document 233-1        Filed 08/19/24     Page 174 of 217



       341.501.        Washington seeks the following remedies available under the Washington

Consumer Protection Act including, without limitation, the following:

                 a.    That the Court adjudge and decree the conduct alleged in the complaint to be

       unlawful and in violation of the Washington Consumer Protection Act, Wash. Rev. Code §

       19.86.030 (2024) and § 19.86.040 (2024).);

                  a.    Injunctive and other equitable relief pursuant to Wash. Rev. Code
                 b.    § § 19.86.080 (2024);

                 c.    Disgorgement and restitution pursuant to Wash. Rev. Code § 19.86.080

       (2024);


        (2024);
              d.       Civil penalties pursuant to Wash. Rev. Code § 19.86.140 (2024);

                 e.    Costs and attorney’s fees pursuant to Wash. Rev. Code § 19.86.080 (2024);

       and

                 f.    Other remedies, including pre-judgment interest, as the court may deem

       appropriate under the facts and circumstances of the case.




                                                166
     Case 1:24-cv-03973-AS          Document 233-1         Filed 08/19/24       Page 175 of 217



 Twenty fifthThirty-eighth Twenty sixth Claim for Relief: Violation of West Virginia Law

       342.502.        Plaintiff State of West Virginia incorporates the allegations of Paragraphs 1

through 248264 above.

       503.    Defendants engaged in the conduct described above while selling tickets, promoting

shows, and operating venues in West Virginia. The anticompetitive conduct in West Virginia

harmed thousands of West Viriginia fans as well as venues, promoters, and artists across the state.

       504.    Defendants’ acts described above generally violate the West Virginia Antitrust Act,

see W. Va. Code § 47– 18–1 et seq. These violations., and specifically the prohibition from

establishing, maintaining or using a monopoly of trade or commerce to exclude competition or

control, fix or maintain prices. W.Va. Code § 47– 18–4.

       505.    Defendants’ acts described above further violate the West Virginia Antitrust Act

through their exclusionary, long term contracts. W.Va. Code § 47– 18–3(b)(1) and (3).

       343.506.        Defendants’ acts described above substantially affected the State of West

Virginia and had and have impacts within the State of West Virginia.

       507.    As a result of the Defendants’ conduct described above, West Virginia consumers

have suffered anticompetitive harms, including increased prices, increased costs, and reduced

quality of services.

       344.508.        Plaintiff State of West Virginia, in its parens patriae capacity, is entitled to

all remedies available at law or in equity (including damages, injunctive relief, disgorgement,

restitution, and reimbursement), W. Va. Code §§ 47– 18–8, -9, and –17, as well as civil penalties

under West Virginia Code § 47–18–1 et seq8.

       345.509.        Plaintiff State of West Virginia also is entitled to recover its costs and

attorneys’ fees under West Virginia Code §§ 47–18–8, -9, and -17.




                                                  167
     Case 1:24-cv-03973-AS           Document 233-1         Filed 08/19/24      Page 176 of 217



 Twenty sixthThirty-ninth Twenty seventh Claim for Relief: Violation of Wisconsin Law

       346.510.         Plaintiff State of Wisconsin repeats and re-alleges and incorporates by

reference the allegations of Paragraphs 1 through 248264 above as if fully set forth herein.

       511.    The aforementioned practices by Defendants violate Wisconsin’s Antitrust Act, Wis.

Defendants’ acts as alleged in the First, Fourth, and Fifth causes of action stated above violate Wis.

Stat. § 133.03(2) in that they constitute unlawful monopolization of a part of trade or commerce in

Wisconsin.

       512.    Defendants’ acts as alleged in the Second and Third causes of action stated above

violate Wis. Stat. § 133.03(1) in that they constitute unlawful restraints of trade or commerce in

Wisconsin.

       513.    Defendants engaged in the conduct described above while selling tickets, promoting

shows, and operating venues in Wisconsin. The anticompetitive conduct in Wisconsin harmed

thousands of Wisconsin fans as well as venues, promoters, and artists across the state.

       514.    As a result of this conduct, and the concomitant reduction in competition in the

relevant markets, Wisconsin consumers and Wisconsin businesses have suffered anticompetitive

harms, including increased prices, increased costs, and reduced quality.

       515.    This conduct has affected Wisconsin commerce to a substantial degree.

        89.       In addition to its federal law remedies, Stat. Ch. § 133.03 et seq. These

 violations substantially affect the people of Wisconsin and have impacts within the State of

 Wisconsin.

        90.       Plaintiff State of Wisconsin, through its Attorney General and under its antitrust

 enforcement authority in Wis. Stat. Ch. 133, is entitled to all remedies available under Wis. Stat.

       347.516.         §§ §§ 133.03, 133.16, 133.17, and 133.18., including, without limitation, the

following:


                                                  168
 Case 1:24-cv-03973-AS           Document 233-1        Filed 08/19/24      Page 177 of 217



          a.       Civil penalties pursuant to Wis. Stat. § 133.03;

          b.       Injunctive and other equitable relief pursuant to Wis. Stat. § 133.16;

          c.       Costs and attorneys’ fees pursuant to Wis. Stat. § 133.16; and;

          d.       Other remedies as the Court may deem appropriate under the facts and

   circumstances of this case.

IX.X. Request for Relief


   348.517.        To remedy these illegal acts, Plaintiffs request that the Court:


              a.    Adjudge and decree that Live Nation has acted unlawfully to maintain its

    monopoly in the markets for the provision of primary ticketing services to major concert




                                             169
Case 1:24-cv-03973-AS        Document 233-1         Filed 08/19/24      Page 178 of 217



        a.       venues, the provision of primary concert ticketing services to major concert

 venues, and the provision of primary concert ticketing offerings to fans at major concert

 venues (even if combined with services that offer resale of concert tickets), in violation of

 Section 2 of the Sherman Act, 15 U.S.C. § 2 and the state laws cited in paragraphs 249265

 through 370516 above;

        b.      Adjudge and decree that Live Nation has acted unlawfully by entering into

 long-term exclusive primary ticketing contracts with major concert venues that

 unreasonably restrain trade in the United States in violation of Section 1 of the Sherman

 Act, 15 U.S.C. § 1 and the state laws cited in paragraphs 249265 through 370516 above;

        c.      Adjudge and decree that Live Nation has acted unlawfully by tying artists’

 use of Live Nation owned, controlled and exclusively-booked large amphitheaters to their

 purchase of promotional services from Live Nation in violation of Section 1 of the Sherman

 Act, 15 U.S.C. § 1 and the state laws cited in paragraphs 249265 through 370516 above;

        d.      Adjudge and decree that Live Nation has acted unlawfully to maintain its

 monopoly in the market for the provision of the use of large amphitheaters and ancillary

 services to artists on large amphitheater tours, in violation of Section 2 of the Sherman Act,

 15 U.S.C. § 2 and the state laws cited in paragraphs 249265 through 370516 above;

        e.      Adjudge and decree that Live Nation has acted unlawfully to maintain its

 monopoly in the markets for the provision of concert booking and promotion services to

 major concert venues and the provision of promotion services to artists performing in major

 concert venues, in violation of Section 2 of the Sherman Act, 15 U.S.C. § 2 and the state

 laws cited in paragraphs 249265 through 370516 above;




                                           170
Case 1:24-cv-03973-AS        Document 233-1        Filed 08/19/24      Page 179 of 217



          f.    Order the divestiture of, at minimum, Ticketmaster, along with any

 additional relief as needed to cure any anticompetitive harm;

          g.    Order the termination of Live Nation’s ticketing agreement with Oak View

 Group;

          h.    Enjoin Live Nation from continuing to engage in anticompetitive practices

 described herein and from engaging in other practices with the same purpose and effect as

 the challenged practices;

          i.    Enter any other preliminary or permanent relief necessary and appropriate to

 restore competitive conditions in the markets affected by Live Nation’s unlawful conduct;

          j.    Award the States of Arizona, Arkansas, Colorado, Connecticut, Florida,

 Illinois, Indiana, Iowa, Michigan, Minnesota, Nevada, New Hampshire, New Jersey, New

 York, North Carolina, Ohio, Oklahoma, Oregon, Rhode Island, South Carolina, Tennessee,

 Utah, Washington, West Virginia, and Wisconsin, the Commonwealth of Pennsylvania and

 the District of Columbia, pursuant to their parens patriae authority on behalf of natural

 persons residing in their respective states, commonwealths and district, treble damages for

 injury sustained by such natural persons to their property through the purchase of tickets for

 live events from Live Nation and Ticketmaster, and the cost of suit, including reasonable

 attorneys’ fees, pursuant to Section 4c of the Clayton Act, 15 U.S.C. 15c;

          k.    Award the States of Arizona, Arkansas, California, Colorado, Connecticut,

 Florida, Illinois, Indiana, Iowa, Kansas, Louisiana, Maryland, Michigan, Minnesota,

 Mississippi, Nebraska, Nevada, New Hampshire, New Jersey, New Mexico, New York,

 North Carolina, Ohio, Rhode Island, South Carolina, Tennessee, Texas, Utah, Vermont,

 Washington, West Virginia, and Wisconsin, the Commonwealth of Virginia, and the




                                          171
     Case 1:24-cv-03973-AS             Document 233-1            Filed 08/19/24   Page 180 of 217



        District of Columbia civil penalties or civil forfeiture, under their respective state laws, for

        the violations cited herein;

                j.l.    Award any additional relief in law or equity the Court finds just and proper;

        and

                k.m.    Award each Plaintiff, as applicable, an amount equal to its costs, including

        reasonable attorneys’ fees, incurred in bringing this action.

    X.XI. Demand for a Jury Trial

        349.518.        Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiffs demand a trial

by jury of all issues properly triable to a jury in this case.




                                                    172
    Case 1:24-cv-03973-AS          Document 233-1             Filed 08/19/24     Page 181 of 217




Dated this 23d19th day of MayAugust, 2024.

Respectfully submitted,


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                                                   173
     Case 1:24-cv-03973-AS         Document 233-1         Filed 08/19/24     Page 182 of 217




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                                                  174
     Case 1:24-cv-03973-AS          Document 233-1    Filed 08/19/24   Page 183 of 217




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                                                175
    Case 1:24-cv-03973-AS        Document 233-1         Filed 08/19/24   Page 184 of 217




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    Case 1:24-cv-03973-AS    Document 233-1    Filed 08/19/24   Page 185 of 217



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                                        177
     Case 1:24-cv-03973-AS          Document 233-1    Filed 08/19/24   Page 186 of 217



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                                                178
   Case 1:24-cv-03973-AS   Document 233-1   Filed 08/19/24   Page 187 of 217




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                                    179
     Case 1:24-cv-03973-AS         Document 233-1    Filed 08/19/24     Page 188 of 217




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    Case 1:24-cv-03973-AS        Document 233-1       Filed 08/19/24   Page 189 of 217



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                                              181
     Case 1:24-cv-03973-AS          Document 233-1    Filed 08/19/24    Page 190 of 217



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     Case 1:24-cv-03973-AS           Document 233-1   Filed 08/19/24   Page 191 of 217



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                                                183
     Case 1:24-cv-03973-AS             Document 233-1   Filed 08/19/24   Page 192 of 217




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                                                184
     Case 1:24-cv-03973-AS          Document 233-1   Filed 08/19/24   Page 193 of 217



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                                              185
    Case 1:24-cv-03973-AS          Document 233-1     Filed 08/19/24   Page 194 of 217



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    Case 1:24-cv-03973-AS   Document 233-1   Filed 08/19/24   Page 195 of 217



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                                     187
    Case 1:24-cv-03973-AS         Document 233-1        Filed 08/19/24   Page 196 of 217



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    Case 1:24-cv-03973-AS       Document 233-1      Filed 08/19/24   Page 197 of 217




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     Case 1:24-cv-03973-AS          Document 233-1       Filed 08/19/24   Page 199 of 217



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     Case 1:24-cv-03973-AS       Document 233-1     Filed 08/19/24   Page 200 of 217




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     Case 1:24-cv-03973-AS         Document 233-1    Filed 08/19/24   Page 201 of 217



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                                               193
     Case 1:24-cv-03973-AS        Document 233-1        Filed 08/19/24     Page 202 of 217



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                                               194
     Case 1:24-cv-03973-AS         Document 233-1      Filed 08/19/24   Page 203 of 217



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    Case 1:24-cv-03973-AS       Document 233-1      Filed 08/19/24    Page 204 of 217




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                                            196
     Case 1:24-cv-03973-AS         Document 233-1       Filed 08/19/24   Page 205 of 217




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                                             198
     Case 1:24-cv-03973-AS          Document 233-1      Filed 08/19/24     Page 207 of 217




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     Case 1:24-cv-03973-AS         Document 233-1      Filed 08/19/24     Page 208 of 217




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                                              200
     Case 1:24-cv-03973-AS         Document 233-1      Filed 08/19/24       Page 209 of 217



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     Case 1:24-cv-03973-AS         Document 233-1    Filed 08/19/24   Page 211 of 217




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                                               203
     Case 1:24-cv-03973-AS          Document 233-1     Filed 08/19/24    Page 212 of 217



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                                              204
     Case 1:24-cv-03973-AS             Document 233-1   Filed 08/19/24   Page 213 of 217



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                                                205
     Case 1:24-cv-03973-AS         Document 233-1    Filed 08/19/24   Page 214 of 217




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                                               206
     Case 1:24-cv-03973-AS         Document 233-1       Filed 08/19/24   Page 215 of 217



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                                                  207
     Case 1:24-cv-03973-AS          Document 233-1      Filed 08/19/24    Page 216 of 217




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                                                  208
    Case 1:24-cv-03973-AS          Document 233-1     Filed 08/19/24   Page 217 of 217




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                                                 11
